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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
    UNITED STATES SECURITIES                       )
    AND EXCHANGE COMMISSION,                       )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
    v.                                             )      Hon. John Z. Lee
                                                   )
    EQUITYBUILD, INC., EQUITYBUILD                 )      Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN,                 )
    and SHAUN D. COHEN,                            )
                                                   )
                         Defendants.               )
                                                   )

                         RECEIVER’S TWELFTH STATUS REPORT
                                 (Second Quarter 2021)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen1

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Twelfth Status Report for the quarter

ending June 30, 2021.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants BrookWeiner, LLC (“BrookWeiner”), forensic consultant Prometheum Technologies,




1
 On December 30, 2020, Defendant Shaun Cohen reported to the Receiver that Defendant Jerome
Cohen died on November 28, 2020
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Inc. (“Prometheum”), asset management and real estate brokerage services provider SVN Chicago

Commercial, LLC (“SVN”), claims administration service provider Axos Fiduciary Services

(“Axos”) and documents vendor Avalon Legal (“Avalon”), have undertaken, without limitation,

the following activities since the submission of his Eleventh Status Report (Dkt. No. 985):

         a.     Identification and Preservation of Assets

         Since the filing of his Eleventh Status Report, the Receiver continued using reasonable

efforts to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

         At the end of the Second Quarter 2021, there were just 4 properties remaining in the

Receivership Estate, including 3 properties in Chicago, Illinois and 1 property in Houston, Texas.2

The Receiver’s primary focus has been and continues to be the preservation, operation,

maintenance, and sale of the properties within the Receivership Estate, as well as the

implementation and handling of claims administration. The Receiver also is devoting efforts to

claims asserted in state court against former EquityBuild professionals.




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  There were 116 properties in the Receivership Estate at the inception of the Receivership, not
including a property in Plano, Texas, that Defendant Shaun Cohen had used as a residence. (See
Exhibit 6) The Receiver sold ten properties in the second quarter of 2019 (formerly reported as six
properties because five of these properties were sold together), eleven properties in the fourth
quarter of 2019, two properties in the first quarter of 2020, 17 properties in the second quarter of
2020, 12 properties in the third quarter of 2020, and 15 properties in the fourth quarter of 2020.
No property sales closed during the first quarter of 2021. The Receiver sold 45 properties during
the Second Quarter 2021. (See Exhibit 1)


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       As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, continues to plan for cash flow needs at the properties

including but not limited to the underperforming properties, to control and minimize expenditures

where possible, and to address health, safety, and other essential needs at each property. To that

end, the Receiver and his counsel have regularly communicated with the property managers to

address operational and cash needs. The Receiver and his retained professionals also have

reviewed monthly financial reporting and analyzed the cash position of the Estate. In consultation

with his asset managers, the Receiver has assessed the prudence and necessity of property

maintenance and repair work. Consistent with the Liquidation Plan filed with the Court (Dkt. No.

166), the Receiver remains committed, in accordance with the advice of his retained professionals,

the property managers, and asset management consultants, and subject to availability of funds, to

undertake capital improvements needed to address health and safety concerns, cure building code

violations, or yield increases in occupancy that would drive commensurate increases in property

value. During the quarter, a burst underground pipe at the property located at 7255 S Euclid

required excavation and repairs costing $13,340.

       During the Second Quarter 2021, the Receiver paid $173,339.44 real estate taxes in Cook

County, Illinois and Harris County, Texas. See Exhibit 1. Additionally, real estate taxes were

paid at the closings of certain sales of Receivership properties. As of June 30, 2021, only one

property had delinquent property taxes, 1102 Bingham in Houston – according to a statement from

Harris County dated July 14, 2021, $47,356.78 was owed for 2018,$38,273.99 was owed for 2019

and $33,193.67 was owed for 2020, but the Receiver is reviewing these amounts and they may

change before the property is sold. On June 14, 2021, the Receiver entered into a 36-month




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payment plan to avoid additional penalties that would have attached on June 30, 2021. As of the

date of this filing, two installments in the amount of $3,836.77 have been paid.

       In the Second Quarter 2021, the Receiver renewed casualty, liability, and umbrella

insurance policies for the assets remaining in the portfolio. The Receiver elected to pay the annual

renewal fee rather than monthly installments in order to reduce the monthly finance charge and

reduce the administrative expenses. The amounts paid for these renewals in the Second Quarter

2021 were $48,691.91 for property insurance, $77,675.00 for general liability insurance, and

$31,848.00 for umbrella insurance. During the quarter, the Receiver also received refunds of

insurance premiums in the aggregate amount of $64,017.72, and anticipates that a significant

portion of the additional premiums paid during the quarter will also be refunded as the covered

properties have been or will be sold.

       b.      Property Sales

       The sales of 45 Receivership properties closed during the Second Quarter 2021, which

included the portfolio of 37 residential properties with four or fewer units. See Exhibit 2 for a

listing of property sales and net proceeds by properties since the inception of the Receivership,

including properties closed during the Second Quarter 2021, by closing date, property address and

gross and net proceeds. Consistent with the Court’s orders approving these sales, the Receiver

segregated the net proceeds into separate subaccounts. (Dkt. Nos. 966, 979, 991)

       During the quarter, briefing on the Receiver’s Twelfth Motion to Confirm the Sale (of the

property located at 638 N. Avers was completed on May 18, 2021 (Dkt. Nos. 962, 974, 997) and

the Court granted the motion on July 19, 2021 (Dkt. No. 1008).

       On April 12, 2021, the Receiver filed the Thirteenth Motion to Confirm Property Sales

(Dkt. No. 967) of the following portfolio of 37 single-family residences (containing 47 total units):




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       •       1017 West 102nd Street, Chicago, IL 60643
       •       1516 East 85th Place, Chicago, IL 60619
       •       2136 W 83rd Street, Chicago, IL 60620
       •       417 Oglesby Avenue, Chicago, IL 60409
       •       7922 S Luella Avenue, Chicago, IL 60617
       •       7925 S Kingston Avenue, Chicago, IL 60617
       •       7933 S Kingston Avenue, Chicago, IL 60617
       •       8030 S Marquette Avenue, Chicago, IL 60617
       •       8104 S Kingston Avenue, Chicago, IL 60617
       •       8403 S Aberdeen Street, Chicago, IL 60620
       •       8405 S Marquette Avenue, Chicago, IL 60617
       •       8529 S Rhodes Avenue, Chicago, IL 60619
       •       8800 S Ada Street, Chicago, IL 60620
       •       9212 S Parnell Avenue, Chicago, IL 60620
       •       10012 S LaSalle Avenue, Chicago, IL 60628
       •       11318 S Church Street, Chicago, IL 60643
       •       3213 S Throop Street, Chicago, IL 60608
       •       3723 W 68th Place, Chicago, IL 60629
       •       406 E 87th Place, Chicago, IL 60619
       •       61 E 92nd Street, Chicago, IL 60619
       •       6554 S Rhodes Avenue, Chicago, IL 60637
       •       6825 S Indiana Avenue, Chicago, IL 60637
       •       7210 S Vernon Avenue, Chicago, IL 60619
       •       7712 S Euclid Avenue, Chicago, IL 60649
       •       7953 S Woodlawn Avenue, Chicago, IL 60619
       •       8107 S Kingston Avenue, Chicago, IL 60617
       •       8346 S Constance Avenue, Chicago, IL 60617
       •       8432 S Essex Avenue, Chicago, IL 60617
       •       8517 S Vernon Avenue, Chicago, IL 60619
       •       2129 W 71st Street, Chicago, IL 60636
       •       9610 S Woodlawn Avenue, Chicago, IL 60628
       •       5437 S Laflin Street, Chicago, IL 60609
       •       6759 S Indiana Avenue, Chicago, IL 60637
       •       1401 W 109th Place, Chicago, IL 60643
       •       310 E 50th Street, Chicago, IL 60615
       •       6807 S Indiana Avenue, Chicago, IL 60637
       •       1414-18 E 62nd Place, Chicago, IL 60637

The Court granted the Receiver’s unopposed motion on April 27, 2021 (Dkt. Nos. 978, 979), and

the Receiver and his counsel completed the extensive closing paperwork and requirements to close

the sale of these properties on May 26, 2021.




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       On May 13, 2021, the Court overruled the objection to the Receiver’s Eleventh Sales

Motion (Dkt. Nos. 902, 918, 989, 990, 991) and the Receiver closed the sale of the property located

at 7237-43 S Bennett on June 30, 2021.

       One additional property (6217-27 S Dorchester Avenue) closed on July 6, 2021, so as of

the filing of this report, only the following three properties remain in the receivership estate:

       •    638 North Avers (order confirming sale entered 7/19/21 (Dkt. No. 1008))
       •    7109-19 South Calumet (the terms of a proposed letter of credit to be posted by an
            institutional lender have not been resolved and the Receiver is awaiting a response from
            the lender’s counsel)
       •    1102 Bingham (a parcel of land in Houston, Texas, containing a single-family home
            and six adjacent vacant lots, which is under contract and the subject of the Receiver’s
            Fourteenth Motion to Confirm Sale, filed on July 19, 2021)

       Also pending is Ventus’ November 9, 2020 Motion for Return of Earnest Money Deposits

(Dkt. No. 861) to which the Receiver responded on November 24, 2020 (Dkt. No. 882).

       c.      Code Violations and Property Damage

       The City’s citation of code violations picked up during the Second Quarter, as it appears

to have begun issuing notices on a backlog of violations related to inspections occurring during

the pandemic. During the Second Quarter 2021, eleven new notices of violation were issued, all

from the Department of Streets and Sanitation. The Receiver was able to obtain dismissal of the

EquityBuild entity in four of these cases through the City’s ownership dispute procedures (6949 S

Merrill, 6658 S Vernon, 6250 S Mozart, and 2736 W 64th). The Receiver has been informed that

the city’s attorney has requested nonsuit orders on three of the other cases (7957-59 S Marquette,

7024 S Paxton, 4750 S Indiana) and is awaiting orders in those cases. The other four matters (4750

S Indiana, 1422-24 E 68th St, 7024-32 S Paxton, 1414 E 62nd Place) each relates to a violation

cited during an inspection occurring while the property was in the receivership estate, but the notice

did not issue until after the Receiver had sold the property. For these notices, and any others that




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may subsequently issue, the Receiver is taking the position that the City will have to proceed

through the claims process established in this matter.

       Through negotiations with the City’s assistant corporation counsel, the Receiver obtained

nonsuit orders in nine administrative matters that were filed before the pandemic disrupted the

administrative court proceedings but had been continued until after the properties had been sold

(7109-19 S Calumet (2 cases), 4520-26 S Drexel, 7110 S Cornell, 6250 S Mozart (2 cases), 7600

S Kingston, 6949-59 S Merrill, 6554-58 S Vernon). A tenth administrative matter (7656 S

Kingston), was reduced to judgment in the amount of $1,075 due to a prior finding of liability, and

the Receiver will seek approval to pay this judgment from the property sub-account.

       During the Second Quarter, the Receiver also moved to set aside two default judgments

entered in Department of Sanitation matters without the Receiver’s knowledge, which had resulted

in liens being filed against two estate properties (7210 S Vernon and 7051 S Bennett). Counsel

for the Receiver appeared in court on these matters and obtained a finding of no liability on each.

       Finally, during the quarter, the Receiver arranged inspections of properties with open

municipal housing court litigation. Three housing court matters were heard on May 20, 2021, and

each was continued to July 22, 2021.

       In summary, as of June 30, 2021, there were 10 known pending City of Chicago matters

involving alleged code violations. These included 3 pending City of Chicago municipal housing

court matters, 1 pending City of Chicago administrative proceeding filed by the Buildings

Department and 6 pending administrative proceeding filed by the Department of Sanitation.

       d.      Financial Reporting and Funds Restoration

       The Receiver did not provide institutional lenders with monthly accounting relating to rents

generated by, and expenses incurred in connection with, the properties on which they assert liens




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during the quarter, due to difficulties experienced in getting complete information from third

parties needed to allocate insurance expenses. It is the Receiver’s intention to prepare final reports

on all sold properties, but needs complete and accurate information to ensure that the amounts

allocated to a given property is not overstated. Once this process is completed, the Receiver will

seek the Court’s approval to reimburse the Receiver’s Account for any funds that the Receiver

expended on the sold properties.

       During the quarter, the Court granted the Receiver’s Motion to Approve Use of Sales

Proceeds to pay property manager expenses, an administrative judgment, and an insurance

deductible (Dkt. Nos. 902, 983, 984), and the Receiver paid the approved expenses.

       e.      Open Litigation

       Discovery in the matter captioned Byrd v. EquityBuild et al., Case No. 18 L 1993, Circuit

Court of Cook County closed on March 31, 2021, and a trial setting hearing is scheduled for July

27, 2021.

       f.      Notice of Appointment of Receiver

       The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver will continue to deliver notices to individuals or

entities that have been identified as potentially possessing property, business, books, records, or

accounts of the Receivership Defendants, or who may have retained, managed, held, insured, or

encumbered, or otherwise been involved with, any of the assets of the Receivership Defendants.

       g.      Claimant Communications

       The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-




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equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted on the

Receivership web site.

       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investor claimants and others seeking court filings and

orders can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives. The Receiver and his staff responded to

about 175 such inquiries during the Second Quarter 2021, in addition to numerous oral and other

written communications. The Receiver will continue to work to ensure that information is

available and/or otherwise provided as quickly and completely as practicable, asks all stakeholders

and interested parties for patience during this lengthy process, and reiterates that responding to

individual inquiries depletes Receivership assets. These quarterly status reports and the Receiver’s

other court filings remain the most efficient means of communicating information regarding the

activities of the Receivership Estate.

       h.      Control of Receivership Property and Records

       The Receiver has continued efforts to preserve all EquityBuild property and records. The

Receiver is maintaining two platforms of records and data. Pursuant to the Court’s order approving

the institutional lenders’ plan to process the EquityBuild internal documents, (Dkt. No. 915), the

documents were processed and made available to other claimants and parties for a nominal fee as

well as agreement regarding keeping the documents confidential. (Dkt. No. 940)




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        i.      Securing Bank and Investment Accounts

        The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in

the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        j.      Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (now available in the CloudNine database); (iv)

available underlying transaction documents received to-date from former Chicago-based

EquityBuild counsel; and (v) files produced by former EquityBuild counsel, accountants, and

employees. The Receiver issued additional subpoenas during the quarter.

        k.      Tax Issues

        The Receiver has informed investors that he cannot provide advice on tax matters.

Moreover, the Receiver and his retained professionals do not plan to issue 1099-INT’s. With

respect to valuation, loss, or other tax issues, investors and their tax advisors may wish to seek

independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul. 2009-9.

        BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters.




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       l.      Accounts Established by the Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership property. These interest-bearing checking

accounts are used by the Receiver to collect liquid assets of the Estate and to pay portfolio-related

and administrative expenses. The Receiver also established separate interest-bearing accounts to

hold funds from the sale of real estate, as directed by Court order, until such time as it becomes

appropriate to distribute such funds, upon Court approval, to the various creditors of the Estate,

including but not limited to the defrauded investors or lenders. Attached as Exhibit 3 is a schedule

reflecting the balance of funds in these property specific accounts as of June 30, 2021, with a

description of any changes to the account balance during the quarter.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Second Quarter

2021 is attached hereto as Exhibit 4. The SFAR discloses the funds received and disbursed from

the Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of

June 30, 2021 equaled $988,227.84. The information reflected in the SFAR is based on records

and information currently available to the Receiver. The Receiver and his advisors are continuing

with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the Second

Quarter 2021 are attached hereto as Exhibit 5.         These Schedules in the aggregate reflect

$64,668.40 in total receipts and $179,052.09 in total disbursements to and from the Receiver’s

(non-property) accounts.




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IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 6. The Master Asset List identifies 56 checking accounts in the names

of the affiliate entities identified as Receivership Defendants, reflecting transfers of $213,249.56

to the Receiver’s account. (See also Dkt. No. 348 at 23-24 for additional information relating to

these funds) The Master Asset List also identifies funds in the Receiver’s account in the amount

of $988,227.84. (Exhibit 5)

       The Master Asset List does not include funds received or recovered after June 30, 2021.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the

value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

       Additionally the balances of the 103 property-specific interest-bearing accounts

established to hold the proceeds from sold real estate is attached as Exhibit 3. These accounts

cumulatively contained $63,776,121.97 as of June 30, 2021.

V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants. As it relates to potential actions against claimants, and as

discussed as part of the pending motion for establishment of a claims resolution process, the

Receiver anticipates that any such claims would be brought as part of the claims dispute resolution

process.

       The Receiver and his retained counsel are also prosecuting claims in the Circuit Court of

Cook County for professional malpractice and aiding and abetting a breach of fiduciary duty



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against Rock Fusco & Connelly LLC (“Rock Fusco”), Ioana Salajanu (a former Rock Fusco

attorney), and Bregman Berbert Schwartz & Gilday LLC. On June 18, 2021, the Receiver served

his answers to all interrogatories and document requests propounded by defendants Rock Fusco &

Connelly, Bregman Berbert Schwartz & Gilday, and Ioana Salajanu, and produced copies of nearly

all documents responsive to the requests. On June 22, 2021, defendant Bregman Berbert Schwartz

& Gilday served its answers to the Receiver’s document requests and made a preliminary

production of a modest number of responsive documents accompanied by explanation that

substantially more documentation would be produced following efforts to collect electronic

information archived off its servers prior to the inception of the litigation.

       On June 28, 2021, defendant Rock Fusco & Connelly shared links to its document

production, but the files made available through those links could not be opened by the Receiver’s

counsel, and the parties are still attempting to work around that issue. To date, however, neither

Rock Fusco & Connelly has answered the Receiver’s document requests or interrogatories, and

Ms. Salajanu has not answered the Receiver’s document requests or produced any responsive

documents. Written discovery is set to close on July 30, 2021.

       Additionally, during the quarter the Receiver served multiple subpoenas for records related

to his claims and potential claims. The Receiver and his professionals reviewed the records

produced pursuant to subpoena and engaged in settlement negotiations with third parties Coventry

First LLC and LST III LLC regarding the insurance proceeds from a policy on the life of Defendant

Jerome H Cohen, who passed away in November 2020.3




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  The parties entered into a settlement agreement subject to the Court’s approval and the Receiver
filed a motion to approve this settlement on July 19, 2021. (Dkt. No. 1011)


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VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       The identification and compilation of claims submitted in this matter has been

extraordinarily complex and time-consuming due to the unique circumstances and facts in this

case. For example, it appears that in many instances anticipated proceeds of investor-lender loans

rolled into new offerings rather than being paid off at maturity. It also appears that in some

circumstances the mortgages securing loans may have been released without investor-lenders’

knowledge or consent, allowing the Defendants to refinance the properties with new loans without

retiring the existing loans. Moreover, some investor-lenders may have been induced to exchange

secured loans for unsecured loans or equity positions through false representations. Additionally,

claims against many properties are complicated by cross-collateralized mortgages. The claims

process has also been complicated by, among other things: (i) improperly completed proofs of

claim, (ii) claims relating to properties that were conveyed to third-parties prior to the

establishment of the Receivership; and (iii) claims lacking reference to properties, or relating

solely to what appear to be equity investment vehicles.

       During the Second Quarter 2021, the Receiver continued to work on the accuracy and

completeness of its records regarding the nearly 2400 submitted claims.4 Attached hereto as

Exhibit 7 is an updated version of the Receiver’s “Master Claims Exhibit” listing, showing for

each individual claim submitted, (i) the property address or fund name, (ii) the type (e.g., property

in the Receivership Estate, a former EquityBuild property disposed of prior to the establishment




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  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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of the receivership, or an equity fund), (iii) the claimant name, (iv) the total amount claimed, (v)

the category identified by the claimant (e.g., investor-lender, equity investor, institutional lender,

trade creditor, independent contractor or other), (vi) the amount claimed to have been loaned or

invested in the particular property or fund (where it could be determined from the face of the claim

form) and (vii) the unique claim number assigned to the claim. The updated Exhibit 7 reflects any

additional information provided to the Receiver by claimants since the filing of the Receiver’s last

status report.

        However, despite the claims review and analysis undertaken to date, the Receiver has not

yet been able to review all of the documents submitted with each claim form, and thus makes no

conclusions or recommendations to the Court or to the claimants as to the validity, certainty,

eligibility, or priority of any particular claim at this time. The balance of the Receiver’s review of

submitted claims will occur as part of the claims process that is discussed further below.

        The process for resolution of claims

        During the Second Quarter of 2021, the Receiver and his counsel worked with the vendor,

Avalon to finish distributing the claim forms and supporting documentation submitted to the

Receiver to all claimants asserting claims against the same properties. The Receiver also worked

with counsel for the institutional lenders and database vendors CloudNine and TeamWerks to

create a database of EquityBuild documents to be made available to all claimants for use in the

claims process. Unanticipated time and costs were incurred to obtain EquityBuild documents in

the control of third party vendors. The Receiver’s counsel was able to negotiate a cost-free

resolution from one of the vendors (a $5,215 savings), so the total additional expense was $8,220.

Counsel for the Receiver and the title companies reached an agreement to split these charges in




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the same manner as ordered by the Court (i.e., 20% to the Receiver and 80% divided between

institutional lenders).

        During the quarter, the Receiver worked with counsel for claimants to prepare several joint

status reports updating the Court on the parties’ progress relating to the transfer of claims

documentation and the establishment of the database of EquityBuild documents being made

available to claimants, which were submitted on April 19, 2021 (Dkt. No. 972), May 18, 2021

(Dkt. No. 996) and June 18, 2021 (Dkt. No. 1001).

        By Order entered May 19, 2021, the summary claims resolution process with respect to the

first group of properties was re-scheduled to begin July 6, 2021. (Dkt. No. 999) The Court has

indicated that this process will be a comprehensive process where all issues will be reviewed.

Accordingly, the Receiver anticipates utilizing the claims resolution process to review all claims,

including but not limited to their validity, fairness, amount, legality and classification, as the

process is meant to be comprehensive and will allow for discovery and the like such that all matters

regarding a property can be addressed at one time in one process..

        Process for the resolution of properties without competing claims

        On April 28, 2021 the Court granted in part the motion of U.S. Bank National Association

and Midland Loan Services for a priority determination and the turnover of sales proceeds on

properties in which no other claimants have submitted a claim, and directed these parties to work

with the Receiver to propose an abbreviated process for the resolution of these claims. (Dkt. No.

980) To that end, the Receiver and his counsel have engaged in extensive analysis of recorder of

deeds records, evaluated and considered which properties ought to be included in a single claim

process, participated in a number of conferences with counsel for these institutional lenders, and




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prepared and exchanged several drafts of a proposed process. The parties continue working to

reach agreement.

       Finally, the Receiver repeats the following reminders regarding claims and the claims

process: Claimants may want to consider whether to hire counsel to assist them with the claims

process. Claimants do not have an obligation to retain counsel in order to participate in the claims

process, but the Receiver and his counsel cannot provide legal advice to any claimant, nor can the

Receiver advise claimants regarding whether or not they should retain counsel. Any claimant that

choses to proceed without counsel should visit the section of the Court’s website

(www.ilnd.uscourts.gov) named “Information for People Without Lawyers (Pro Se)” which

provides useful information and also states the following: “The rules, procedures and law that

affect your case are very often hard to understand. With that in mind, you should seriously consider

trying to obtain professional legal assistance from an attorney instead of representing yourself as

a pro se party.” Claimants may also want to speak with a lawyer to assist them in determining for

themselves whether or not to retain counsel.

       All claimants have a continuing responsibility to ensure that the Receiver at all times has

current and up-to-date contact information so that the Receiver may provide important information

relating to the claims process, the claimant’s claim, or the Receivership Estate. Claimants may

provide    changes     to   or    updated      contact   information     to   the    Receiver     at

equitybuildclaims@rdaplaw.net.

VII.   PROFESSIONAL FEES AND EXPENSES

       As of June 30, 2021, there were approximately $2,064,984.47 in unpaid fees and expenses

for all professionals that have been approved by the Court, and the Receiver has submitted

applications for an additional $403,064.48 of professional fees for the third quarter of 2020 (Dkt.




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No. 885) , $379,388.01 for the fourth quarter of 2020 (Dkt. No. 945), and $264,601.20 for the first

quarter of 2021 (Dkt. No. 993), all of which remain pending.

       On October 26, 2020, the Court granted the Receiver’s request for a lien on the estate assets

and their proceeds to cover the Receiver’s fees and other approved Receivership expenses that

may exceed the Estate’s unencumbered funds, and indicated that the priority of the lien will be

determined as part of the claims process. (Dkt. No. 824)

       On February 23, 2021, the Receiver filed a Motion for Approval to Pay Certain Previously

Approved Fees and Costs and for Interim Payment of Continuing Claims Process Fees and Costs

Pursuant to Receiver’s Lien (Dkt. No. 947), certain of the institutional lenders filed objections to

the Receiver’s proposal on March 30, 2021 (Dkt. No. 961), and the Receiver and the SEC each

submitted a reply brief on April 28, 2021. (Dkt. Nos. 981, 982) Regarding previously approved

fees, the Receiver’s submitted with his reply brief schedules that allocate previously-approved fees

to specific properties in accordance with the approved allocation methodology to the Court on

April 28, 2021. (Dkt. Nos. 981-1 to 981-6) The Institutional Lenders filed a motion for leave to

file a sur-reply to the Receiver’s motion (Dkt. No. 985), which the Court denied. (Dkt. No. 988)

       The Receiver desires a ruling on the process proposed by the Receiver for the interim

payment of fees related to the claims process (Dkt. No. 947), as the claims process has now

commenced, so that the stakeholders will be aware of the Court’s decision moving forward and

the Receiver and his retained professionals can be fairly compensated. As these matters involve

previously approved fee petitions, the Receiver believes that such issues are ripe for resolution and

should be resolved at this point for the reasons set forth in the motion and related briefs. (Dkt. No.

947, 981, 982) The Institutional Lenders dispute that the issue of the priority of the Receiver’s




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 claimed lien for fees and costs is ripe for resolution and have opposed the Receiver’s request. (Dkt.

 No. 961)

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.     Preservation, maintenance, and operation of the assets in the Receivership Estate;

         2.     The continued investigation and analysis of current assets and potentially

 recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

 ownership interests;

         3.     The continued efforts of the Receiver to dispose of various assets of the

 Receivership Estate on the best possible terms;

         4.     The continued investigation and analysis of the potential claims against the

 Receivership Estate, including, but not limited to, the claims and records of investors;

         5.     The continued investigation, analysis, and recovery of potential fraudulent transfer

 claims and claims against third parties;

         6.     The continued analysis and formulation, in consultation with the SEC and the

 Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and

         7.     The discharge of any other legal and/or appointed duties of the Receiver as

 identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.

 Dated: July 30, 2021                                   Kevin B. Duff, Receiver

                                                By:     /s/ Michael Rachlis
                                                        Michael Rachlis (mrachlis@rdaplaw.net)
                                                        Jodi Rosen Wine (jwine@rdaplaw.net)
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Twelfth Status Report,

via ECF filing, to all counsel of record on July 30, 2021.

       I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

       -       All known EquityBuild investors; and

       -       All known individuals or entities that submitted a proof of claim in this action (sent

               to the e-mail address each claimant provided on the claim form).

       I further certify that the Receiver’s Twelfth Status Report will be posted to the Receivership

webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        mrachlis@rdaplaw.net




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               Schedule of Property Tax Payments | Second Quarter 2021

       Property Address            Tax Year       Payment Date       Amount Paid
1017 W 102nd Street                 2020           4/15/2021          $1,320.86
1516 E 85th Place                   2020           4/15/2021          $1,495.98
2136 W 83rd Street                  2020           4/15/2021          $1,062.80
417 Oglesby Avenue                  2020           4/15/2021          $2,897.98
7922 S Luella Avenue                2020           4/15/2021          $1,782.62
7925 S Kingston Avenue              2020           4/15/2021          $1,283.46
7933 S Kingston Avenue              2020           4/15/2021          $1,283.58
8030 S Marquette Avenue             2020           4/15/2021          $1,242.69
8104 S Kingston Avenue              2020           4/15/2021          $1,647.37
8403 S Aberdeen Street              2020           4/15/2021          $1,554.98
8405 S Marquette Avenue             2020           4/15/2021          $1,352.55
8529 S Rhodes Avenue             2019 & 2020       4/15/2021          $3,359.68
8800 S Ada Street                   2020           4/15/2021          $1,149.96
9212 S Parnell Avenue               2020           4/15/2021           $973.41
10012 S LaSalle Avenue              2020           4/15/2021          $1,024.24
11318 S Church Street               2020           4/15/2021          $1,138.60
3213 S Throop Street                2020           4/15/2021          $3,236.80
3723 W 68th Place                   2020           4/15/2021          $1,829.93
406 E 87th Place                    2020           4/15/2021          $1,381.73
61 E 92nd Street                    2020           4/15/2021          $1,139.56
6825 S Indiana Avenue               2020           4/15/2021          $1,702.73
7210 S Vernon Avenue                2020           4/15/2021          $1,482.72
7712 S Euclid Avenue                2020           4/15/2021          $1,868.79
7953 S Woodlawn Avenue              2020           4/15/2021          $2,787.52
8107 S Kingston Avenue              2020           4/15/2021          $1,422.05
8346 S Constance Avenue             2020           4/15/2021          $1,686.03
8432 S Essex Avenue                 2020           4/15/2021          $1,429.25
8517 S Vernon Avenue                2020           4/15/2021          $1,363.27
2129 W 71st Avenue                  2020           4/15/2021           $837.36
5437 S Laflin Street                2020           4/15/2021           $754.30
6759 S Indiana Avenue               2020           4/15/2021          $1,962.62
4611-17 S Drexel Boulevard          2020           4/15/2021          $26,331.61
6217-27 S Dorchester Avenue         2020           4/15/2021          $18,214.91
5437 S Laflin Street                2020           4/15/2021           $339.12
7024-32 Paxton Avenue               2020           4/15/2021          $21,004.45
1422-24 East 68th Street            2020           4/15/2021          $3,105.31
2800-06 E 81st Street               2020           4/15/2021          $5,102.53
4750-52 S Indiana Avenue            2020           4/15/2021          $4,244.47
7840-42 S Yates Avenue              2020           4/15/2021           5,076.79

                                                                                   Exhibit
                                                                                             exhibitsticker.com




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7109-19 S Calumet Avenue            2020         4/15/2021        $11,241.03
6554-58 S Rhodes Avenue             2020         4/15/2021        $1,656.09
310 E 50th Street                   2020         4/14/2021        $3,486.68
6807 S Indiana Avenue               2020         4/14/2021        $2,989.42
7255-57 S Euclid Avenue             2020         4/14/2021        $8,511.29
638-40 N Avers Avenue               2020         4/14/2021        $7,099.97
9610 S Woodlawn Avenue              2020         4/14/2021        $1,643.58
1102 Bingham, Houston, TX     2018, 2019, 2020   6/17/2021        $3,836.77
                                                       Total     $173,339.44
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Prop #         PROPERTY ADDRESS                 CLOSING DATE      SALE PRICE         NET PROCEEDS
 11      7500-06 S Eggleston Avenue                   4/26/2019        $960,000.00         $841,038.85
 14      7549-59 S Essex Avenue                       4/26/2019      $1,175,000.00       $1,074,337.60
  9      8100 S Essex Avenue                          4/30/2019      $1,100,000.00         $887,701.86
 79      6160-6212 S Martin Luther King Drive         4/30/2019        $785,000.00         $532,278.72
 102     7927-29 S Essex Avenue                        5/1/2019        $175,000.00         $141,875.84
 103     7933-35 S Essex Avenue                        5/1/2019        $175,000.00         $142,485.14
 104     7937-39 S Essex Avenue                        5/1/2019        $175,000.00         $141,990.37
 105     7943-45 S Essex Avenue                        5/1/2019        $175,000.00         $136,204.61
 106     7947-49 S Essex Avenue                        5/1/2019        $175,000.00         $142,012.95
  3      5001 S Drexel Boulevard                      5/22/2019      $2,800,000.00       $2,579,171.14
 10      7301-09 S Stewart Avenue                     11/4/2019        $650,000.00         $587,383.53
 62      7834-44 S Ellis Avenue                       11/4/2019      $1,777,000.00       $1,655,750.17
 58      5955 S Sacramento Avenue                     11/5/2019        $570,000.00         $497,643.46
 59      6001-05 S Sacramento Avenue                  11/5/2019        $435,000.00         $379,772.49
 60      7026-42 S Cornell Avenue                     11/6/2019      $1,110,000.00         $918,748.46
 12      3030-32 E 79th Street                        11/9/2019        $400,000.00         $351,680.90
 13      2909-19 E 78th Street                       11/14/2019      $1,426,000.00       $1,276,569.01
 77      7750-58 S Muskegon Avenue                   12/18/2019        $700,000.00         $582,979.54
 92      7748-52 S Essex Avenue                      12/18/2019      $1,350,000.00       $1,217,423.87
 75      7625-33 S East End Avenue                   12/20/2019      $1,250,000.00       $1,156,782.51
 76      7635-43 S East End Avenue                   12/20/2019      $1,170,000.00       $1,084,045.74
 15      804-55 S Manistee Avenue                      2/5/2020        $975,000.00         $867,058.48
 71      701-13 S 5th Avenue                          3/31/2020        $975,000.00         $520,541.83
  5      7749-59 S Yates Boulevard                    4/22/2020        $925,000.00         $785,629.17
 115     1050 8th Avenue N ( Naples, FL)              4/24/2020        $950,000.00         $393,043.13
 65      6749-59 S Merrill Avenue                     4/28/2020      $1,480,000.00       $1,384,437.44
 112     7450 S Luella Avenue                          5/7/2020        $278,000.00         $211,313.61
 88      7546-48 S Saginaw Avenue                     5/13/2020        $625,000.00         $536,319.43
 95      8201 S Kingston Avenue                       5/21/2020        $400,000.00         $313,377.74
 63      4520-26 S Drexel Boulevard                   5/21/2020      $6,110,000.00       $5,814,278.91
  96     8326-32 S Ellis Avenue                       6/11/2020      $1,610,000.00       $1,403,225.03
  97     8334-40 S Ellis Avenue                       6/11/2020
  98     8342-50 S Ellis Avenue                       6/11/2020
  99     8352-58 S Ellis Avenue                       6/11/2020
   4     5450-52 S Indiana Avenue                     6/25/2020      $1,800,000.00       $1,656,600.96
   6     6437-41 S Kenwood Avenue                     6/25/2020      $1,415,000.00       $1,317,322.28
                                                                                                               Exhibit




                                                                                                                         exhibitsticker.com
  50     7760 S Coles Avenue                          6/26/2020        $260,000.00         $188,195.94
  54     8000-02 S Justine Street                     6/26/2020        $375,000.00         $297,778.30
                                                                                                                 2
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55     8107-09 S Ellis Avenue                6/30/2020        $220,000.00       $175,605.67
57     82116 S Ingleside Avenue              6/30/2020        $350,000.00       $267,219.19
56     8209 S Ellis Avenue                    7/1/2020        $375,000.00       $308,848.22
100    11117-11119 S Longwood Drive           7/8/2020      $1,750,000.00     $1,599,854.81
49     7300-04 S St Lawrence Avenue          7/27/2020        $330,000.00       $283,239.84
66     7110 S Cornell Avenue                 8/13/2020      $1,240,000.00     $1,145,576.16
93     7957-59 S Marquette Road              9/21/2020        $351,000.00       $279,775.32
84     7051 S Bennett Avenue                 9/23/2020        $600,000.00       $482,797.05
74     3074 E Cheltenham Place               9/24/2020      $1,060,000.00       $960,348.38
80     2736-44 W 64th Street                 9/29/2020        $418,000.00       $373,122.98
83     6356 S California Avenue              9/29/2020        $375,000.00       $312,552.66
82     6355-59 S Talman Avenue               9/29/2020        $577,000.00       $472,139.56
110    5618-20 S Martin Luther King Drive    9/29/2020        $646,000.00       $584,772.08
78     7201 S Constance Avenue               9/30/2020      $1,100,000.00       $951,411.73
111    6554-58 S Vernon Avenue              10/15/2020        $576,000.00       $528,668.50
 1     1700-08 W Juneway Terrace            10/20/2020      $2,800,000.00     $2,628,031.19
85     7201-07 S Dorchester Avenue          10/20/2020        $495,000.00       $413,136.81
87     7508 S Essex Avenue                  10/28/2020        $755,000.00       $690,807.52
115    431 E 42nd Place                      11/5/2020         $82,500.00        $59,375.71
91     7701-03 S Essex Avenue               11/16/2020        $700,000.00       $641,060.09
86     7442-54 S Calumet Avenue             11/16/2020        $565,000.00       $518,560.89
94     816-22 E Marquette Road              11/18/2020        $805,000.00       $747,245.26
101    6949-59 S Merrill Avenue              12/1/2020      $1,520,000.00     $1,404,824.55
 2     4533-47 S Calumet Avenue              12/1/2020      $2,120,000.00     $1,969,074.99
81     4315-19 S Michigan Avenue             12/2/2020        $850,000.00       $787,969.95
89     7600-10 S Kingston Avenue             12/2/2020      $1,530,000.00     $1,377,207.46
90     7656-58 S Kingston Avenue             12/2/2020        $320,000.00       $230,791.66
67     1131-41 E 79th Place                 12/22/2020      $1,150,000.00     $1,055,876.12
69     6250 S Mozart Street                 12/22/2020        $925,000.00       $843,372.55
109    4750-52 S Indiana Avenue              4/21/2021        $697,000.00       $652,011.16          2nd Quarter 2021
72     7024-32 S Paxton Avenue               4/22/2021      $1,775,000.00     $1,657,501.17
113    7840-42 S Yates Avenue                4/23/2021        $350,000.00       $318,695.95
108    2800-06 E 81st Street                 4/30/2021        $430,000.00       $394,288.84
64     4611-17 S Drexel Boulevard            5/14/2021      $4,900,000.00     $4,665,443.83
8-8A   1414-18 East 62nd Place               5/26/2021       $190,000.00       $164,438.03     Single Family Home Portfolio:
 16    1017 W 102nd Street                   5/26/2021        $80,000.00        $69,823.84
 17    1516 E 85th Place                     5/26/2021       $115,000.00       $103,069.50
 18    2136 W 83rd Street                    5/26/2021        $85,000.00        $75,018.82
 19    417 Oglesby Avenue                    5/26/2021        $85,000.00        $72,023.33
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20    7922 S Luella Avenue                 5/26/2021             $120,000.00           $107,325.62
21    7925 S Kingston Avenue               5/26/2021              $80,000.00            $70,052.16
22    7933 S Kingston Avenue               5/26/2021              $80,000.00            $69,898.75
23    8030 S Marquette Avenue              5/26/2021              $90,000.00            $79,448.02
24    8104 S Kingston Avenue               5/26/2021             $100,000.00            $88,482.43
25    8403 S Aberdeen Street               5/26/2021              $80,000.00            $69,516.40
26    8405 S Marquette Avenue              5/26/2021              $70,000.00            $56,538.52
27    8529 S Rhodes Avenue                 5/26/2021              $60,000.00            $49,803.57
28    8800 S Ada Street                    5/26/2021              $40,000.00            $31,896.79
29    9212 S Parnell Avenue                5/26/2021              $60,000.00            $50,210.21
30    10012 S LaSalle Avenue               5/26/2021              $80,000.00            $70,471.80
31    11318 S Church Street                5/26/2021             $130,000.00           $118,059.65
32    3213 S Throop Street                 5/26/2021             $250,000.00           $229,683.09
33    3723 W 68th Place                    5/26/2021             $100,000.00            $88,544.91
34    406 E 87th Place                     5/26/2021              $90,000.00            $79,530.47
35    61 E 92nd Street                     5/26/2021              $90,000.00            $79,926.46
36    6554 S Rhodes Avenue                 5/26/2021             $130,000.00           $117,660.97
37    6825 S Indiana Avenue                5/26/2021              $80,000.00            $68,992.70
38    7210 S Vernon Avenue                 5/26/2021              $45,000.00            $36,205.53
39    7712 S Euclid Avenue                 5/26/2021             $130,000.00           $116,808.78
40    7953 S Woodlawn Avenue               5/26/2021             $150,000.00           $132,968.30
41    8107 S Kingston Avenue               5/26/2021             $100,000.00            $88,840.99
42    8346 S Constance Avenue              5/26/2021              $88,000.00            $77,004.10
43    8432 S Essex Avenue                  5/26/2021              $60,000.00            $50,769.85
44    8517 S Vernon Avenue                 5/26/2021             $140,000.00           $127,496.37
45    2129 W 71st Street                   5/26/2021              $90,000.00            $80,581.05
46    9610 S Woodlawn Avenue               5/26/2021             $100,000.00            $88,673.62
47    5437 S Laflin Street                 5/26/2021             $160,000.00           $145,788.77
48    6759 S Indiana Avenue                5/26/2021              $40,000.00            $30,406.94
51    1401 W 109th Place                   5/26/2021              $87,000.00            $74,844.46
52    310 E 50th Street                    5/26/2021             $375,000.00           $348,986.84          Gross Price: $4,000,000.00
53    6807 S Indiana Avenue                5/26/2021             $150,000.00           $134,034.66           Net Price: $3,543,826.30
107   1422-24 East 68th Street             6/23/2021             $400,000.00           $365,372.11
73    7255-57 S Euclid Avenue              6/29/2021             $970,000.00           $887,498.04
61    7237-43 S Bennett Avenue             6/30/2021             $840,000.00           $678,935.84

                                                              $75,658,500.00         $67,273,839.15        $14,362,000.00         $13,163,573.24
                                                       Total Sales to 6/30/21   Total Net Proceeds    Total 2Q2021 Sales    2Q2021 Net Proceeds
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                                                            SEC v. EquityBuild, Inc., et al.
                                                                   No. 18‐cv‐5587
                                         Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                    Account Balance                                              Reason for Change (if any)
 Account Number          Account Name                                       Date of Settlement
                                                  (as of June 30, 2021)                                               4/1/21 ‐ 6/30/21
0025              7301 S Stewart Ave                         $303,050.27               11/4/2019   Interest earned, $188.83
0033              5001‐05 S Drexel                         $2,722,696.75               5/22/2019   Interest earned, $1,696.49
0041              7927‐49 S Essex                            $643,666.25                5/1/2019   Interest earned, $401.06
0058              8100‐14 S Essex                            $927,749.04               4/30/2019   Interest earned, $578.07
0066              6160‐6212 S King                           $429,388.60               4/30/2019   Interest earned, $267.55
0108              8047 S. Manistee                           $804,947.49                2/5/2020   Payment to property manager of property expenses
                                                                                                   per Court Order (#984) ($3,000.00); interest earned,
                                                                                                   $502.27
0116              5955 S. Sacramento                        $449,543.92                11/5/2019   Interest earned, $280.10
0124              6001‐05 S. Sacramento                     $328,742.64                11/5/2019   Refund of closing costs, $1,300.00; interest earned,
                                                                                                   $204.42
0132              7026‐42 S. Cornell                        $867,062.79                11/6/2019   Deposits of utility refunds, $13.49; interest earned,
                                                                                                   $540.25
0157              7834‐44 S. Ellis                        $1,634,557.33                11/4/2019   Interest earned, $1,018.47
0165              701‐13 S. 5th Avenue                      $615,672.71                3/31/2020   Interest earned, $383.62
0199              7625 S. East End                        $1,240,198.90               12/20/2019   Interest earned, $772.76
0207              7635 S. East End                        $1,047,568.27               12/20/2019   Interest earned, $652.73
0215              7748 S. Essex                           $1,185,074.94               12/18/2019   Interest earned, $738.41
0223              7750 S. Muskegon                          $409,045.31               12/18/2019   Interest earned, $254.87
0231              7749‐59 S. Yates                         $638,290.63                 4/22/2020   Payment of property expenses per Order (#984),
                                                                                                   ($10,052.68); Interest earned, $400.12
0249              7450 S. Luella                            $198,131.65                 5/7/2020   Interest earned, $123.45
0256              4520‐26 S. Drexel                       $6,196,738.59                5/21/2020   Payment for insurance deductible, ($25,000.00);
                                                                                                   interest earned, $3,868.16
0264              6749‐59 S. Merrill                      $1,408,252.31                4/28/2020   Interest earned, $886.47
0272              7110 S. Cornell                         $1,168,649.27                8/13/2020   Interest earned, $728.17
0280              7109 S. Calumet                               $223.87                      n/a   Utility refund, $223.84; interest earned, $0.03
0298              7600 S. Kingston                        $1,379,189.04                12/3/2020   Interest earned, $859.36
0306              7656 S. Kingston                          $231,123.73                12/2/2020   Interest earned, $144.01
0314              8201 S. Kingston                          $274,716.58                5/21/2020   Payment of property expenses per Order (#984),
                                                                                                   ($4,832.14); interest earned, $172.36
0322              8326‐58 S. Ellis                        $1,332,027.75                6/11/2020   Interest earned, $829.98
0330              6949‐59 S. Merrill                      $1,540,830.82                12/1/2020   Interest earned, $960.08
0355              7546 S. Saginaw                          $522,573.34                 5/13/2020   Interest earned, $325.61
0363              638 N. Avers                             $314,717.54                       n/a   Payment of property taxes, ($7,099.97); payment of
                                                                                                   property management expenses, ($1,695.90);
                                                                                                   payment for security installation, ($3,871.03);
                                                                                                   interest earned, $197.58
0371              5450 S. Indiana                         $1,791,107.17                6/25/2020   Interest earned, $1,116.03
0389              6437 S. Kenwood                         $1,341,419.52                6/25/2020   Interest earned, $835.83
0397              7300 S. St. Lawrence                      $309,983.20                7/27/2020   Interest earned, $193.15
0405              7760 S. Coles                            $122,994.61                 6/26/2020   Interest earned, $76.63
0413              8000 S. Justine                           $193,177.23                6/26/2020   Interest earned, $120.37
0421              8107‐09 S. Ellis                          $111,009.32                6/30/2020   Interest earned, $69.17
0439              8209 S. Ellis                             $263,633.53                 7/1/2020   Interest earned, $164.27
0447              8214‐16 S. Ingleside                      $208,518.29                6/30/2020   Interest earned, $129.93
0454              11117 S. Longwood                       $1,691,715.21                 7/8/2020   Utility refund, $4.85; interest earned, $1,054.09

0462              1700 Juneway                            $2,771,791.80               10/20/2020   Interest earned, $1,727.08
0470              1131‐41 E. 79th                         $1,178,752.29               12/22/2020   Interest earned, $734.47
0488              2736 W. 64th                              $379,972.83                9/29/2020   Interest earned, $236.76
0496              3074 Cheltenham                         $1,014,087.67                9/24/2020   Interest earned, $631.87
0504              5618 S. Martin Luther King                $626,617.60                9/29/2020   Interest earned, $390.44
0512              6250 S. Mozart                            $864,171.07               12/22/2020   Interest earned, $538.46
0520              6355 S. Talman                           $478,876.44                 9/29/2020   Interest earned, $298.38
0538              6356 S. California                       $315,410.42                 9/29/2020   Interest earned, $196.53
0546              6554‐58 S. Vernon                         $529,603.54               10/15/2020   Interest earned, $329.99

                                                                                                                                                      Exhibit
                                                                                                                                                                exhibitsticker.com




                                                                                                                                                           3
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                          Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                     Account Balance                                           Reason for Change (if any)
 Account Number          Account Name                                        Date of Settlement
                                                   (as of June 30, 2021)                                           4/1/21 ‐ 6/30/21
0553              7051 S. Bennett                             $476,533.44               9/23/2020 Payment of property expenses per Order (#984),
                                                                                                  ($8,690.47); reimbursement of security deposit,
                                                                                                  $1,500.00; interest earned, $298.16
0561              7201 S. Constance                          $961,193.25                9/30/2020    Interest earned, $598.91
0579              7201‐07 S. Dorchester                      $421,137.18               10/20/2020    Interest earned, $262.41
0587              7508 S. Essex                              $747,881.53               10/28/2020    Interest earned, $466.00
0595              7957 S. Marquette                          $284,660.54                9/21/2020    Interest earned, $177.37
0603              4533 S. Calumet                          $2,196,562.49                12/1/2020    Interest earned, $1,368.66
0611              1017 W. 102nd                               $91,112.23                5/26/2021    Proceeds from sale of property, $86,590.77; interest
                                                                                                     earned, $22.38
0629              1516 E. 85th                                $88,920.00                5/26/2021    Proceeds from sale of property, $85,993.20; interest
                                                                                                     earned, $21.26
0637              417 Oglesby                                  $86,071.10               5/26/2021    Proceeds from sale of property, $85,681.31; interest
                                                                                                     earned, $19.60
0645              7922 S. Luella                             $120,906.53                5/26/2021    Proceeds from sale of property, $120,678.34;
                                                                                                     interest earned, $27.41
0652              7925 S. Kingston                             $73,434.97               5/26/2021    Proceeds from sale of property, $71,360.20; interest
                                                                                                     earned, $17.42
0660              8030 S. Marquette                            $64,451.15               5/26/2021    Proceeds from sale of property, $63,021.04; interest
                                                                                                     earned, $15.13
0678              8104 S. Kingston                           $131,850.98                5/26/2021    Proceeds from sale of property, $129,170.70;
                                                                                                     interest earned, $30.86
0686              8403 S. Aberdeen                           $100,866.78                5/26/2021    Proceeds from sale of property, $98,487.01; interest
                                                                                                     earned, $23.73
0694              8405 S. Marquette                          $100,333.29                5/26/2021    Proceeds from sale of property, $98,362.87; interest
                                                                                                     earned, $23.44
0702              8529 S. Rhodes                             $123,345.20                5/26/2021    Proceeds from sale of property, $122,380.68;
                                                                                                     interest earned, $28.25
0710              9212 S. Parnell                              $87,418.07               5/26/2021    Proceeds from sale of property, $84,934.06; Interest
                                                                                                     earned, $20.74
0728              10012 S. LaSalle                             $81,147.57               5/26/2021    Proceeds from sale of property, $79,102.26; interest
                                                                                                     earned, $19.15
0736              11318 S. Church                            $116,166.43                5/26/2021    Proceeds from sale of property, $114,979.02;
                                                                                                     interest earned, $26.71
0744              6554 S. Rhodes                               $76,958.77               5/26/2021    Proceeds from sale of property, $75,853.34; interest
                                                                                                     earned, $17.83
0751              6825 S. Indiana                            $121,013.09                5/26/2021    Proceeds from sale of property, $119,930.56;
                                                                                                     interest earned, $27.77
0769              7210 S. Vernon                               $57,904.67               5/26/2021    Proceeds from sale of property, $57,667.13; interest
                                                                                                     earned, $13.18
0777              7712 S. Euclid                             $120,606.02                5/26/2021    Proceeds from sale of property, $118,934.85;
                                                                                                     interest earned, $27.91
0785              8107 S. Kingston                             $90,213.52               5/26/2021    Proceeds from sale of property, $89,825,21; interest
                                                                                                     earned, $20.53
0793              8346 S. Constance                          $129,087.25                5/26/2021    Proceeds from sale of property, $127,584.75;
                                                                                                     interest earned, $29.76
0801              8432 S. Essex                              $129,465.45                5/26/2021    Proceeds from sale of property, $129,042.27;
                                                                                                     interest earned, $29.42
0819              8517 S. Vernon                             $122,040.19                5/26/2021    Proceeds from sale of property, $120,836.94;
                                                                                                     interest earned, $28.04
0827              2129 W. 71st                                $58,337.17                5/26/2021    Proceeds from sale of property, $57,320.28; interest
                                                                                                     earned, $13.58
0835              9610 S. Woodlawn                             $77,201.13               5/26/2021    Proceeds from sale of property, $74,850.80; interest
                                                                                                     earned, $18.37
0843              1401 W. 109th                               $56,363.63                5/26/2021    Proceeds from sale of property, $53,979,74; interest
                                                                                                     earned, $13.68
0850              1139 E. 79th                                  $3,710.64                      n/a   Interest earned, $2.31
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                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                        Balances of Funds in Property Specific Accounts as of June 30, 2021




                                                   Account Balance                                              Reason for Change (if any)
 Account Number          Account Name                                      Date of Settlement
                                                 (as of June 30, 2021)                                               4/1/21 ‐ 6/30/21
0868              4611 S. Drexel                          $4,710,852.75               5/14/2021   Proceeds from sale of property, $4,665,443.83;
                                                                                                  interest earned, $1,561.43
0876              6217 S. Dorchester                        $12,842.56                      n/a   Interest earned, $8.00
0884              7255 S. Euclid                           $913,968.69                6/29/2021   Proceeds from sale of property, $887,498.04;
                                                                                                  interest earned, $28.65
0892              7024 S. Paxton                         $1,703,418.56                4/22/2021   Proceeds from sale of property, $1,657,501.17;
                                                                                                  interest earned, $732.19
0900              4317 S. Michigan                         $792,793.46                12/2/2020   Interest earned, $493.99
0918              7701 S. Essex                            $731,915.69               11/16/2020   Utility refund, $25.77; interest earned, $456.05
0926              816 E. Marquette                         $821,973.52               11/18/2020 Interest earned, $512.16
0934              1422 E. 68th                             $407,220.35                6/23/2021 Proceeds from sale of property, $365,372.11;
                                                                                                redemption of earnest money, $40,000.00; interest
                                                                                                earned, $23.90
0942              2800 E. 81st                             $399,864.19                4/30/2021 Proceeds from sale of property, $394,288.84;
                                                                                                interest earned, $170.84
0959              4750 S. Indiana                          $666,202.32                4/21/2021 Proceeds from sale of property, $652,011.16; refund
                                                                                                of overpyament of utility fees at closing, $724.44;
                                                                                                interest earned, $325.56
0967              7840 S. Yates                            $327,615.01                4/23/2021 Proceeds from sale of property, $318,695.95;
                                                                                                interest earned, $149.57
0975              7442‐48 S. Calumet                       $540,850.78               11/16/2020 Utility refund, $365.56; interest earned, $336.95

0983              431 E. 42nd Place                         $64,866.03                11/5/2020 Payment of administrative fines per Order (#984),
                                                                                                ($660.00); interest earned, $40.70
0991              1414 E. 62nd Place                        $35,090.45                5/26/2021 Proceeds from sale of property, $35,058.23; interest
                                                                                                earned, $32.22
1007              2136 W. 83rd Street                        $86,191.40               5/26/2021 Proceeds from sale of property, $86,171.93; interest
                                                                                                earned, $19.47
1015              7933 S. Kingston                           $80,988.65               5/26/2021 Proceeds from sale of property, $80,970.35; interest
                                                                                                earned, $18.30
1023              8800 S. Ada                              $119,632.80                5/26/2021 Proceeds from sale of property, $119,605.76;
                                                                                                interest earned, $27.04
1031              3213 S. Throop                           $117,861.25                5/26/2021 Proceeds from sale of property, $117,834.62;
                                                                                                interest earned, $26.63
1049              3723 W. 68th Place                       $116,241.71                5/26/2021 Proceeds from sale of property, $116,215.45;
                                                                                                interest earned, $26.26
1056              406 E. 87th Place                         $92,576.30                5/26/2021 Proceeds from sale of property, $92,555.28; interest
                                                                                                earned, $20.92
1064              61 E. 92nd Street                          $96,227.31               5/26/2021 Proceeds from sale of property, $96,205.56; interest
                                                                                                earned, $21.75
1072              7953 S. Woodlawn                         $116,735.69                5/26/2021 Proceeds from sale of property, $116,709.31;
                                                                                                interest earned, $26.38
1080              5437 S. Laflin                             $35,669.12               5/26/2021 Proceeds from sale of property, $35,661.07; interest
                                                                                                earned, $8.05
1098              6759 S Indiana                             $87,626.07               5/26/2021 Proceeds from sale of property, $87,606.27; interest
                                                                                                earned, $19.80
1106              310 E 50th Street                        $182,252.75                5/26/2021 Proceeds from sale of property, $182,211.56;
                                                                                                interest earned, $41.19
1114              6807 S. Indiana                          $110,478.23                5/26/2021 Proceeds from sale of property, $110,453.26;
                                                                                                interest earned, $24.97

                  TOTAL FUNDS HELD:                     $63,776,121.97
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 4/1/2021 to 6/30/2021

Fund Accounting (See Instructions):
                                                                             Detail         Subtotal       Grand Total
Line 1        Beginning Balance (As of 4/1/2021):                         $1,102,611.53                    $1,102,611.53
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $650.68
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other¹                                        $64,017.72
                Total Funds Available (Line 1‐8):                                                          $1,167,279.93
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                       ($179,052.09)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                               $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($179,052.09)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                    $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
                                                                                                                Exhibit
                                                                                                                           exhibitsticker.com




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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 4/1/2021 to 6/30/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐12):                                                 ($179,052.09)
Line 13         Ending Balance (As of 6/30/2021):                                                 $988,227.84
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $988,227.84
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                          $988,227.84




           ¹ Refund of 2020‐21 insurance premium financing payments
           for sold properties ($34,065.40); refund of 2021‐22 insurance
           premium payment for sold properties ($11,035.00); refund of
           deposit from original sale of 6160 S MLK to EB ($18,917.32).
           TOTAL: $64,017.72
           ² Insurance premiums ($158,214.91); property utilities and
           management expenses ($6,713.26); installment payments
           on past due taxes ($3,836.77); payments to vendors for
           services related to claims document repository ($10,033.15);
           payment on administrative property citation ($254.00).
           TOTAL $179 052 09
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       STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                      Receivership; Civil Court Docket No. 18‐cv‐05587
                         Reporting Period 4/1/2021 to 6/30/2021

                                           Receiver:
                                                                         /s/ Kevin B. Duff
                                                           (Signature)

                                                       Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                           (Printed Name)

                                               Date:                     July 30, 2021
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                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                     April 1 - June 30, 2021
                             Schedule of Receipts and Disbursements


  Beginning Balance
  4/1/21                                                                                  $975,800.21

  RECEIPTS

                                    Received From                      Amount

                         5/2/2021 Interest                                      $213.81
                                  First Funding (insurance refund
                                  checks: $3,863.79, $12,973.40,
                        5/14/2021 $17,228.21)                              $34,065.40
                                  Chicago Title & Trust (return of
                                  deposit from original sale of 6160
                        5/14/2021 S MLK to EB)                             $18,917.32

                        5/31/2021 Interest                                      $182.03
                                  Baldwin Krystyn Sherman
                                  Partners LLC (insurance premium
                                  refund: GL, 6357-59 S Talman -
                                  $2,086; GL, 6250 S Mozart -
                                  $4,768; property, 6250 S Mozart -
  Deposit               6/24/2021 $4,181)                                  $11,035.00
  Interest              6/30/2021 Interest                                    $175.77


                                    TOTAL RECEIPTS:                                        $64,589.33

  DISBURSEMENTS

                                    Paid To                        Amount
                                    Paper Street (utilities &
                                    management expenses at 1401
  Wire Out              4/19/2021   W 109th )                            ($875.00)
                                    Paper Street (utilities &
                                    management expenses at 1401
                                    W 109th ($1,378.41) and 7237 S
  Wire Out               5/6/2021   Bennett ($1,217.55))               ($2,595.96)
                                    Baldwin Krystyn Sherman
                                    Partners LLC (2021-22 GL
  Wire Out              5/10/2021   insurance premium)                ($77,675.00)
                                    Baldwin Krystyn Sherman
                                    Partners LLC (2021-22 umbrella
  Wire Out              5/12/2021   insurance premium)                ($31,848.00)
                                    Dickinson Wright PLLC
                                    (Receiver's share of Docusign
  Wire Out              5/12/2021   upgrade)                           ($1,644.00)
                                    Baldwin Krystyn Sherman
                                    Partners LLC (2021-22 property
  Wire Out               6/1/2021   insurance premiums)               ($48,691.91)

                                  Avalon Document Services (work
  Wire Out               6/3/2021 regarding claims repository)             ($8,389.15)
                                                                                                        Exhibit
                                                                                                                  exhibitsticker.com




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                   EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                  April 1 - June 30, 2021
                          Schedule of Receipts and Disbursements

                               Paper Street (gas bill for 7237 S
  Wire Out           6/11/2021 Bennett)                            ($2,542.30)
                               to 1102 Bingham account for
                               property tax installment contract
  Funds Transfer     6/16/2021 payment                             ($3,836.77)
                               City of Houston (payment on
                               arraignment notice, citation no.
                               N37066084, 1102 Bingham,
  Check 20028        6/21/2021 Houston, TX)                         ($254.00)
                               M&J Lawn Services (lawn
                               services at 1102 Bingham,
  Wire Out           6/23/2021 Houston, TX)                         ($700.00)


                               TOTAL DISBURSEMENTS:                              ($179,052.09)

                               Grand Total Cash on Hand at
                               6/30/2021:                                        $861,337.45
Case: 1:18-cv-05587 Document #: 1017 Filed: 07/30/21 Page 34 of 99 PageID #:32824
                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                     April 1 - June30, 2021
                             Schedule of Receipts and Disbursements


  Beginning Balance
  4/1/21                                                                              $126,811.32

  RECEIPTS

                                      Received From                 Amount

                             5/2/2021 Interest                               $27.80

                            5/31/2021 Interest                               $25.20

                            6/30/2021 Interest                               $26.07

                                      TOTAL RECEIPTS:                                     $79.07

  DISBURSEMENTS

                                      Paid To                       Amount


                                      TOTAL DISBURSEMENTS:                                  $0.00

                                      Grand Total Cash on Hand at
                                      6/30/2021:                                      $126,890.39
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                                                    Master Asset List
                                        Receiver’s Account (as of 6/30/2021)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $861,337.45
AXOS Fiduciary Services                      Checking #0348                                                       $126,890.39
                                                                                                                        Total:
                                                                                                                  $988,227.84

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,828.73³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 6 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.




                                                                                                                       Exhibit
                                                                                                                                  exhibitsticker.com




                                                                                                                              6
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                                                                                               Master Claims List


Property         Property Address          Alternative Address               Type                                    Claimant Name                    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                         Claim Category as           Form               Property
                                                                                                                                                        Identified on Claim
                                                                                                                                                               Form)
  58        5955 S Sacramento Avenue      2948‐56 W 60th Street      Estate Property   1839 Fund I LLC                                                $             49,937.00   Investor‐Lender     $       42,330.00   58‐367
  74          3074 Cheltenham Place         7836 S Shore Drive       Estate Property   1839 Fund I LLC                                                $             90,075.00   Investor‐Lender     $       50,000.00   74‐367
  80          2736‐44 W 64th Street                                  Estate Property   1839 Fund I LLC                                                $             29,514.00   Investor‐Lender     $       24,500.00   80‐367
  84          7051 S Bennett Avenue                                  Estate Property   1839 Fund I LLC                                                $             87,717.00   Investor‐Lender     $       70,470.00   84‐367
  91         7701‐03 S Essex Avenue                                  Estate Property   1839 Fund I LLC                                                $            105,200.00   Investor‐Lender     $       95,000.00   91‐367
  93        7953‐59 S Marquette Road       2708‐10 E 80th Street     Estate Property   1839 Fund I LLC                                                $             47,562.00   Investor‐Lender     $       39,483.00   93‐367
  117         3915 N Kimball Avenue                                  Former Property   1839 Fund I LLC                                                $             38,081.00   Investor‐Lender     $       50,000.00   117‐367
  906                 SSDF6                                          Fund              1839 Fund I LLC                                                $             92,879.00   Investor‐Lender     $       92,879.00   906‐367

  100      11117‐11119 S Longwood Drive                              Estate Property   88 Legacy LLC                                                  $            56,000.03    Investor‐Lender     $       50,000.00   100‐126

   9            8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property   Aaron Beauclair                                                $            40,000.00    Investor‐Lender     $       10,000.00   9‐408
   62          7834‐44 S Ellis Avenue                                Estate Property   Aaron Beauclair                                                $            40,000.00    Investor‐Lender     $       10,000.00   62‐408
   72        7024‐32 S Paxton Avenue                                 Estate Property   Aaron Beauclair                                                $            40,000.00    Investor‐Lender     $       10,000.00   72‐408
  78         7201 S Constance Avenue       1825‐31 E 72nd Street     Estate Property   Aaron Beauclair                                                $            40,000.00    Investor‐Lender     $       10,000.00   78‐408
  124         6801 S East End Avenue                                 Former Property   Aaron Beauclair                                                $            40,000.00    Investor‐Lender     $       10,000.00   124‐408
  123        7107‐29 S Bennett Avenue                                Former Property   Adam Epstein                                                   $            50,000.00    Investor‐Lender     $       50,000.00   123‐64
   3          5001 S Drexel Boulevard        909 E 50th Street       Estate Property   Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   3‐143
   6        6437‐41 S Kenwood Avenue                                 Estate Property   Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   6‐143
  63        4520‐26 S Drexel Boulevard                               Estate Property   Adir Hazan                                                     $           151,333.00     Equity Investor    $      100,000.00   63‐143
  74          3074 Cheltenham Place         7836 S Shore Drive       Estate Property   Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   74‐143
  82         6355‐59 S Talman Avenue      2616‐22 W 64th Street      Estate Property   Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   82‐143
  901                  SSDF 1                                        Fund              Adir Hazan                                                     $           151,333.00     Equity Investor    $       10,000.00   901‐143
  904           LEGACY FUND SSDF 4                                   Fund              Adir Hazan                                                     $           151,333.00     Equity Investor    $       51,333.00   904‐143

10 to 12               CCF1                                          Fund              Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   10‐143
13 to 15               CCF2                                          Fund              Adir Hazan                                                     $           150,000.00    Investor‐Lender     $       50,000.00   13‐143
  911         Hybrid Capital Fund, LLC                               Fund              Advanta IRA Services FBO Krushna Dundigalla Acct#8004195       $           100,000.00     Equity Investor    $      100,000.00   911‐658
    5        7749‐59 S Yates Boulevard                               Estate Property   Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189   $            80,826.56    Investor‐Lender     $       97,000.00   5‐847
    1        1700‐08 Juneway Terrace                                 Estate Property   Agee Family Trust c/o Scott R. Agee                            $           130,000.00    Investor‐Lender     $       40,000.00   1‐2001
    6       6437‐41 S Kenwood Avenue                                 Estate Property   Agee Family Trust c/o Scott R. Agee                            $           130,000.00    Investor‐Lender     $       15,000.00   6‐2001
  100      11117‐11119 S Longwood Drive                              Estate Property   Agee Family Trust c/o Scott R. Agee                            $           130,000.00    Investor‐Lender     $       25,000.00   100‐2001

10 to 12               CCF1                                          Fund              Agee Family Trust c/o Scott R. Agee                            $           130,000.00     Equity Investor    $       75,000.00   10‐2001
13 to 15               CCF2                                          Fund              Agee Family Trust c/o Scott R. Agee                            $           130,000.00     Equity Investor    $       55,000.00   13‐2001
 96‐99         8326‐58 S Ellis Avenue                                Estate Property   Agee Family Trust c/o Scott R. Agee                            $           130,000.00    Investor‐Lender     $       50,000.00   96‐2001

   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property   Aksel Allouch                                                  $            50,000.00    Investor‐Lender     $       50,000.00   4‐90
  67            1131‐41 E 79th Place                                 Estate Property   Alan & Sheree Gravely                                          $            75,000.00    Investor‐Lender     $       75,000.00   67‐298
  902           SSDF 2 Holdco 3, LLC                                 Fund              Alan & Sheree Gravely                                          $            75,000.00     Equity Investor    $       75,000.00   902‐298
  62           7834‐44 S Ellis Avenue                                Estate Property   Alan Rubin                                                     $            50,000.00    Investor‐Lender     $       50,000.00   62‐118
   1         1700‐08 Juneway Terrace                                 Estate Property   Alcalli Sabat                                                  $           109,396.68    Investor‐Lender                         1‐786
   4         5450‐52 S Indiana Avenue       118‐132 E Garfield       Estate Property   Alcalli Sabat                                                  $           109,396.68    Investor‐Lender                         4‐786
   5         7749‐59 S Yates Boulevard                               Estate Property   Alcalli Sabat                                                  $           109,396.68    Investor‐Lender                         5‐786

                                                                                                                                                                                                                                   Exhibit




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Property            Property Address                 Alternative Address               Type                                     Claimant Name                            Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                            Claim Category as           Form               Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
  58           5955 S Sacramento Avenue             2948‐56 W 60th Street      Estate Property   Alcalli Sabat                                                           $            109,396.68   Investor‐Lender                         58‐786

  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Alcalli Sabat                                                           $           109,396.68    Investor‐Lender                         59‐786

  75           7625‐33 S East End Avenue                                       Estate Property   Alcalli Sabat                                                           $           109,396.68    Investor‐Lender     $       22,993.00   75‐786
  79       6160‐6212 S Martin Luther King Drive                                Estate Property   Alcalli Sabat                                                           $           109,396.68    Investor‐Lender                         79‐786

   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   Alcalli Sabat                                                           $           109,396.68    Investor‐Lender                         90‐786
    9             8100 S Essex Avenue              2449‐57 East 81st Street    Estate Property   Alex Breslav                                                            $           247,000.00    Investor‐Lender     $       50,000.00   9‐262
   60           7026‐42 S Cornell Avenue                                       Estate Property   Alex Breslav                                                            $           247,000.00    Investor‐Lender     $       50,000.00   60‐262
  71              701‐13 S 5th Avenue                    414 Walnut            Estate Property   Alex Breslav                                                            $           247,000.00    Investor‐Lender     $       40,000.00   71‐262
  86           7442‐48 S Calumet Avenue                                        Estate Property   Alex Breslav                                                            $           247,000.00    Investor‐Lender     $       50,000.00   86‐262
  87              7508 S Essex Avenue               2453‐59 E 75th Street      Estate Property   Alex Breslav                                                            $           247,000.00    Investor‐Lender     $       57,000.00   87‐262
  82            6355‐59 S Talman Avenue             2616‐22 W 64th Street      Estate Property   ALICE HAN                                                               $            51,498.62    Investor‐Lender     $       50,000.00   82‐1353
  115            109 N Laramie Avenue                                          Former Property   Alison Schankman                                                        $            99,365.61    Investor‐Lender                         115‐2051
  117            3915 N Kimball Avenue                                         Former Property   Alison Schankman                                                        $            99,365.61    Investor‐Lender     $       25,000.00   117‐2051

  142            5209 W Warwick Avenue                                         Former Property   Alison Schankman                                                        $            99,365.61    Investor‐Lender     $       74,000.00   142‐2051
  116      1102 Bingham St, Houston TX 77007                                   Estate Property   Alton Motes                                                             $           245,841.62    Investor‐Lender     $       20,000.00   116‐2042
  140                 4528 S Michigan                                          Former Property   Alton Motes                                                             $           245,841.62    Investor‐Lender     $       14,583.00   140‐2042
   64           4611‐17 S Drexel Boulevard                                     Estate Property   Alton Motes (Alton P. Motes Revocable Trust Agreement dated 12‐15‐11)   $           245,841.62    Investor‐Lender     $       15,417.00   64‐2042
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   Alton Motes (Alton P. Motes Trust UTA 12‐15‐11)                         $           245,841.62    Investor‐Lender     $       43,000.00   77‐2042
   61           7237‐43 S Bennett Avenue                                       Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $           245,841.62    Investor‐Lender     $       35,000.00   61‐2042
   73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street      Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $           245,841.62    Investor‐Lender     $       60,000.00   73‐2042
   74             3074 Cheltenham Place              7836 S Shore Drive        Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $           245,841.62    Investor‐Lender     $       80,000.00   74‐2042
    1            1700‐08 Juneway Terrace                                       Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $       20,000.00   1‐879
    4            5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $       20,000.00   4‐879
    9               8100 S Essex Avenue            2449‐57 East 81st Street    Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $       50,000.00   9‐879
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $       54,271.00   59‐879
   71               701‐13 S 5th Avenue                  414 Walnut            Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $       20,000.00   71‐879
   85          7201‐07 S Dorchester Avenue            1401 E 72nd Street       Estate Property   Aluvelu Homes LLC                                                       $           169,271.00    Investor‐Lender     $        5,000.00   85‐879
  116      1102 Bingham St, Houston TX 77007                                   Estate Property   AMark Investment Trust                                                  $           699,490.82    Investor‐Lender     $      125,000.00   116‐710
  126         5201‐5207 W Washington Blvd                                      Former Property   AMark Investment Trust                                                  $           699,490.82    Investor‐Lender     $      375,000.00   126‐710
  116      1102 Bingham St, Houston TX 77007                                   Estate Property   American Estate & Trust, LC FBO Bruce Klingman's IRA                    $            72,333.33    Investor‐Lender     $       63,033.00   116‐199
    1            1700‐08 Juneway Terrace                                       Estate Property   American Estate and Trust FBO Layne Jones IRA                           $            20,699.99    Investor‐Lender     $       20,000.00   1‐707
    5           7749‐59 S Yates Boulevard                                      Estate Property   American Estate and Trust, LC FBO Edward J. Netzel IRA                  $            10,000.00    Investor‐Lender     $       10,000.00   5‐1057
  N/A                       N/A                                                Other             American Express                                                        $            54,472.25         Other                              440
    2           4533‐47 S Calumet Avenue                                       Estate Property   Amit Hammer                                                             $           295,980.00    Investor‐Lender     $      100,000.00   2‐225
    5           7749‐59 S Yates Boulevard                                      Estate Property   Amit Hammer                                                             $           295,980.00    Investor‐Lender     $       30,000.00   5‐225
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street      Estate Property   Amit Hammer                                                             $           295,980.00    Investor‐Lender     $       10,000.00   69‐225
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Amit Hammer                                                             $           295,980.00    Investor‐Lender     $       50,000.00   79‐225
   95             8201 S Kingston Avenue                                       Estate Property   Amit Hammer                                                             $           295,980.00    Investor‐Lender     $       50,000.00   95‐225
  124             6801 S East End Avenue                                       Former Property   Anant Topiwala                                                          $            52,517.48    Investor‐Lender     $       50,000.00   124‐1369




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Property            Property Address               Alternative Address            Type                                    Claimant Name                    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                       Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                              Claim Category as           Form               Property
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
  116      1102 Bingham St, Houston TX 77007                              Estate Property   Anatoly B. Naritsin                                            $             55,417.00   Investor‐Lender     $       50,000.00   116‐2077

13 to 15                  CCF2                                            Fund              Anatoly B. Naritsin                                            $            56,987.14     Equity Investor    $       55,417.00   13‐2078
   71             701‐13 S 5th Avenue                 414 Walnut          Estate Property   Andrew Matviishin                                              $            64,600.00    Investor‐Lender     $       55,000.00   71‐1261
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Anjie Comer                                                    $            25,000.00     Equity Investor                        4‐612
   87             7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property   Anjie Comer                                                    $            25,000.00     Equity Investor                        87‐612
    2          4533‐47 S Calumet Avenue                                   Estate Property   Annie Chang                                                    $           246,935.34    Investor‐Lender     $       50,000.00   2‐475
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Annie Chang                                                    $           246,935.34    Investor‐Lender     $       15,000.00   4‐475
    6          6437‐41 S Kenwood Avenue                                   Estate Property   Annie Chang                                                    $           246,935.34    Investor‐Lender     $       15,500.00   6‐475
   60           7026‐42 S Cornell Avenue                                  Estate Property   Annie Chang                                                    $           246,935.34    Investor‐Lender     $        3,500.00   60‐475
   61           7237‐43 S Bennett Avenue                                  Estate Property   Annie Chang                                                    $           246,935.34    Investor‐Lender     $        7,921.00   61‐475

  64           4611‐17 S Drexel Boulevard                                 Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       35,459.00   64‐475
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       50,000.00   69‐475
  71               701‐13 S 5th Avenue                 414 Walnut         Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       50,000.00   71‐475
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       16,882.00   82‐475
  84             7051 S Bennett Avenue                                    Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $        2,618.00   84‐475
  88           7546‐48 S Saginaw Avenue                                   Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       63,000.00   88‐475
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $        5,000.00   89‐475
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $       28,000.00   92‐475
  904          SSDF4 (Legacy Fund SSDF4)                                  Fund              Annie Chang                                                    $           246,935.34 Investor‐Lender and    $       50,000.00   904‐475
                                                                                                                                                                                     Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Annie Chang                                                    $           246,935.34   Investor‐Lender      $        6,620.00   96‐475

  68           6217‐27 S Dorchester Avenue                                Estate Property   Annmarie Shuster                                               $            47,000.00    Investor‐Lender     $       47,000.00   68‐387
  80               2736‐44 W 64th Street                                  Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $           155,000.00    Investor‐Lender     $       20,000.00   80‐2005
  92              7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $           155,000.00    Investor‐Lender     $       30,000.00   92‐2005
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $           155,000.00    Investor‐Lender     $      105,000.00   96‐2005
  56                8209 S Ellis Avenue                                   Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                           $           176,122.67    Investor‐Lender     $      115,000.00   56‐446
  80               2736‐44 W 64th Street                                  Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                           $           176,122.67    Investor‐Lender     $       10,000.00   80‐446
  116       1102 Bingham St, Houston TX 77007                             Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                           $           176,122.67    Investor‐Lender     $       50,000.00   116‐446
  68           6217‐27 S Dorchester Avenue                                Estate Property   Arman Kale Heaton, Natoshia Lamborn Heaton                     $            52,416.68    Investor‐Lender     $       50,000.00   68‐1171
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Armoogam, Clifton                                              $            29,940.00    Investor‐Lender     $       21,500.00   79‐2006
  904                      SSDF4                                          Fund              Arnold Kunio Kameda (Roth IRA via iPlan Group)                 $            50,000.00     Equity Investor    $       50,000.00   904‐793
   4             5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $       50,000.00   4‐890
  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street   Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $        7,552.00   59‐890
   76           7635‐43 S East End Avenue                                 Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      217,448.00   76‐890
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      100,000.00   77‐890
  78             7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      100,000.00   78‐890
   80              2736‐44 W 64th Street                                  Estate Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      100,000.00   80‐890
  115              109 N Laramie Avenue                                   Former Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $       50,000.00   115‐890
  122           7616‐7624 S Phillips Avenue                               Former Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      150,000.00   122‐890
  126         5201‐5207 W Washington Blvd                                 Former Property   Arthur and Dinah Bertrand                                      $         1,000,000.00    Investor‐Lender     $      225,000.00   126‐890




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                                                                                                        Master Claims List


Property            Property Address               Alternative Address               Type                                     Claimant Name                      Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                             Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                    Claim Category as           Form               Property
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
  58           5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   Arthur Bertrand                                                   $             78,079.82   Investor‐Lender     $        4,825.00   58‐892


   76          7635‐43 S East End Avenue                                     Estate Property   Arthur Bertrand                                                   $            78,079.82    Investor‐Lender     $        2,875.00   76‐892
   86          7442‐48 S Calumet Avenue                                      Estate Property   Arthur Bertrand                                                   $            78,079.82    Investor‐Lender     $       50,000.00   86‐892
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Arthur Bertrand                                                   $            78,079.82    Investor‐Lender     $       17,300.00   89‐892
  110       5618‐20 S Martin Luther King Drive                               Estate Property   Arthur Bertrand                                                   $            78,079.82    Investor‐Lender     $       50,000.00   110‐892
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Arvind Kinjarapu                                                  $           145,500.00    Investor‐Lender     $       35,000.00   79‐1161
   95            8201 S Kingston Avenue                                      Estate Property   Arvind Kinjarapu                                                  $           145,500.00    Investor‐Lender     $      100,000.00   95‐1161
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Arvind Kinjarapu                                                  $           145,500.00    Investor‐Lender     $       10,500.00   96‐1161
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Aryeh (Judah) Smith                                               $            50,000.00    Investor‐Lender     $       50,000.00   89‐430
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Asbury R. Lockett                                                 $           100,000.00     Equity Investor    $      100,000.00   63‐210
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Asbury R. Lockett                                                                           Investor‐Lender     $      100,000.00   96‐210
  56                8209 S Ellis Avenue                                      Estate Property   Ashwin D Patel                                                    $           100,000.00    Investor‐Lender     $      100,000.00   56‐1170
   1            1700‐08 Juneway Terrace                                      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       15,000.00   1‐503
   3             5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Asians Investing In Real Estate LLC                               $           415,000.00     Equity Investor    $       95,000.00   3‐503
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       70,000.00   6‐503
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       60,000.00   9‐503
  59          6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       60,000.00   59‐503
   60           7026‐42 S Cornell Avenue                                     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       69,402.00   60‐503
  62              7834‐44 S Ellis Avenue                                     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       65,000.00   62‐503
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Asians Investing In Real Estate LLC                               $           415,000.00     Equity Investor    $      160,000.00   63‐503
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       50,000.00   69‐503
  73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       60,000.00   73‐503
  75           7625‐33 S East End Avenue                                     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       50,000.00   75‐503
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       25,000.00   79‐503

  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       60,000.00   85‐503
  87              7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       55,000.00   87‐503


   88          7546‐48 S Saginaw Avenue                                      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $      115,000.00   88‐503
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       50,000.00   89‐503
   92           7748‐52 S Essex Avenue             2450‐52 E 78th Street     Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $      130,000.00   92‐503
  100        11117‐11119 S Longwood Drive                                    Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $      150,000.00   100‐503
  122         7616‐7624 S Phillips Avenue                                    Former Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       50,000.00   122‐503
  124           6801 S East End Avenue                                       Former Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $       25,000.00   124‐503
10 to 12                  CCF1                                               Fund              Asians Investing In Real Estate LLC                               $           415,000.00     Equity Investor    $      100,000.00   10‐503

102‐106          7927‐49 S Essex Avenue                                      Estate Property   Asians Investing In Real Estate LLC                               $         1,278,402.00    Investor‐Lender     $      119,000.00   102‐503
13 to 15                  CCF2                                               Fund              Asians Investing In Real Estate LLC                               $           415,000.00     Equity Investor    $       60,000.00   13‐503
    5           7749‐59 S Yates Boulevard                                    Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company,   $            77,520.06    Investor‐Lender     $       25,000.00   5‐1178
   81          4317‐19 S Michigan Avenue                                     Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company,   $            77,520.06    Investor‐Lender     $       19,000.00   81‐1178
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company,   $            77,520.06    Investor‐Lender     $       31,000.00   92‐1178



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Property            Property Address               Alternative Address               Type                                   Claimant Name                             Claimed Amount (Total Claim Category as         Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in     Identified on Claim       be Invested in
                                                                                                                                                                         Claim Category as           Form                 Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
   7            7109‐19 S Calumet Avenue                                     Estate Property   B & H Creative Investments LLC                                         $            428,533.00   Investor‐Lender       $      220,000.00   7‐414

  122          7616‐7624 S Phillips Avenue                                   Former Property   B & H Creative Investments LLC                                         $           428,533.00     Investor‐Lender      $      100,000.00   122‐414
  904                     SSDF4                                              Fund              B & H Creative Investments LLC                                         $           428,533.00      Equity Investor                         904‐414
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        4‐2008
   5            7749‐59 S Yates Boulevard                                    Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        5‐2008
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        6‐2008
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        9‐2008
                                                                                                                                                                                                  Equity Investor
   60           7026‐42 S Cornell Avenue                                     Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        60‐2008
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        64‐2008
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        68‐2008
   94           816‐20 E Marquette Road                                      Estate Property   Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        94‐2008
  904              LEGACY FUND SSDF 4                                        Fund              Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        904‐2008
13 to 15                   CCF2                                              Fund              Bancroft, Ed                                                           $           258,060.00   Investor‐Lender and                        13‐2008
  123           7107‐29 S Bennett Avenue                                     Former Property   Bancroft, Ed                                                           $           258,060.00     Investor‐Lender      $       10,000.00   123‐2008
  124            6801 S East End Avenue                                      Former Property   Bancroft, Ed (iPLanGroup Agent Ed Bancroft Roth)                       $            66,007.00     Investor‐Lender      $       20,800.00   124‐2008
   61           7237‐43 S Bennett Avenue                                     Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        61‐2008
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        71‐2008
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        77‐2008
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        78‐2008
   83            6356 S California Avenue           2804 W 64th Street       Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        83‐2008
   86          7442‐48 S Calumet Avenue                                      Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)     $           258,060.00   Investor‐Lender and                        86‐2008
  120            7823‐27 S Essex Avenue                                      Former Property   Bancroft, Ed A                                                         $           258,060.00     Investor‐Lender      $       75,000.00   120‐2008
   84             7051 S Bennett Avenue                                      Estate Property   Barbara Burton                                                         $            99,000.00     Investor‐Lender      $       99,000.00   84‐2069
    2          4533‐47 S Calumet Avenue                                      Estate Property   Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi,   $           406,000.00     Investor‐Lender                          2‐1347
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi,   $           406,000.00     Investor‐Lender      $      106,000.00   69‐1347
10 to 12                   CCF1                                              Fund              Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi,   $           406,000.00      Equity Investor     $      300,000.00   10‐1347
    2          4533‐47 S Calumet Avenue                                      Estate Property   Bauer Latoza Studio, Ltd.                                              $            30,525.00      Trade Creditor      $        3,075.00   2‐885
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Bauer Latoza Studio, Ltd.                                              $            30,525.00      Trade Creditor      $      274,500.00   79‐885
   74             3074 Cheltenham Place             7836 S Shore Drive       Estate Property   BC57, LLC                                                              $         6,439,502.67   Institutional Lender                       74‐557
   75          7625‐33 S East End Avenue                                     Estate Property   BC57, LLC                                                              $         6,439,502.67   Institutional Lender                       75‐557
   76          7635‐43 S East End Avenue                                     Estate Property   BC57, LLC                                                              $         6,439,502.67   Institutional Lender                       76‐557
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   BC57, LLC                                                              $         6,439,502.67   Institutional Lender                       77‐557
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   BC57, LLC                                                              $         6,439,502.67   Institutional Lender                       78‐557
   61           7237‐43 S Bennett Avenue                                     Estate Property   BCL Associates, LLC                                                    $            10,266.66     Investor‐Lender      $       50,000.00   61‐477
  120            7823‐27 S Essex Avenue                                      Former Property   Bedford, Bert and Sadie                                                $            45,477.28     Investor‐Lender      $       46,131.00   120‐2009
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Benjamin J Serebin                                                     $           289,736.11      Equity Investor     $      300,000.00   3‐1288
13 to 15                   CCF2                                              Fund              Benjamin J Serebin                                                     $           289,736.11      Equity Investor     $      150,000.00   13‐1288
  123           7107‐29 S Bennett Avenue                                     Former Property   Bernadette Chen (Eleven St Felix St. Realty                            $         1,000,000.00      Equity Investor     $       50,000.00   123‐2012
  124            6801 S East End Avenue                                      Former Property   Bernadette Chen (Eleven St Felix St. Realty                            $         1,000,000.00      Equity Investor     $       31,619.00   124‐2012
    2          4533‐47 S Calumet Avenue                                      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $         1,000,000.00      Equity Investor     $       50,000.00   2‐2012
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                           $         1,000,000.00      Equity Investor     $      300,000.00   3‐2012




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Property            Property Address               Alternative Address               Type                                     Claimant Name                         Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                       Claim Category as           Form               Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                          $         1,000,000.00   Equity Investor     $       50,000.00   4‐2012

    8              1414 East 62nd Place                                      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   8‐2012
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       31,619.00   9‐2012
   49         7300‐04 St Lawrence Avenue                                     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   49‐2012
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   64‐2012
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   69‐2012
   70            638‐40 N Avers Avenue                                       Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $      100,000.00   70‐2012
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $      100,000.00   79‐2012
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   87‐2012
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   88‐2012
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       68,381.00   89‐2012
  904                     SSDF4                                              Fund              Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   904‐2012
10 to 12                   CCF1                                              Fund              Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   10‐2012
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   102‐‐2012
13 to 15                   CCF2                                              Fund              Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   13‐2012
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                         $         1,000,000.00     Equity Investor    $       50,000.00   96‐2012
   84            7051 S Bennett Avenue                                       Estate Property   Best Capital Funding Inc                                             $            28,000.00    Investor‐Lender     $       25,000.00   84‐1257
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   BETH DENTON (Elisabeth Denton)                                       $            51,751.49    Investor‐Lender     $       50,000.00   87‐614
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   BETH DENTON (IRA Services Trust Company CFBO Beth Denton)            $            20,699.99    Investor‐Lender     $       20,000.00   87‐650
   94           816‐20 E Marquette Road                                      Estate Property   Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize IRA   $            38,000.00    Investor‐Lender     $       38,000.00   94‐615
   40           7953 S Woodlawn Avenue                                       Estate Property   Blessing Strategies, LLC                                             $            29,784.00    Investor‐Lender     $       12,500.00   40‐353

  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Blessing Strategies, LLC                                             $            29,784.00    Investor‐Lender     $        7,000.00   92‐353

  123          7107‐29 S Bennett Avenue                                      Former Property   Blessing Strategies, LLC                                             $            29,784.00   Investor‐Lender      $       22,282.00   123‐353
  904                     SSDF4                                              Fund              Blessing Strategies, LLC                                             $            29,784.00    Equity Investor     $        7,000.00   904‐353
13 to 15                  CCF2                                               Fund              BLT Florida, LLC                                                     $           100,000.00   Investor‐Lender      $      100,000.00   13‐1384
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $           463,999.95   Investor‐Lender      $      150,000.00   4‐491
   68         6217‐27 S Dorchester Avenue                                    Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $           463,999.95   Investor‐Lender      $       84,255.00   68‐491
  100        11117‐11119 S Longwood Drive                                    Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $           463,999.95   Investor‐Lender      $      100,000.00   100‐491
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $           463,999.95   Investor‐Lender      $       65,745.00   96‐491
    2          4533‐47 S Calumet Avenue                                      Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $      100,000.00   2‐727
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $      100,000.00   4‐727
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $      150,000.00   64‐727
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $       77,177.00   71‐727
   86          7442‐48 S Calumet Avenue                                      Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $      290,000.00   86‐727
  124            6801 S East End Avenue                                      Former Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $      100,000.00   124‐727
 96‐99            8326‐50 S Ellis Avenue                                     Estate Property   Bluebridge Partners Limited                                          $           791,620.17   Investor‐Lender      $       73,971.00   96‐727
    2          4533‐47 S Calumet Avenue                                      Estate Property   BMO Harris Bank N.A.                                                 $         1,719,582.97 Institutional Lender                       2‐1063
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Bolanle Addo (Madison Trust Company Custodian FBO Bolanle Addo)      $            50,000.00   Investor‐Lender      $       50,000.00   73‐181

  86            7442‐48 S Calumet Avenue                                     Estate Property   Bonaparte Properties LLC                                             $            25,000.00    Investor‐Lender     $       25,000.00   86‐1148




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Property            Property Address               Alternative Address               Type                                   Claimant Name                         Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                              Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                     Claim Category as           Form               Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bonnie Young                                                       $             65,333.41   Investor‐Lender     $       50,000.00   4‐1223

   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   Brad and Linda Lutz                                                $           813,582.00    Investor‐Lender     $       67,876.00   59‐962
   75          7625‐33 S East End Avenue                                     Estate Property   Brad and Linda Lutz                                                $           813,582.00    Investor‐Lender     $      325,962.00   75‐962
  115             109 N Laramie Avenue                                       Former Property   Brad and Linda Lutz                                                $           813,582.00    Investor‐Lender     $       39,663.00   115‐962
  123           7107‐29 S Bennett Avenue                                     Former Property   Brad and Linda Lutz                                                $           813,582.00    Investor‐Lender     $      339,414.00   123‐962
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Brad and Linda Lutz                                                $           813,582.00    Investor‐Lender     $        5,000.00   96‐962
  62              7834‐44 S Ellis Avenue                                     Estate Property   Braden Galloway                                                    $           227,800.02    Investor‐Lender                         62‐1463
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Braden Galloway                                                    $           227,800.02    Investor‐Lender                         64‐1463
  100        11117‐11119 S Longwood Drive                                    Estate Property   Braden Galloway                                                    $           227,800.02    Investor‐Lender                         100‐1463
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Brett Burnham (Burnham 401k Trust)                                 $           215,335.54    Investor‐Lender     $        8,000.00   79‐314
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   Brett Burnham (Burnham 401k Trust)                                 $           215,335.54    Investor‐Lender     $        5,000.00   112‐314
  904                     SSDF4                                              Fund              Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,334.00    Investor‐Lender                         904‐314
    2          4533‐47 S Calumet Avenue                                      Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender     $       80,000.00   2‐314
   60           7026‐42 S Cornell Avenue                                     Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender     $       30,000.00   60‐314
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender     $       25,000.00   82‐314
  93           7953‐59 S Marquette Road           2708‐10 E 80th Street      Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender     $       25,000.00   93‐314
  115             109 N Laramie Avenue                                       Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender                         115‐314

  124            6801 S East End Avenue                                      Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender     $        5,000.00   124‐314

  133            4109 N Kimball Avenue                                       Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $           215,335.54    Investor‐Lender                         133‐314
  904                      SSDF4                                             Fund              Brian and Kim Mouty                                                $            50,000.00     Equity Investor    $       50,000.00   904‐299
  110       5618‐20 S Martin Luther King Drive                               Estate Property   Brian Shea                                                         $           122,256.00    Investor‐Lender     $       26,500.00   110‐1264
  118             400 S Kilbourn Avenue                                      Former Property   Brian Shea                                                         $           122,256.00    Investor‐Lender     $       63,000.00   118‐1264
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Brian Whalley                                                      $            25,000.00    Investor‐Lender     $       25,000.00   9‐256
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Bright Venture, LLC                                                $           231,142.74     Equity Investor    $       50,000.00   3‐84
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Bright Venture, LLC                                                $            41,928.77    Investor‐Lender     $       40,000.00   4‐84
   72           7024‐32 S Paxton Avenue                                      Estate Property   Bright Venture, LLC                                                $            41,928.77    Investor‐Lender     $       25,000.00   72‐84
10 to 12        7301‐09 S Stewart Avenue                                     Fund              Bright Venture, LLC                                                $           231,142.74     Equity Investor    $       52,500.00   10‐84
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Bright Venture, LLC                                                $           231,142.74     Equity Investor    $       70,000.00   102‐84
 13‐15            2909‐19 E 78th Street                                      Fund              Bright Venture, LLC                                                $           231,142.74     Equity Investor    $       50,000.00   13‐84
                 7549‐59 S Essex Avenue
  123          7107‐29 S Bennett Avenue                                      Former Property   Brion Conklin                                                      $            65,421.00    Investor‐Lender     $      116,531.00   123‐601
  100        11117‐11119 S Longwood Drive                                    Estate Property   Brook & Sarah Swientisky; J&S Investment, LLC                      $           134,400.01     Equity Investor    $       50,000.00   100‐568
  904                      SSDF4                                             Fund              Brook & Sarah Swientisky; J&S Investment, LLC                      $           134,400.01     Equity Investor    $       80,000.00   904‐568
  100        11117‐11119 S Longwood Drive                                    Estate Property   Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $           115,000.00    Investor‐Lender     $       50,000.00   100‐137
10 to 12                   CCF1                                              Fund              Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $           115,000.00    Investor‐Lender     $       25,000.00   10‐137

13 to 15                 CCF2                                                Fund              Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $           115,000.00    Investor‐Lender     $       40,000.00   13‐137
    3           5001 S Drexel Boulevard              909 E 50th Street       Estate Property   Bryan Corey Purkis , Trustee Vivant Ventures Trust                 $           179,250.00     Equity Investor    $      150,000.00   3‐1413
   61          7237‐43 S Bennett Avenue                                      Estate Property   BTRUE LLC Barry J. Oates                                           $            93,600.00     Equity Investor    $        5,200.00   61‐669
   74           3074 Cheltenham Place               7836 S Shore Drive       Estate Property   BTRUE LLC Barry J. Oates                                           $            93,600.00     Equity Investor    $       38,400.00   74‐669
  100        11117‐11119 S Longwood Drive                                    Estate Property   BTRUE LLC Barry J. Oates                                           $            93,600.00     Equity Investor    $       50,000.00   100‐669



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                                                                                           Master Claims List


Property        Property Address          Alternative Address            Type                                    Claimant Name                           Claimed Amount (Total Claim Category as        Amount Claimed to     Claim Number
Number                                                                                                                                                     Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                            Claim Category as             Form              Property
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
  N/A                  N/A                                       Other             Buildout Inc.                                                          $              1,200.00     Independent                            240
  901                 SSDF1                                      Fund              Cadaval Investment Trust FBO Dana Cadaval Solo 401k                   $             50,000.00     Equity Investor    $       50,000.00    901‐1242
  901                 SSDF1                                      Fund              Cadaval Investment Trust FBO Manuel Cadaval Solo 401k                 $            100,000.00     Equity Investor    $      100,000.00    901‐1236
  N/A                  N/A                                       Other             Cagan Management Group, Inc.                                           $         1,000,000.00         Other                               856
  70         638‐40 N Avers Avenue                               Estate Property   CAMA SDIRA LLC FBO Robert Guiney IRA                                  $            104,314.46    Investor‐Lender     $       40,579.00    70‐1116
  123       7107‐29 S Bennett Avenue                             Former Property   CAMA SDIRA LLC FBO Robert Guiney IRA                                  $            104,314.46    Investor‐Lender     $       51,913.00    123‐1116

   5        7749‐59 S Yates Boulevard                            Estate Property   Camano Equities, LLC (Markley, Charles)                               $            46,254.22    Investor‐Lender      $       50,000.00    5‐2038
   1         1700‐08 Juneway Terrace                             Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $      250,000.00    1‐1490
  3           5001 S Drexel Boulevard      909 E 50th Street     Estate Property   Capital Investors, LLC                                                $         1,856,942.46     Equity Investor     $      295,000.00    3‐1490
  58        5955 S Sacramento Avenue     2948‐56 W 60th Street   Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $       50,000.00    58‐1490
  60         7026‐42 S Cornell Avenue                            Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $      379,479.00    60‐1490

   75      7625‐33 S East End Avenue                             Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $        36,207.00   75‐1490
   81      4317‐19 S Michigan Avenue                             Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $       113,793.00   81‐1490
   83        6356 S California Avenue     2804 W 64th Street     Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $       250,021.00   83‐1490
   93       7953‐59 S Marquette Road     2708‐10 E 80th Street   Estate Property   Capital Investors, LLC                                                $           930,376.31    Investor‐Lender      $        50,000.00   93‐1490
  101        6949‐59 S Merrill Avenue                            Estate Property   Capital Investors, LLC (6951 S. Merrill Fund I LLC)                   $         1,856,942.46     Equity Investor     $     1,550,000.00   101‐1490
   87           7508 S Essex Avenue      2453‐59 E 75th Street   Estate Property   Capital Liability Investments, LLC                                    $            55,025.00    Investor‐Lender      $        55,000.00   87‐186
  901                   SSDF1                                    Fund              Capital Liability Investments, LLC                                    $            55,025.00     Equity Investor     $        55,000.00   901‐186
    6      6437‐31 S Kenwood Avenue                              Estate Property   Captain Jack, LLC c/o John McDevitt                                   $            95,000.00     Equity Investor     $        75,000.00   6‐2091
10 to 12                CCF1                                     Fund              Captain Jack, LLC c/o John McDevitt                                   $            95,000.00     Equity Investor     $        20,000.00   10‐2091
   76      7635‐43 S East End Avenue                             Estate Property   Carolyn B Ucker                                                       $            50,000.00     Equity Investor     $        25,000.00   76‐1099
  118          400 S Kilbourn Avenue                             Former Property   Carolyn B Ucker                                                       $            50,000.00     Equity Investor     $        25,000.00   118‐1099
  122      7616‐7624 S Phillips Avenue                           Former Property   CCF2                                                                  $         1,000,000.00     Equity Investor     $        50,000.00   122‐2012
    2       4533‐47 S Calumet Avenue                             Estate Property   Cecilia Wolff                                                         $            73,887.50    Investor‐Lender                           2‐1204
   76      7635‐43 S East End Avenue                             Estate Property   Cecilia Wolff                                                         $            73,887.50    Investor‐Lender      $       25,000.00    76‐1204
   88       7546‐48 S Saginaw Avenue                             Estate Property   Cecilia Wolff                                                         $            73,887.50    Investor‐Lender                           88‐1204
   92         7748‐52 S Essex Avenue     2450‐52 E 78th Street   Estate Property   Cecilia Wolff                                                         $            73,887.50    Investor‐Lender                           92‐1204
   78       7201 S Constance Avenue      1825‐31 E 72nd Street   Estate Property   Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)     $            73,887.50    Investor‐Lender                           78‐1204
  118          400 S Kilbourn Avenue                             Former Property   Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)     $            73,887.50    Investor‐Lender                           118‐1204

  22         7933 S Kingston Avenue                              Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011             $            27,565.00     Equity Investor     $       20,000.00    22‐287
  40        7953 S Woodlawn Avenue                               Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011             $            28,741.00    Investor‐Lender      $        2,770.00    40‐287
  77       7750‐58 S Muskegon Avenue     2818‐36 E 78th Street   Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011                                       Investor‐Lender      $       25,000.00    77‐287
  115         109 N Laramie Avenue                               Former Property   Celia Tong Revocable Living Trust Dated December 22, 2011                                       Investor‐Lender      $        2,065.00    115‐287

  904                SSDF4                                       Fund              Celia Tong Revocable Living Trust Dated December 22, 2011             $            27,565.00     Equity Investor     $       27,565.00    904‐287

  111          6558 S Vernon Avenue       416‐24 E 66th Street   Estate Property   Chad R Brown                                                          $            42,051.58    Investor‐Lender      $      170,000.00    111‐294
 96‐99         8326‐58 S Ellis Avenue                            Estate Property   Charles Michael Edward Fowler (iPlanGroup Agent for Custodian FBO C   $            63,007.00    Investor‐Lender      $       63,007.00    96‐69
   5         7749‐59 S Yates Boulevard                           Estate Property   Charles P McEvoy                                                      $           438,733.33    Investor‐Lender      $      100,000.00    5‐232
   6        6437‐41 S Kenwood Avenue                             Estate Property   Charles P McEvoy                                                      $           438,733.33    Investor‐Lender      $      112,000.00    6‐232
   68      6217‐27 S Dorchester Avenue                           Estate Property   Charles P McEvoy                                                      $           438,733.33    Investor‐Lender      $      150,000.00    68‐232



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Property            Property Address               Alternative Address               Type                                   Claimant Name                                Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                                            Claim Category as             Form              Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
   71             701‐13 S 5th Avenue                  414 Walnut            Estate Property   Charles P McEvoy                                                          $            438,733.33    Investor‐Lender     $       20,000.00   71‐232
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Charles P McEvoy                                                          $            438,733.33    Investor‐Lender     $       30,000.00   82‐232
    2          4533‐47 S Calumet Avenue                                      Estate Property   Charles Savona                                                            $             37,145.83    Investor‐Lender     $       50,000.00   2‐2050
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Charles Smith                                                             $            350,000.00    Investor‐Lender     $      350,000.00   79‐1186
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Charlotte A Hofer                                                         $            370,000.00    Investor‐Lender     $       35,000.00   6‐603
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Charlotte A Hofer                                                         $            370,000.00    Investor‐Lender     $      110,000.00   9‐603
   71             701‐13 S 5th Avenue                   414 Walnut           Estate Property   Charlotte A Hofer                                                         $            370,000.00    Investor‐Lender     $      110,000.00   71‐603
   87             7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Charlotte A Hofer                                                         $            370,000.00    Investor‐Lender     $       50,000.00   87‐603
  904          SSDF4 (Legacy Fund SSDF4)                                     Fund              Charlotte A Hofer                                                         $            370,000.00     Equity Investor                        904‐603
  100        11117‐11119 S Longwood Drive                                    Estate Property   Chestnut Capital LLC                                                      $            138,047.00    Investor‐Lender     $       50,000.00   100‐1460
  123           7107‐29 S Bennett Avenue                                     Former Property   Chestnut Capital LLC                                                      $            138,047.00    Investor‐Lender     $      219,465.00   123‐1460
13 to 15                  CCF2                                               Fund              Chestnut Capital LLC                                                      $             60,000.00     Equity Investor    $       60,000.00   13‐1460
  N/A                      N/A                                               Other             Chicago Real Estate Resources                                              $              5,950.00     Independent                           1449
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Chittima Cook and Pinsurang Tinakorn                                      $             51,874.56    Investor‐Lender     $       50,000.00   9‐493
  123           7107‐29 S Bennett Avenue                                     Former Property   Christine A. Styczynski                                                   $             42,033.00    Investor‐Lender     $       42,033.00   123‐373
   60           7026‐42 S Cornell Avenue                                     Estate Property   Christine Hethcock                                                        $             41,500.00    Investor‐Lender     $       40,000.00   60‐1300
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Christopher Bridges                                                       $             42,403.13    Investor‐Lender     $       25,000.00   9‐1129


  93            7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property   Christopher Maher Beneficiary IRA                                         $            16,500.00    Investor‐Lender      $       16,500.00   93‐2079
  67               1131‐41 E 79th Place                                      Estate Property   Christopher Pong                                                          $            17,287.05     Equity Investor     $       17,251.00   67‐760
  74              3074 Cheltenham Place             7836 S Shore Drive       Estate Property   Christopher Pong                                                          $            30,140.90    Investor‐Lender      $       29,280.00   74‐760
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Christopher Wilson and Brittny Wilson (Niosi)                             $            52,000.00    Investor‐Lender      $       50,000.00   77‐807
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Chronicles Point LLC/Gustavo J Garcia                                     $            50,000.00    Investor‐Lender      $       50,000.00   9‐159
  1              1700‐08 Juneway Terrace                                     Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                       $           200,000.00    Investor‐Lender      $       25,000.00   1‐379
  2             4533‐47 S Calumet Avenue                                     Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                       $           200,000.00    Investor‐Lender      $      100,000.00   2‐379

  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                       $           200,000.00   Investor‐Lender       $       25,000.00   59‐379
  60            7026‐42 S Cornell Avenue                                     Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                       $           200,000.00   Investor‐Lender       $       50,000.00   60‐379
  118            400 S Kilbourn Avenue                                       Former Property   Chukwuemeka Ezeume                                                        $           178,625.00   Investor‐Lender       $      150,000.00   118‐211
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Cindy L. Chambers                                                         $            33,337.00   Investor‐Lender       $       33,337.00   63‐85
  64           4611‐17 S Drexel Boulevard                                    Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo      $         3,697,340.98 Institutional Lender                        64‐1325
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo      $         1,954,113.57 Institutional Lender                        68‐1278
  69             6250 S Mozart Avenue             2832‐36 W 63rd Street      Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo      $         1,461,176.83 Institutional Lender                        69‐1324
                                                                                               Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo      $         1,151,462.06 Institutional Lender                        73‐1326
   6           6437‐41 S Kenwood Avenue                                      Estate Property   City of Chicago                                                           $            78,479.20         Other           $        5,247.91   6‐693
   7           7109‐19 S Calumet Avenue                                      Estate Property   City of Chicago                                                           $            78,479.20         Other           $       13,153.44   7‐693
  26            8405 S Marquette Avenue                                      Estate Property   City of Chicago                                                           $            78,479.20         Other           $          413.84   26‐693
  44              8517 S Vernon Avenue                                       Estate Property   City of Chicago                                                           $            78,479.20         Other           $          841.94   44‐693
  46            9610 S Woodlawn Avenue                                       Estate Property   City of Chicago                                                           $            78,479.20         Other           $          431.13   46‐693

  49           7300‐04 St Lawrence Avenue                                    Estate Property   City of Chicago                                                           $            78,479.20         Other           $        1,182.83   49‐693
  50              7760 S Coles Avenue                                        Estate Property   City of Chicago                                                           $            78,479.20         Other           $          815.33   50‐693



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Property           Property Address                Alternative Address               Type                                   Claimant Name                         Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                              Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                     Claim Category as           Form               Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
   54           8000‐02 S Justine Street            1541 E 80th Street       Estate Property   City of Chicago                                                    $             78,479.20        Other          $        2,783.04   54‐693
   61         7237‐43 S Bennett Avenue                                       Estate Property   City of Chicago                                                    $             78,479.20        Other          $        5,906.05   61‐693
   73           7255‐57 S Euclid Avenue           1940‐44 E 73rd Street      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        1,647.65   73‐693
   74           3074 Cheltenham Place              7836 S Shore Drive        Estate Property   City of Chicago                                                    $             78,479.20        Other          $       10,812.42   74‐693
   75         7625‐33 S East End Avenue                                      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        1,895.90   75‐693
   76         7635‐43 S East End Avenue                                      Estate Property   City of Chicago                                                    $             78,479.20        Other          $          610.08   76‐693
   78          7201 S Constance Avenue            1825‐31 E 72nd Street      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        8,124.80   78‐693
   89         7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        1,542.97   89‐693
   90         7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   City of Chicago                                                    $             78,479.20        Other          $        2,000.32   90‐693
   92           7748‐52 S Essex Avenue            2450‐52 E 78th Street      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        2,097.70   92‐693
  110      5618‐20 S Martin Luther King Drive                                Estate Property   City of Chicago                                                    $             78,479.20        Other          $        4,527.80   110‐693
  115            109 N Laramie Avenue                                        Former Property   City of Chicago                                                    $             78,479.20        Other          $        1,715.34   115‐693
13 to 15         2909‐19 E 78th Street                                       Estate Property   City of Chicago                                                    $             78,479.20        Other          $        5,485.37   13‐693
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   City of Chicago                                                    $             78,479.20        Other          $        3,063.68   96‐693
    5         7749‐59 S Yates Boulevard                                      Estate Property   Clarice Recamara                                                   $             25,000.00   Investor‐Lender     $       25,000.00   5‐640
   64         4611‐17 S Drexel Boulevard                                     Estate Property   Clarice Recamara                                                   $             20,000.00   Investor‐Lender     $       20,000.00   64‐643
   61         7237‐43 S Bennett Avenue                                       Estate Property   Clark, Wilma                                                       $             20,266.67   Investor‐Lender     $       20,000.00   61‐2013

   56             8209 S Ellis Avenue                                        Estate Property   Claude M West , Linda S Gray, Desert Storm Properties Group, LLC   $           100,000.00    Investor‐Lender     $      100,000.00   56‐1281
  904         SSDF4 (Legacy Fund SSDF4)                                      Fund              Claude M West , Linda S Gray, Desert Storm Properties Group, LLC   $           100,000.00     Equity Investor    $      100,000.00   904‐1281
    1          1700‐08 Juneway Terrace                                       Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                             $           108,000.00      Independent       $       36,000.00   1‐1477
    9            8100 S Essex Avenue             2449‐57 East 81st Street    Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                             $           108,000.00      Independent       $       15,000.00   9‐1477
  101          6949‐59 S Merrill Avenue                                      Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                             $           108,000.00      Independent       $       57,000.00   101‐1477
    1          1700‐08 Juneway Terrace                                       Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       70,000.00   1‐1454
    2         4533‐47 S Calumet Avenue                                       Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       26,335.00   2‐1454
    4         5450‐52 S Indiana Avenue              118‐132 E Garfield       Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $        2,500.00   4‐1454
   55           8107‐09 S Ellis Avenue                                       Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       52,300.00   55‐1454
   77        7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       49,000.00   77‐1454
   78          7201 S Constance Avenue            1825‐31 E 72nd Street      Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $      131,000.00   78‐1454
   93         7953‐59 S Marquette Road                                       Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $        2,800.00   93‐1454
  101          6949‐59 S Merrill Avenue                                      Estate Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       91,000.00   101‐1454
  123         7107‐29 S Bennett Avenue                                       Former Property   CLD Construction, Inc. (Doru Unchias)                              $           434,935.00      Independent       $       10,000.00   123‐1454
    1          1700‐08 Juneway Terrace                                       Estate Property   Clearwood Funding, LLC                                             $           150,000.00    Investor‐Lender     $       50,000.00   1‐1276
    5         7749‐59 S Yates Boulevard                                      Estate Property   Clearwood Funding, LLC                                             $           150,000.00    Investor‐Lender     $       50,000.00   5‐1276
   85        7201‐07 S Dorchester Avenue           1401 E 72nd Street        Estate Property   Clearwood Funding, LLC                                             $           150,000.00    Investor‐Lender     $       50,000.00   85‐1276
    1          1700‐08 Juneway Terrace                                       Estate Property   CLOVE, LLC                                                         $            21,750.74    Investor‐Lender     $        5,000.00   1‐723
   71            701‐13 S 5th Avenue                   414 Walnut            Estate Property   CLOVE, LLC                                                         $            21,750.74    Investor‐Lender     $       15,900.00   71‐723
10 to 12      7301‐09 S Stewart Avenue                                       Fund              CLOVE, LLC                                                         $            23,920.01     Equity Investor    $       23,000.00   10‐723
  904         SSDF4 (Legacy Fund SSDF4)                                      Fund              CM Group, LLC Keith Cooper                                         $            75,000.00    Investor‐Lender     $       75,000.00   904‐1184

  68         6217‐27 S Dorchester Avenue                                     Estate Property   Conor Benson King                                                  $            15,000.00    Investor‐Lender     $       15,000.00   68‐1392

  73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street      Estate Property   Conrad Hanns                                                       $            50,000.00    Investor‐Lender     $       50,000.00   73‐504




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Property        Property Address          Alternative Address               Type                                     Claimant Name                Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                              Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                     Claim Category as           Form               Property
                                                                                                                                                    Identified on Claim
                                                                                                                                                           Form)
  N/A                  N/A                                          Other             Consilio, LLC                                               $             65,929.74        Other                              841

   3         5001 S Drexel Boulevard        909 E 50th Street       Estate Property   Consuelo V Needs‐Medical Dictation Services, Inc.           $            50,000.00    Investor‐Lender     $       50,000.00   3‐541

   1         1700‐08 Juneway Terrace                                Estate Property   Coppy Properties, LLC                                       $            50,000.00    Investor‐Lender     $       50,000.00   1‐1381

  N/A                  N/A                                          Other             Corporate Creations International, Inc.                     $            13,018.40         Other                              886

   6        6437‐41 S Kenwood Avenue                                Estate Property   Cosmopolitan Properties LLC, Valentina Salge, President     $           177,300.00    Investor‐Lender     $      150,000.00   6‐940
  87           7508 S Essex Avenue        2453‐59 E 75th Street     Estate Property   Cosmos Building Maintenance Solo 401K Trust Rolando Lopez   $            50,000.00    Investor‐Lender     $       50,000.00   87‐185

  91         7701‐03 S Essex Avenue                                 Estate Property   Covenant Funding LLC                                        $           386,250.00    Investor‐Lender     $      300,000.00   91‐364

   1         1700‐08 Juneway Terrace                                Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group        $            75,000.00    Investor‐Lender     $       50,000.00   1‐860

  83         6356 S California Avenue      2804 W 64th Street       Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group        $            75,000.00    Investor‐Lender     $       25,000.00   83‐860

 13‐15         2909‐19 E 78th Street                                Fund              Cynthia Love                                                $           104,250.01     Equity Investor    $      100,000.00   13‐132
  59       6001‐05 S Sacramento Avenue   2945‐51 W 60th Street      Estate Property   CZE Holdings LLC (Carl Johnson IRA)                         $           299,700.00    Investor‐Lender     $       50,000.00   59‐1117
  60         7026‐42 S Cornell Avenue                               Estate Property   CZE Holdings LLC (Carl Johnson IRA)                         $           299,700.00    Investor‐Lender     $       55,000.00   60‐1117

  904                 SSDF4                                         Fund              CZE Holdings LLC (Carl Johnson IRA)                         $           299,700.00    Investor‐Lender     $      194,700.00   904‐1117

  107        1422‐24 East 68th Street                               Estate Property   Dan Behm                                                    $            96,373.45    Investor‐Lender                         107‐816
  123       7107‐29 S Bennett Avenue                                Former Property   Dan Behm                                                    $            96,373.45    Investor‐Lender                         123‐816

   1         1700‐08 Juneway Terrace                                Estate Property   Dana Speed                                                  $           249,710.00    Investor‐Lender     $       40,000.00   1‐684

   5        7749‐59 S Yates Boulevard                               Estate Property   Dana Speed                                                  $           249,710.00    Investor‐Lender     $      169,000.00   5‐684

  60         7026‐42 S Cornell Avenue                               Estate Property   Dana Speed                                                  $           249,710.00    Investor‐Lender     $       31,000.00   60‐684

  906                 SSDF6                                         Fund              Dana Speed                                                  $           240,000.00    Equity Investor     $      240,000.00   906‐684

   9           8100 S Essex Avenue       2449‐57 East 81st Street   Estate Property   DANIEL J MARTINEAU                                          $           321,016.60    Investor‐Lender     $      125,750.00   9‐1299
  77       7750‐58 S Muskegon Avenue      2818‐36 E 78th Street     Estate Property   DANIEL J MARTINEAU                                          $           321,016.60    Investor‐Lender     $      100,000.00   77‐1299
  80          2736‐44 W 64th Street                                 Estate Property   DANIEL J MARTINEAU                                          $           321,016.60    Investor‐Lender     $       50,000.00   80‐1299

  82         6355‐59 S Talman Avenue     2616‐22 W 64th Street      Estate Property   DANIEL J MARTINEAU                                          $           321,016.60    Investor‐Lender     $       25,250.00   82‐1299

  87           7508 S Essex Avenue        2453‐59 E 75th Street     Estate Property   DANIEL J MARTINEAU                                          $           321,016.60    Investor‐Lender     $      110,000.00   87‐1299
  62          7834‐44 S Ellis Avenue                                Estate Property   Daniel Lewis & Deborah Lewis                                $            50,000.00    Investor‐Lender     $       50,000.00   62‐257

  60         7026‐42 S Cornell Avenue                               Estate Property   Daniel Matthews, Leah Matthews                              $           185,922.54    Investor‐Lender     $       22,812.00   60‐117

  74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property   Daniel Matthews, Leah Matthews                              $           185,922.54    Investor‐Lender     $       20,000.00   74‐117




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                                                                                                    Master Claims List


Property            Property Address              Alternative Address             Type                                   Claimant Name                        Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                          Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                 Claim Category as           Form               Property
                                                                                                                                                                Identified on Claim
                                                                                                                                                                       Form)
  76            7635‐43 S East End Avenue                                 Estate Property   Daniel Matthews, Leah Matthews                                    $            185,922.54   Investor‐Lender     $       72,029.00   76‐117

  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $       40,000.00   79‐117

   88           7546‐48 S Saginaw Avenue                                  Estate Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $       29,000.00   88‐117
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $       20,000.00   92‐117
  93            7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $       32,322.32   93‐117
  117             3915 N Kimball Avenue                                   Former Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $       47,184.00   117‐117

  158             5104 W Dakin Street                                     Former Property   Daniel Matthews, Leah Matthews                                    $           185,922.54    Investor‐Lender     $        7,635.77   158‐117
   1            1700‐08 Juneway Terrace                                   Estate Property   Danielle DeVarne                                                  $           150,000.00    Investor‐Lender     $       50,000.00   1‐679

  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   Danielle DeVarne                                                  $           150,000.00    Investor‐Lender     $       50,000.00   77‐679

 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Danielle DeVarne                                                  $           150,000.00    Investor‐Lender     $       50,000.00   96‐679

  67              1131‐41 E 79th Place                                    Estate Property   Danyel Tiefenbacher and Jamie Lai                                 $           103,875.01     Equity Investor    $       50,000.00   67‐646
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Danyel Tiefenbacher and Jamie Lai                                 $            51,750.99    Investor‐Lender     $       50,000.00   74‐510

  100        11117‐11119 S Longwood Drive                                 Estate Property   Danyel Tiefenbacher and Jamie Lai                                 $           103,875.01    Equity Investor     $       50,000.00   100‐646


102‐106          7927‐49 S Essex Avenue                                   Estate Property   David & Florybeth Stratton                                        $           150,000.00    Investor‐Lender     $      150,000.00   102‐588
  60            7026‐42 S Cornell Avenue                                  Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital   $            50,000.00    Investor‐Lender     $       50,000.00   60‐170
                                                                                            Management LLC

  64           4611‐17 S Drexel Boulevard                                 Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital   $           172,583.29    Investor‐Lender     $       50,000.00   64‐170
102‐106         7927‐49 S Essex Avenue                                    Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital   $           172,583.29    Investor‐Lender     $      100,000.00   102‐170
                                                                                            Management LLC

13 to 15                  CCF2                                            Fund              David Ashley Lawrence Johnson investing under Endurance Capital   $           117,000.04    Equity Investor     $      100,000.00   13‐170
                                                                                            Management LLC

  902              SSDF2 Holdco 3 LLC                                     Fund              David E. Chambers                                                 $            30,000.00    Investor‐Lender     $       30,000.00   902‐555
10 to 12                  CCF1                                            Fund              David E. Chambers                                                 $            50,000.00    Investor‐Lender     $       50,000.00   10‐553
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   DAVID G & LEANNE D RUESCH                                         $            52,666.68    Investor‐Lender     $       50,000.00   96‐384
    5           7749‐59 S Yates Boulevard                                 Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $      100,000.00   5‐267
    6          6437‐41 S Kenwood Avenue                                   Estate Property   David M Harris                                                    $           534,555.00     Equity Investor    $      200,000.00   6‐267
   64          4611‐17 S Drexel Boulevard                                 Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $      100,000.00   64‐267


  68          6217‐27 S Dorchester Avenue                                 Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $       48,145.00   68‐267
  72            7024‐32 S Paxton Avenue                                   Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $      100,000.00   72‐267
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $       96,000.00   79‐267
  87              7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property   David M Harris                                                    $           831,700.00    Investor‐Lender     $       53,000.00   87‐267
  100        11117‐11119 S Longwood Drive                                 Estate Property   David M Harris                                                    $           534,555.00     Equity Investor    $       32,700.00   100‐267



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Property            Property Address              Alternative Address             Type                                 Claimant Name   Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                   Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                          Claim Category as            Form              Property
                                                                                                                                         Identified on Claim
                                                                                                                                                Form)
102‐106          7927‐49 S Essex Avenue                                   Estate Property   David M Harris                             $            534,555.00    Equity Investor    $      100,000.00   102‐267
102‐106          7927‐49 S Essex Avenue                                   Estate Property   David M Harris                             $            831,700.00   Investor‐Lender     $       51,855.00   102‐267
13 to 15                  CCF2                                            Fund              David M Harris                             $            534,555.00    Equity Investor    $      150,000.00   13‐267
    6          6437‐41 S Kenwood Avenue                                   Estate Property   David M Williams                           $             44,313.83   Investor‐Lender     $       24,274.00   6‐415
   86          7442‐48 S Calumet Avenue                                   Estate Property   David Marcus                                $         1,370,484.00   Investor‐Lender     $      105,000.00   86‐801


   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   David Marcus                               $         1,370,484.00    Investor‐Lender     $      895,484.00   89‐801
13 to 15                  CCF2                                            Fund              David Marcus                               $         1,370,484.00    Investor‐Lender     $      250,000.00   13‐801
 96‐99           8326‐58 S Ellis Avenue                                   Estate Property   David Marcus                               $         1,370,484.00    Investor‐Lender     $      120,000.00   96‐801
    1           1700‐08 Juneway Terrace                                   Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $       35,000.00   1‐481
    2          4533‐47 S Calumet Avenue                                   Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $      200,000.00   2‐481



  4             5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $       44,266.00   4‐481
  61            7237‐43 S Bennett Avenue                                  Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $       43,784.00   61‐481



  62             7834‐44 S Ellis Avenue                                   Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $      300,000.00   62‐481
  64           4611‐17 S Drexel Boulevard                                 Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $      150,000.00   64‐481
  70             638‐40 N Avers Avenue                                    Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $      103,098.00   70‐481
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $      150,000.00   79‐481



  100        11117‐11119 S Longwood Drive                                 Estate Property   David R. Trengove                          $           705,123.88    Investor‐Lender     $       46,000.00   100‐481
  61           7237‐43 S Bennett Avenue                                   Estate Property   DAVID WEEKS                                $            53,750.00    Investor‐Lender     $       50,000.00   61‐127

  70             638‐40 N Avers Avenue                                    Estate Property   Dean & Mare Atanasoski                     $           100,000.00    Investor‐Lender     $      100,000.00   70‐394

  80              2736‐44 W 64th Street                                   Estate Property   Debbie Lasley                              $           104,550.09    Investor‐Lender     $       50,000.00   80‐456



  116      1102 Bingham St, Houston TX 77007                              Estate Property   Debbie Lasley                              $           104,550.09    Investor‐Lender     $       55,000.00   116‐456
  71              701‐13 S 5th Avenue                 414 Walnut          Estate Property   Deborah Buffamanti                         $            34,723.00     Equity Investor                        71‐1349

  81           4317‐19 S Michigan Avenue                                  Estate Property   Deborah Buffamanti                         $            34,723.00     Equity Investor    $       50,000.00   81‐1351
   1            1700‐08 Juneway Terrace                                   Estate Property   Dee Ann Nason                              $           303,965.00    Investor‐Lender     $       50,000.00   1‐453
   2           4533‐47 S Calumet Avenue                                   Estate Property   Dee Ann Nason                              $           303,965.00    Investor‐Lender     $       50,000.00   2‐453

  64           4611‐17 S Drexel Boulevard                                 Estate Property   Dee Ann Nason                              $           303,965.00    Investor‐Lender     $        3,965.00   64‐453
  100        11117‐11119 S Longwood Drive                                 Estate Property   Dee Ann Nason                              $           303,965.00    Investor‐Lender     $       50,000.00   100‐453




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Property            Property Address               Alternative Address            Type                                   Claimant Name                              Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                       Claim Category as           Form               Property
                                                                                                                                                                      Identified on Claim
                                                                                                                                                                             Form)
13 to 15                  CCF2                                            Fund              Dee Ann Nason                                                           $            303,965.00   Investor‐Lender     $       50,000.00   13‐453



 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Dee Ann Nason                                                           $           303,965.00    Investor‐Lender     $       50,000.00   96‐453
    5           7749‐59 S Yates Boulevard                                 Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $       13,385.00   5‐2015
    6          6437‐41 S Kenwood Avenue                                   Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $      150,000.00   6‐2015
   61           7237‐43 S Bennett Avenue                                  Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $        9,139.00   61‐2015
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $       20,792.29   68‐2015
   74            3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $       66,684.00   74‐2015
10 to 12                  CCF1                                            Fund              Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $       50,000.00   10‐2015
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $      100,000.00   102‐2015
13 to 15                  CCF2                                            Fund              Degenhardt, Duane A                                                     $           645,000.00    Investor‐Lender     $      150,000.00   13‐2015
   86          7442‐48 S Calumet Avenue                                   Estate Property   Demetres Velendzas                                                      $            51,500.00    Investor‐Lender     $       50,000.00   86‐776
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Denise Renee Wilson                                                     $            77,704.42    Investor‐Lender     $       90,000.00   4‐1492



   1            1700‐08 Juneway Terrace                                   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       50,000.00   1‐355
   2           4533‐47 S Calumet Avenue                                   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       52,956.00   2‐355
  58           5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $      332,334.00   58‐355
  60            7026‐42 S Cornell Avenue                                  Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $      110,000.00   60‐355
  62             7834‐44 S Ellis Avenue                                   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       55,098.00   62‐355
  72            7024‐32 S Paxton Avenue                                   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $      350,000.00   72‐355



   76           7635‐43 S East End Avenue                                 Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       25,000.00   76‐355
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       23,768.00   79‐355
   89           7600‐10 S Kingston Avenue         2527‐29 E 76th Street   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       47,044.00   89‐355
   91            7701‐03 S Essex Avenue                                   Estate Property   Dennis & Mary Ann Hennefer                                              $           679,378.00    Investor‐Lender     $       36,134.00   91‐355
   28                8800 S Ada Street                                    Estate Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $       60,000.00   28‐569
   33                3723 W 68th Place                                    Estate Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $       40,000.00   33‐569
   91            7701‐03 S Essex Avenue                                   Estate Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $      100,000.00   91‐569
  115             109 N Laramie Avenue                                    Former Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $       30,155.00   115‐569
  116       1102 Bingham St, Houston TX 77007                             Estate Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $       50,000.00   116‐569
  126         5201‐5207 W Washington Blvd                                 Former Property   Dennis K McCoy                                                          $           312,238.67    Investor‐Lender     $       76,667.00   126‐569
  124             6801 S East End Avenue                                  Former Property   Dennis Ray Hennefer                                                     $            34,840.00    Investor‐Lender     $       34,840.00   124‐1265
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Denny Kon                                                               $            52,000.01    Investor‐Lender     $       50,000.00   96‐112

  77          7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property   Derrick, Horace                                                         $           100,000.00   Investor‐Lender      $      100,000.00   77‐2016
  58           5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property   Diana Johan                                                             $            25,000.00   Investor‐Lender      $       25,000.00   58‐499
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Direct Lending Partner LLC (successor to Arena DLP Lender LLC and DLP   $         3,118,675.50 Institutional Lender                       79‐129
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Distributive Marketing Inc.                                             $           100,000.00   Investor‐Lender      $       50,000.00   4‐806




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Property            Property Address               Alternative Address               Type                                    Claimant Name               Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                     Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                            Claim Category as            Form              Property
                                                                                                                                                           Identified on Claim
                                                                                                                                                                  Form)
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Distributive Marketing Inc.                               $            155,000.00    Equity Investor    $       50,000.00   6‐806
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Distributive Marketing Inc.                               $            100,000.00   Investor‐Lender     $       50,000.00   79‐806
  100        11117‐11119 S Longwood Drive                                    Estate Property   Distributive Marketing Inc.                               $            155,000.00    Equity Investor    $       55,000.00   100‐806
10 to 12        7301‐09 S Stewart Avenue                                     Fund              Distributive Marketing Inc.                               $            155,000.00    Equity Investor    $       50,000.00   10‐806
   69              6250 S Mozart Avenue           2832‐36 W 63rd Street      Estate Property   DK Phenix Investments LLC                                 $            575,750.00   Investor‐Lender     $      100,000.00   69‐584
  100        11117‐11119 S Longwood Drive                                    Estate Property   DK Phenix Investments LLC                                 $            575,750.00   Investor‐Lender     $       75,000.00   100‐584
13 to 15                    CCF2                                             Fund              DK Phenix Investments LLC                                 $            575,750.00   Investor‐Lender     $      100,000.00   13‐584
   91             7701‐03 S Essex Avenue                                     Estate Property   Domenic Simone                                            $            153,246.58    Equity Investor    $      100,000.00   91‐883
  107            1422‐24 East 68th Street                                    Estate Property   Domenic Simone                                            $            153,246.58    Equity Investor    $      165,000.00   107‐883
  155            Campo‐Mar, Puerto Rico                                      Former Property   Domenic Simone                                            $            153,246.58    Equity Investor    $      100,000.00   155‐883
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Donald Freers aka Meadows Advisors LLC                    $            198,000.00   Investor‐Lender     $       48,000.00   4‐72
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Donald Freers aka Meadows Advisors LLC                    $            198,000.00   Investor‐Lender     $       95,000.00   9‐72
   67               1131‐41 E 79th Place                                     Estate Property   Donald Freers aka Meadows Advisors LLC                    $            198,000.00   Investor‐Lender     $       48,000.00   67‐72
   84             7051 S Bennett Avenue                                      Estate Property   Donald Freers aka Meadows Advisors LLC                    $            198,000.00   Investor‐Lender     $        5,000.00   84‐72
    5           7749‐59 S Yates Boulevard                                    Estate Property   Donald Hendrickson                                        $             10,595.99   Investor‐Lender     $       10,000.00   5‐945
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Donald Minchow                                            $            225,000.00   Investor‐Lender     $      110,000.00   89‐2041
    5           7749‐59 S Yates Boulevard                                    Estate Property   Doron Kermanian                                           $             30,000.00   Investor‐Lender     $       25,000.00   5‐380
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Doron Reichenberg                                         $            179,000.00   Investor‐Lender     $       50,000.00   3‐708
  101            6949‐59 S Merrill Avenue                                    Estate Property   Doron Reichenberg                                         $            179,000.00   Investor‐Lender     $       54,000.00   101‐708
13 to 15                    CCF2                                             Fund              Doron Reichenberg                                         $            179,000.00   Investor‐Lender     $       75,000.00   13‐708
    2          4533‐47 S Calumet Avenue                                      Estate Property   Double Portion Foundation                                 $             40,000.00   Investor‐Lender     $       40,000.00   2‐433
    2          4533‐47 S Calumet Avenue                                      Estate Property   Douglas Nebel and Narine Nebel                            $            155,752.25   Investor‐Lender     $       50,000.00   2‐1080
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Douglas Nebel and Narine Nebel                            $            155,752.25   Investor‐Lender     $       65,000.00   4‐1080
   67               1131‐41 E 79th Place                                     Estate Property   Douglas Nebel and Narine Nebel                            $            155,752.25   Investor‐Lender     $       50,000.00   67‐1080
  904                      SSDF4                                             Fund              Douglas Nebel and Narine Nebel                            $            115,000.00   Investor‐Lender     $      115,000.00   904‐1080
13 to 15                    CCF2                                             Fund              Douglas Nebel and Narine Nebel                            $            155,752.25   Investor‐Lender     $       15,000.00   13‐1080
    5           7749‐59 S Yates Boulevard                                    Estate Property   Duke E. Heger and Viviana Heger                           $            117,000.00   Investor‐Lender     $       35,000.00   5‐1408
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   Duke E. Heger and Viviana Heger                           $            117,000.00   Investor‐Lender     $       12,000.00   59‐1408
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Duke E. Heger and Viviana Heger                           $            117,000.00   Investor‐Lender     $       50,000.00   68‐1408

   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Duke E. Heger and Viviana Heger                           $           117,000.00    Investor‐Lender     $       20,000.00   89‐1408
13 to 15                  CCF2                                               Fund              Duke E. Heger and Viviana Heger                           $            60,000.00     Equity Investor    $       60,000.00   13‐1408
  902              SSDF2 Holdco 3 LLC                                        Fund              Duty, Darrell and Frances                                                           Investor‐Lender                         902‐2018
   60           7026‐42 S Cornell Avenue                                     Estate Property   DVH Investment Trust                                      $            20,000.00    Investor‐Lender     $       80,000.00   60‐1410
  901                     SSDF1                                              Fund              DVH Investment Trust                                      $           315,000.00     Equity Investor    $      315,000.00   901‐1410
    5           7749‐59 S Yates Boulevard                                    Estate Property   Easley Family Trust c/o Todd Easley                       $            25,000.00    Investor‐Lender     $       25,000.00   5‐596
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   EastWest Funding Trust                                    $            52,000.00    Investor‐Lender     $       50,000.00   79‐258
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Eco2 Capital Inc.                                         $            36,308.25    Investor‐Lender     $       50,000.00   73‐1332

  64           4611‐17 S Drexel Boulevard                                    Estate Property   Eco2 Capital Inc. 401k                                    $            43,933.81    Investor‐Lender     $       50,000.00   64‐1048
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA   $         1,031,324.00    Investor‐Lender     $      101,000.00   9‐180
  53             6807 S Indiana Avenue                                       Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA   $         1,031,324.00    Investor‐Lender     $       45,000.00   53‐180
  56               8209 S Ellis Avenue                                       Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA   $         1,031,324.00    Investor‐Lender     $      100,000.00   56‐180




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Property            Property Address                 Alternative Address               Type                                  Claimant Name                              Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                    Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                           Claim Category as            Form              Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
   75          7625‐33 S East End Avenue                                       Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $      176,226.00   75‐180
   78           7201 S Constance Avenue             1825‐31 E 72nd Street      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $       17,374.00   78‐180
   80            2736‐44 W 64th Street                                         Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $       30,000.00   80‐180
  90           7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $      102,149.00   90‐180
  93           7953‐59 S Marquette Road             2708‐10 E 80th Street      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $       58,000.00   93‐180
  100        11117‐11119 S Longwood Drive                                      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00   Investor‐Lender     $      100,000.00   100‐180
  122         7616‐7624 S Phillips Avenue                                      Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA               $         1,031,324.00    Equity Investor    $       27,000.00   122‐180

  145          4755 S St Lawrence Avenue                                       Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $         1,031,324.00     Equity Investor    $       50,000.00   145‐180
10 to 12                  CCF1                                                 Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $         1,031,324.00    Investor‐Lender     $       70,175.00   10‐180
102‐106         7927‐49 S Essex Avenue                                         Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $         1,031,324.00    Investor‐Lender     $      100,400.00   102‐180

13 to 15                  CCF2                                                 Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $         1,031,324.00    Investor‐Lender     $      104,000.00   13‐180
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   Edward J. Netzel                                                       $            20,000.00    Investor‐Lender     $       20,000.00   69‐1059
  123           7107‐29 S Bennett Avenue                                       Former Property   Edwin BARKER                                                           $            36,773.52    Investor‐Lender     $       50,000.00   123‐1498
    1           1700‐08 Juneway Terrace                                        Estate Property   Elaine Sison Ernst                                                     $            95,000.00    Investor‐Lender     $       30,000.00   1‐1029

    6          6437‐41 S Kenwood Avenue                                        Estate Property   Elaine Sison Ernst                                                     $            95,000.00    Investor‐Lender     $       15,000.00   6‐1029
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Elaine Sison Ernst                                                     $            95,000.00    Investor‐Lender     $       50,000.00   79‐1029
    1           1700‐08 Juneway Terrace                                        Estate Property   Elizabeth A. Monnot‐Chase                                              $           107,450.00    Investor‐Lender     $      105,000.00   1‐1252
13 to 15                  CCF2                                                 Fund              Elizabeth Riley Gerber                                                 $            47,347.23     Equity Investor    $       50,000.00   13‐205
    6          6437‐41 S Kenwood Avenue                                        Estate Property   Elizabeth Zeng                                                         $           148,422.77    Investor‐Lender     $       25,000.00   6‐872
   60           7026‐42 S Cornell Avenue                                       Estate Property   Elizabeth Zeng                                                         $           148,422.77    Investor‐Lender     $        9,000.00   60‐872
   67             1131‐41 E 79th Place                                         Estate Property   Elizabeth Zeng                                                         $             8,914.75     Equity Investor    $        8,450.00   67‐872
   68         6217‐27 S Dorchester Avenue                                      Estate Property   Elizabeth Zeng                                                         $           148,422.77    Investor‐Lender     $       94,000.00   68‐872
   88          7546‐48 S Saginaw Avenue                                        Estate Property   Elizabeth Zeng                                                         $           148,422.77    Investor‐Lender     $       12,000.00   88‐872
  100        11117‐11119 S Longwood Drive                                      Estate Property   Ellen Liu                                                              $           400,000.00     Equity Investor    $      150,000.00   100‐1354
10 to 12                  CCF1                                                 Fund              Ellen Liu                                                              $           400,000.00     Equity Investor    $      250,000.00   10‐1354
   62            7834‐44 S Ellis Avenue                                        Estate Property   Emile P. Dufrene, III                                                  $            50,422.00    Investor‐Lender     $       50,000.00   62‐1248

  72            7024‐32 S Paxton Avenue                                        Estate Property   Emile P. Dufrene, III                                                  $            50,422.00    Investor‐Lender     $       50,000.00   72‐1248
   6           6437‐41 S Kenwood Avenue                                        Estate Property   Equity Capital Resources, LLC                                          $            77,166.66    Investor‐Lender     $       25,000.00   6‐671
  59          6001‐05 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Equity Capital Resources, LLC                                          $            77,166.66    Investor‐Lender     $       50,000.00   59‐671
  80             2736‐44 W 64th Street                                         Estate Property   EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN IRA                   $            50,000.00    Investor‐Lender     $       50,000.00   80‐592

  124            6801 S East End Avenue                                        Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M GUILLEN IRA           $             2,951.00    Investor‐Lender     $        2,951.00   124‐460
  124            6801 S East End Avenue                                        Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN CESA                 $             2,608.00    Investor‐Lender     $        2,608.00   124‐461
   60           7026‐42 S Cornell Avenue                                       Estate Property   Equity Trust Company Custodian FBO Linda A. Smith IRA                  $            50,000.00    Investor‐Lender     $       50,000.00   60‐550
   88          7546‐48 S Saginaw Avenue                                        Estate Property   Equity Trust Company Custodian FBO Marvette Cofield Roth IRA; Equity   $            25,000.00    Investor‐Lender     $       25,000.00   88‐1091
  124            6801 S East End Avenue                                        Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F GUILLEN IRA              $            14,775.00    Investor‐Lender     $       14,775.00   124‐424
  124            6801 S East End Avenue                                        Former Property   Equity Trust Company Custodian FBO Theodore J. Guillen                 $            14,775.00    Investor‐Lender     $       14,775.00   124‐423
  124            6801 S East End Avenue                                        Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P GUILLEN JR. IR           $             2,391.00    Investor‐Lender     $        2,391.00   124‐457
  76           7635‐43 S East End Avenue                                       Estate Property   Equity Trust Custodian FBO Dorothy Marie Baker IRA                     $            15,000.00    Investor‐Lender     $       10,000.00   76‐2007
  118            400 S Kilbourn Avenue                                         Former Property   Equity TrustCompany Custodian FBO Karuna Voddi IRA                     $            12,777.00    Investor‐Lender     $       12,777.00   118‐990



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Property            Property Address               Alternative Address               Type                                    Claimant Name                                Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                                      Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                                             Claim Category as             Form              Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Eric Schwartz                                                              $            144,153.72    Investor‐Lender     $       12,000.00   6‐157
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Eric Schwartz                                                              $            144,153.72    Investor‐Lender     $       60,082.00   69‐157
  87               7508 S Essex Avenue            2453‐59 E 75th Street      Estate Property   Eric Schwartz                                                              $            144,153.72    Investor‐Lender     $        7,213.00   87‐157
  130            4511 N Merimac Avenue                                       Former Property   Eric Schwartz                                                              $            144,153.72    Investor‐Lender     $       44,178.86   130‐157
  908                     SSDF8                                              Fund              Eric Schwartz                                                               $              2,787.00    Equity Investor    $        2,787.00   908‐157
  74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Erika Dietz                                                                $             20,000.00    Investor‐Lender     $       50,000.00   74‐1283
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Erika Dietz IRA account (Madison Trust Company Custodian FBO Erika Dietz   $            102,666.66    Investor‐Lender     $      100,000.00   4‐1301
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Erwin J Page Trust, Jeffrey Steybe, Trustee                                $             52,666.68    Investor‐Lender     $       50,000.00   68‐1162
   1            1700‐08 Juneway Terrace                                      Estate Property   Evans & Associates LLC (Will Evans)                                        $             50,000.00    Investor‐Lender     $       50,000.00   1‐410
  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn Stratton IRA)   $            100,000.00    Investor‐Lender     $      100,000.00   69‐1028

  115             109 N Laramie Avenue                                       Former Property   FDD Properties LLC                                                         $           225,000.00    Equity Investor      $       50,000.00   115‐611
  904                     SSDF4                                              Fund              FDD Properties LLC                                                         $           225,000.00    Equity Investor      $      225,000.00   904‐608
   70            638‐40 N Avers Avenue                                       Estate Property   Federal Home Loan Mortgage Corporation [Freddie Mac]                       $         1,273,346.96 Institutional Lender                        70‐2084
   72           7024‐32 S Paxton Avenue                                      Estate Property   Federal Home Loan Mortgage Corporation [Freddie Mac]                       $         1,825,895.85 Institutional Lender                        72‐2085
   67              1131‐41 E 79th Place                                      Estate Property   Federal National Mortgage Association                                      $         1,319,255.08 Institutional Lender                        67‐1333
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $           300,000.00   Investor‐Lender       $      250,000.00   92‐2021
13 to 15                   CCF2                                              Fund              Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $           300,000.00   Investor‐Lender       $       25,000.00   13‐2021
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)               $           300,000.00   Investor‐Lender       $       25,000.00   96‐2021
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Fields Loss Consultants LLC                                                $           134,618.00    Trade Creditor       $      143,618.00   9‐1424

  116       1102 Bingham St, Houston TX 77007                                Estate Property   Fireshark Enterprises, LLC, a Texas Series Limited Liability Company       $           279,898.28   Investor‐Lender       $      313,418.93   116‐1130
  N/A                       N/A                                              Other             First Western Properties                                                   $            21,756.00     Independent                             891
10 to 12         7301‐09 S Stewart Avenue                                    Fund              FIVE STAR CAPITAL GROUP, LLC                                               $           266,666.65 Investor‐Lender and     $      250,000.00   10‐1246
  107             1422‐24 East 68th Street                                   Estate Property   Fixed Slice LLC                                                            $            64,775.00   Investor‐Lender       $      250,642.00   107‐176
  901                      SSDF1                                             Fund              Florybeth & David Stratton                                                 $           200,000.00    Equity Investor      $      200,000.00   901‐604
  124             6801 S East End Avenue                                     Former Property   Focus4 Investments, LLC                                                    $           104,349.99   Investor‐Lender       $      100,000.00   124‐830
   73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street     Estate Property   Frances D Cook Sunwest Trust Custodian FBO Frances D Cook IRA              $             6,000.00   Investor‐Lender       $        6,000.00   73‐539
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $       65,000.00   79‐1450
   83             6356 S California Avenue          2804 W 64th Street       Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $       41,604.00   83‐1450
   85          7201‐07 S Dorchester Avenue          1401 E 72nd Street       Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $       23,396.00   85‐1450
   92             7748‐52 S Essex Avenue           2450‐52 E 78th Street     Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $       50,000.00   92‐1450
  122           7616‐7624 S Phillips Avenue                                  Former Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $      175,000.00   122‐1450
10 to 12                    CCF1                                             Fund              Francisco Fernandez                                                        $           312,124.98    Equity Investor      $      250,000.00   10‐1450
102‐106           7927‐49 S Essex Avenue                                     Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $      165,000.00   102‐1450
13 to 15                    CCF2                                             Fund              Francisco Fernandez                                                        $           312,124.98    Equity Investor      $       50,000.00   13‐1450
 96‐99             8326‐58 S Ellis Avenue                                    Estate Property   Francisco Fernandez                                                        $           584,237.50   Investor‐Lender       $       45,000.00   96‐1450
   63           4520‐26 S Drexel Boulevard                                   Estate Property   Frank and Laura Sohm                                                       $           167,893.65    Equity Investor      $       65,000.00   63‐906
   73             7255‐57 S Euclid Avenue          1940‐44 E 73rd Street     Estate Property   Frank and Laura Sohm                                                       $           167,893.65   Investor‐Lender       $       35,300.00   73‐906
   85          7201‐07 S Dorchester Avenue          1401 E 72nd Street       Estate Property   Frank and Laura Sohm                                                       $           167,893.65   Investor‐Lender       $       14,700.00   85‐906
   94            816‐20 E Marquette Road                                     Estate Property   Frank and Laura Sohm                                                       $           167,893.65   Investor‐Lender       $       50,000.00   94‐906
  120             7823‐27 S Essex Avenue                                     Former Property   Frank and Laura Sohm                                                       $           167,893.65    Equity Investor      $       26,000.00   120‐906
  135             4930 W Cornelia Avenue                                     Former Property   Frank and Laura Sohm                                                       $           167,893.65    Equity Investor                          135‐906




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Property         Property Address          Alternative Address               Type                                   Claimant Name                                 Claimed Amount (Total Claim Category as Amount Claimed to          Claim Number
Number                                                                                                                                                              Claimed Amount in      Identified on Claim   be Invested in
                                                                                                                                                                     Claim Category as             Form            Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
10 to 12    7301‐09 S Stewart Avenue                                 Fund              Frank and Laura Sohm                                                       $            167,893.65 Investor‐Lender and $         26,000.00   10‐906
 13‐15        2909‐19 E 78th Street                                  Fund              Frank and Laura Sohm                                                       $            167,893.65     Equity Investor  $        10,000.00   13‐906
   71          701‐13 S 5th Avenue             414 Walnut            Estate Property   Frank Sohm IRA                                                             $            148,604.93    Investor‐Lender   $        40,000.00   71‐558
   89       7600‐10 S Kingston Avenue      2527‐29 E 76th Street     Estate Property   Frank Sohm IRA                                                             $            148,604.93    Investor‐Lender   $        15,796.00   89‐558
  120        7823‐27 S Essex Avenue                                  Former Property   Frank Sohm IRA                                                             $            148,604.93    Investor‐Lender   $        40,000.00   120‐558
  135        4930 W Cornelia Avenue                                  Former Property   Frank Sohm IRA                                                             $            148,604.93    Investor‐Lender   $        25,000.00   135‐558
10 to 12    7301‐09 S Stewart Avenue                                 Fund              Frank Sohm IRA                                                             $            148,664.93 Investor‐Lender and $         10,000.00   10‐558
 13‐15        2909‐19 E 78th Street                                  Fund              Frank Sohm IRA                                                             $            148,664.93     Equity Investor  $        40,000.00   13‐558
  N/A                  N/A                                           UPN               Frank Sohm IRA                                                             $            148,604.93    Investor‐Lender   $        10,992.19   558
   76       7635‐43 S East End Avenue                                Estate Property   Frank Starosciak                                                           $             47,407.14    Investor‐Lender   $        17,125.00   76‐1239
   89       7600‐10 S Kingston Avenue      2527‐29 E 76th Street     Estate Property   Frank Starosciak                                                           $             47,407.14    Investor‐Lender   $        20,000.00   89‐1239
 96‐99        8326‐58 S Ellis Avenue                                 Estate Property   Frank Starosciak                                                           $             47,407.14    Investor‐Lender   $         5,000.00   96‐1239
   89       7600‐10 S Kingston Avenue      2527‐29 E 76th Street     Estate Property   Fraser Realty Capital, LLC                                                 $             20,038.00    Investor‐Lender   $        20,038.00   89‐1313
   77      7750‐58 S Muskegon Avenue       2818‐36 E 78th Street     Estate Property   Fraser Realty Investments, LLC                                             $            120,000.00    Investor‐Lender   $       100,000.00   77‐1079
   95        8201 S Kingston Avenue                                  Estate Property   Fraser Realty Investments, LLC                                             $            120,000.00    Investor‐Lender   $        20,000.00   95‐1079
   85      7201‐07 S Dorchester Avenue      1401 E 72nd Street       Estate Property   Freda R. Smith (QUEST IRA Inc. FBO Freda R. Smith IRA Account # 16816‐11   $             25,141.58    Investor‐Lender   $        20,000.00   85‐1356
                                                                                       (Traditional IRA))
  58        5955 S Sacramento Avenue      2948‐56 W 60th Street      Estate Property   Fredric R. Gottlieb                                                        $          212,481.00    Investor‐Lender     $       37,481.00    58‐1177

   62           7834‐44 S Ellis Avenue                               Estate Property   Fredric R. Gottlieb                                                        $          391,776.10    Investor‐Lender     $       58,617.00    62‐1212
   68       6217‐27 S Dorchester Avenue                              Estate Property   Fredric R. Gottlieb                                                        $          391,776.10    Investor‐Lender     $       15,740.00    68‐1212
   73         7255‐57 S Euclid Avenue      1940‐44 E 73rd Street     Estate Property   Fredric R. Gottlieb                                                        $          391,776.10    Investor‐Lender     $       60,000.00    73‐1212
13 to 15                 CCF2                                        Fund              Fredric R. Gottlieb                                                        $          212,481.00    Investor‐Lender     $      100,000.00    13‐1177
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Fredric R. Gottlieb                                                        $          212,481.00    Investor‐Lender     $       75,000.00    96‐1177
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Fredric R. Gottlieb                                                        $          391,776.10    Investor‐Lender     $      184,259.00    96‐1212
   60         7026‐42 S Cornell Avenue                               Estate Property   Fredric R. Gottlieb (South Florida Realty Management & Investments)        $          433,306.00    Investor‐Lender     $       58,306.00    60‐1215
10 to 12                 CCF1                                        Fund              Fredric R. Gottlieb (South Florida Realty Management & Investments)        $          433,306.00    Investor‐Lender     $      100,000.00    10‐1215
102‐106        7927‐49 S Essex Avenue                                Estate Property   Fredric R. Gottlieb (South Florida Realty Management & Investments)        $          433,306.00    Investor‐Lender     $      100,000.00    102‐1215
13 to 15                 CCF2                                        Fund              Fredric R. Gottlieb (South Florida Realty Management & Investments)        $          433,306.00    Investor‐Lender     $      175,000.00    13‐1215
    6        6437‐41 S Kenwood Avenue                                Estate Property   Freyja Partners, a California Limited Partnership                          $          179,625.00    Investor‐Lender     $       50,000.00    6‐1141
13 to 15                 CCF2                                        Fund              Freyja Partners, a California Limited Partnership                          $          179,625.00    Investor‐Lender     $       50,000.00    13‐1141
 96‐99          8326‐58 S Ellis Avenue                               Estate Property   Freyja Partners, a California Limited Partnership                          $          179,625.00    Investor‐Lender     $       50,000.00    96‐1141
   74          3074 Cheltenham Place        7836 S Shore Drive       Estate Property   G&M You‐Nique Properties, LLC                                              $           62,325.00    Investor‐Lender     $       60,000.00    74‐722
    2        4533‐47 S Calumet Avenue                                Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $          100,000.00    Investor‐Lender                          2‐316
   60         7026‐42 S Cornell Avenue                               Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $          100,000.00    Investor‐Lender                          60‐316
   83         6356 S California Avenue      2804 W 64th Street       Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $          100,000.00    Investor‐Lender                          83‐316
   85       7201‐07 S Dorchester Avenue     1401 E 72nd Street       Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $          100,000.00    Investor‐Lender                          85‐316
  100      11117‐11119 S Longwood Drive                              Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $          100,000.00    Investor‐Lender                          100‐316
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street     Estate Property   Gallucci, Henry                                                            $           77,000.00    Investor‐Lender     $       17,000.00    93‐2059
    9            8100 S Essex Avenue      2449‐57 East 81st Street   Estate Property   Ganpat and FEREEDA Seunath                                                 $          216,194.22    Investor‐Lender     $        2,372.00    9‐77
   59      6001‐05 S Sacramento Avenue     2945‐51 W 60th Street     Estate Property   Ganpat and FEREEDA Seunath                                                 $          216,194.22    Investor‐Lender     $      109,844.00    59‐77
   67            1131‐41 E 79th Place                                Estate Property   Ganpat and FEREEDA Seunath                                                 $          216,194.22    Investor‐Lender     $       19,714.00    67‐77
  124          6801 S East End Avenue                                Former Property   Ganpat and FEREEDA Seunath                                                 $          216,194.22    Investor‐Lender     $       19,000.00    124‐77




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Property            Property Address               Alternative Address               Type                                   Claimant Name                            Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                                        Claim Category as             Form              Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Ganpat and FEREEDA Seunath                                            $            216,194.22    Investor‐Lender     $       51,585.00   96‐77
  N/A          Roth IRA and Traditional IRA                                  Fund              Ganpat and FEREEDA Seunath                                            $            202,515.02     Equity Investor    $      202,515.02   77
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Garwood Weatherhead                                                   $            184,941.00    Investor‐Lender     $      150,000.00   6‐1096
13 to 15                  CCF2                                               Fund              Gary Kucera                                                           $            204,357.34     Equity Investor    $      200,000.00   13‐98
    1           1700‐08 Juneway Terrace                                      Estate Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group    $              9,523.00   Investor‐Lender     $        1,000.00   1‐1065
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group    $              9,523.00   Investor‐Lender     $        2,990.00   9‐1065
  126         5201‐5207 W Washington Blvd                                    Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group    $              9,523.00   Investor‐Lender     $        3,171.00   126‐1065
                                                                                               LLC)
  129           4494 West Roscoe Street                                      Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group   $             9,523.00    Investor‐Lender      $        2,362.00   129‐1065
  901                    SSDF1                                               Fund              Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group   $             9,523.00     Equity Investor     $        7,161.00   901‐1065
  76           7635‐43 S East End Avenue                                     Estate Property   Gary R Burnham Jr Solo401K Trust                                      $            42,029.00    Investor‐Lender      $       42,029.00   76‐1067
  904                    SSDF4                                               Fund              Gary R Burnham Jr Solo401K Trust                                      $            60,000.00     Equity Investor     $       60,000.00   904‐1067
   1            1700‐08 Juneway Terrace                                      Estate Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)             $            30,718.00    Investor‐Lender      $        9,000.00   1‐1066
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)             $            30,718.00    Investor‐Lender      $        7,465.00   9‐1066


  126         5201‐5207 W Washington Blvd                                    Former Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)             $            30,718.00     Equity Investor     $       14,253.00   126‐1066
  901                    SSDF1                                               Fund              Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)             $            30,718.00     Equity Investor     $       30,718.00   901‐1066

  9               8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $       36,000.00   9‐1174
  59          6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $        7,971.00   59‐1174
  72            7024‐32 S Paxton Avenue                                      Estate Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $      106,000.00   72‐1174

   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $       10,000.00   79‐1174
  88            7546‐48 S Saginaw Avenue                                     Estate Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $       10,000.00   88‐1174
  126         5201‐5207 W Washington Blvd                                    Former Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $       30,000.00   126‐1174
  129            4494 West Roscoe Street                                     Former Property   Gary R. Burnham Jr. Solo 401K Trust                                   $           205,608.00    Investor‐Lender      $        5,637.00   129‐1174


  901                     SSDF1                                              Fund              Gary R. Burnham Jr. Solo 401K Trust                                   $           204,026.00     Equity Investor     $      204,026.00   901‐1174
10 to 12                  CCF1                                               Fund              GEGO NADLAN REALTY LLC                                                $            50,000.00    Investor‐Lender      $       50,000.00   10‐104

   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Gene X Erquiaga                                                       $            51,749.99    Investor‐Lender                          9‐721
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Genevieve Giuliana Heger                                              $            20,058.00    Investor‐Lender      $       10,000.00   64‐1403
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Genevieve Giuliana Heger                                              $            20,058.00    Investor‐Lender      $       10,000.00   89‐1403
  908                      SSDF8                                             Fund              Genevieve Heger and Duke Heger, JTWROS                                $            10,000.00     Equity Investor     $       10,000.00   908‐1414
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   George S Black                                                        $            95,000.00    Investor‐Lender      $       27,000.00   85‐572
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   George S Black                                                        $            95,000.00    Investor‐Lender      $       68,000.00   96‐572
   75          7625‐33 S East End Avenue                                     Estate Property   Geronimo Usuga Carmona                                                $             8,937.50    Investor‐Lender      $       35,667.00   75‐543
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Geronimo Usuga Carmona                                                $             8,937.50    Investor‐Lender      $       39,333.00   89‐543
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Gerry Recamara                                                        $            55,000.00    Investor‐Lender      $       55,000.00   92‐624
   81          4317‐19 S Michigan Avenue                                     Estate Property   Gerry / Clarice Recamara                                              $             2,227.80    Investor‐Lender                          81‐618
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   Gerry / Clarice Recamara                                              $             2,227.80    Investor‐Lender                          112‐618
  118             400 S Kilbourn Avenue                                      Former Property   Gerry / Clarice Recamara                                              $             2,227.80    Investor‐Lender                          118‐618




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Property            Property Address               Alternative Address               Type                                     Claimant Name                     Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                            Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                                   Claim Category as             Form              Property
                                                                                                                                                                  Identified on Claim
                                                                                                                                                                         Form)
   1            1700‐08 Juneway Terrace                                      Estate Property   Gilbert D Sherman Declaration of Trust 7/30/2013                 $             60,500.00    Investor‐Lender     $       50,000.00   1‐92
  71              701‐13 S 5th Avenue                   414 Walnut           Estate Property   GIRISH JUNEJA SELF DIRECTED ROTH IRA, CUSTODIAN: KINGDOM TRUST   $             57,800.00     Equity Investor    $       50,000.00   71‐1341
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $       50,000.00   4‐350
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $        8,426.00   9‐350
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $       12,145.00   68‐350
  72            7024‐32 S Paxton Avenue                                      Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $       50,000.00   72‐350
  77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $       25,000.00   77‐350
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $       16,574.00   78‐350
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $            212,145.00    Investor‐Lender     $      100,000.00   96‐350
  N/A                      N/A                                               Other             Gomberg Sharfman, PC                                             $                 748.00     Independent                           2083
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Gowrisankar Challagundla                                         $             59,750.00    Investor‐Lender     $       50,000.00   79‐815

   1            1700‐08 Juneway Terrace                                      Estate Property   Grace Ndungu                                                     $            45,169.81    Investor‐Lender      $       50,000.00   1‐609

   5            7749‐59 S Yates Boulevard                                    Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $      149,081.00   5‐1445
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       57,000.00   6‐1445
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $      100,000.00   63‐1445
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $      150,000.00   64‐1445
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $      100,000.00   74‐1445
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       50,000.00   79‐1445
  94            816‐20 E Marquette Road                                      Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       35,000.00   94‐1445
  100        11117‐11119 S Longwood Drive                                    Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       53,000.00   100‐1445
  904                     SSDF4                                              Fund              Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       50,000.00   904‐1445

  908                    SSDF8                                               Fund              Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       50,000.00   908‐1445
10 to 12                  CCF1                                               Fund              Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $      100,000.00   10‐1445
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Grathia Corp                                                     $         1,184,081.00    Investor‐Lender      $       50,000.00   102‐1445
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Graystone Realty, LLC                                            $            52,000.01    Investor‐Lender      $       50,000.00   4‐1210

  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Green Light Investments, LLC                                     $            90,000.00    Investor‐Lender      $       50,000.00   79‐1440
  84             7051 S Bennett Avenue                                       Estate Property   Green Light Investments, LLC                                     $            90,000.00                         $       40,000.00   84‐1440
  904                    SSDF4                                               Fund              Greg Oja                                                         $            15,000.00     Equity Investor     $       15,000.00   904‐518
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                    $             7,300.00     Equity Investor     $        7,300.00   63‐593
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                    $            12,600.00     Equity Investor     $       12,600.00   63‐563
  64           4611‐17 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                    $             7,300.00    Investor‐Lender      $        7,300.00   64‐593


  64           4611‐17 S Drexel Boulevard                                    Estate Property   Greg S. Wirth                                                    $            12,600.00    Investor‐Lender      $       12,600.00   64‐563


  62             7834‐44 S Ellis Avenue                                      Estate Property   Gregory C. Snyder                                                $            50,000.00    Investor‐Lender      $       50,000.00   62‐998
  88           7546‐48 S Saginaw Avenue                                      Estate Property   Gregory M. Wetz                                                  $            50,000.00    Investor‐Lender      $       50,000.00   88‐818
  1             1700‐08 Juneway Terrace                                      Estate Property   Gregory R Scott and Gene X Erquiaga                              $            52,333.32    Investor‐Lender      $       50,000.00   1‐697
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Guenter Scheel and Karen Scheel                                  $            25,000.00    Investor‐Lender      $       25,000.00   79‐2072




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Property        Property Address            Alternative Address               Type                                   Claimant Name                    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                         Claim Category as            Form              Property
                                                                                                                                                        Identified on Claim
                                                                                                                                                               Form)
13 to 15               CCF2                                           Fund              Gurinder Singh Dhillon                                        $             50,000.00    Equity Investor    $       50,000.00   13‐66
   82        6355‐59 S Talman Avenue       2616‐22 W 64th Street      Estate Property   H&W Management Company, Inc.                                  $            200,000.00   Investor‐Lender     $      200,000.00   82‐946
10 to 12     7301‐09 S Stewart Avenue                                 Fund              H&W Management Company, Inc.                                  $            327,616.00    Equity Investor    $      327,616.00   10‐1053
   93        7953‐59 S Marquette Road      2708‐10 E 80th Street      Estate Property   Halbur, William and Janice                                    $             20,000.00   Investor‐Lender     $        8,763.00   93‐2025
  111          6558 S Vernon Avenue         416‐24 E 66th Street      Estate Property   Halbur, William and Janice                                    $             20,000.00   Investor‐Lender     $       20,000.00   111‐2025
 96‐99         8326‐58 S Ellis Avenue                                 Estate Property   Halbur, William and Janice                                    $             20,000.00   Investor‐Lender     $       20,000.00   96‐2025
   61        7237‐43 S Bennett Avenue                                 Estate Property   Hang Zhou and Lu Dong                                         $            157,821.57   Investor‐Lender     $       50,000.00   61‐1335
   81       4317‐19 S Michigan Avenue                                 Estate Property   Hang Zhou and Lu Dong                                         $            157,821.57   Investor‐Lender     $       50,000.00   81‐1335
  126      5201‐5207 W Washington Blvd                                Former Property   Hang Zhou and Lu Dong                                         $            157,821.57   Investor‐Lender     $       50,000.00   126‐1335
  906                  SSDF6                                          Fund              Hang Zhou and Lu Dong                                                                    Equity Investor                        906‐1335
    4        5450‐52 S Indiana Avenue        118‐132 E Garfield       Estate Property   Harendra Pal                                                  $             11,165.00   Investor‐Lender     $        8,932.00   4‐1125
   62          7834‐44 S Ellis Avenue                                 Estate Property   HARENDRA PAL                                                  $            125,000.00   Investor‐Lender     $      100,000.00   62‐1126

  94         816‐20 E Marquette Road                                  Estate Property   Harendra Pal                                                  $           105,400.00    Investor‐Lender     $      100,000.00   94‐1123
  95          8201 S Kingston Avenue                                  Estate Property   Harendra Pal                                                  $           125,000.00    Investor‐Lender     $      100,000.00   95‐1127

 96‐99        8326‐58 S Ellis Avenue                                  Estate Property   Harendra Pal                                                  $            51,335.00    Investor‐Lender     $       41,068.00   96‐1124
   2        4533‐47 S Calumet Avenue                                  Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $      100,000.00   2‐2054

  58        5955 S Sacramento Avenue       2948‐56 W 60th Street      Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $      198,500.00   58‐2054
  60         7026‐42 S Cornell Avenue                                 Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $       51,500.00   60‐2054
  81       4317‐19 S Michigan Avenue                                  Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $      210,000.00   81‐2054
  86        7442‐48 S Calumet Avenue                                  Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $       37,500.00   86‐2054
  90        7656‐58 S Kingston Avenue    2514‐2520 East 77th Street   Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $      100,000.00   90‐2054
 96‐99         8326‐58 S Ellis Avenue                                 Estate Property   Harvey Singer                                                 $           854,387.63    Investor‐Lender     $       65,000.00   96‐2054
  92          7748‐52 S Essex Avenue       2450‐52 E 78th Street      Estate Property   Heidi H. Liu                                                  $            76,079.07     Equity Investor    $       50,000.00   92‐930
  49       7300‐04 St Lawrence Avenue                                 Estate Property   Helen Boyd                                                    $           105,000.00    Investor‐Lender     $       50,000.00   49‐2010
  50            7760 S Coles Avenue                                   Estate Property   Helen Boyd                                                    $           105,000.00    Investor‐Lender     $       55,000.00   50‐2010
102‐106       7927‐49 S Essex Avenue                                  Estate Property   Helen Boyd                                                    $           105,000.00    Investor‐Lender     $      105,000.00   102‐2010
   1         1700‐08 Juneway Terrace                                  Estate Property   Helene D Kapsky                                               $           100,000.00    Investor‐Lender     $      100,000.00   1‐1149
   9            8100 S Essex Avenue       2449‐57 East 81st Street    Estate Property   Henry C. Scheuller                                            $           246,440.00    Investor‐Lender                         9‐868
  61        7237‐43 S Bennett Avenue                                  Estate Property   Henry C. Scheuller                                            $           246,440.00    Investor‐Lender                         61‐868
  87            7508 S Essex Avenue        2453‐59 E 75th Street      Estate Property   Henry C. Scheuller                                            $           246,440.00    Investor‐Lender                         87‐868
 96‐99         8326‐58 S Ellis Avenue                                 Estate Property   Henry C. Scheuller                                            $           246,440.00    Investor‐Lender                         96‐868

  77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street      Estate Property   Henry D. Gallucci                                             $            77,000.00    Investor‐Lender     $       60,000.00   77‐2059
  63        4520‐26 S Drexel Boulevard                                Estate Property   Henry S. Scheuller                                            $            85,400.00     Equity Investor    $       85,000.00   63‐357
  55          8107‐09 S Ellis Avenue                                  Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $           505,000.00    Investor‐Lender     $       50,000.00   55‐101


  68       6217‐27 S Dorchester Avenue                                Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $           505,000.00    Investor‐Lender     $       65,000.00   68‐101
  77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street      Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $           505,000.00    Investor‐Lender     $      125,000.00   77‐101
  81        4317‐19 S Michigan Avenue                                 Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $           505,000.00    Investor‐Lender     $       75,000.00   81‐101
  85       7201‐07 S Dorchester Avenue      1401 E 72nd Street        Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $           505,000.00    Investor‐Lender     $       50,000.00   85‐101



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Property            Property Address               Alternative Address               Type                                   Claimant Name                    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                         Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                Claim Category as           Form               Property
                                                                                                                                                               Identified on Claim
                                                                                                                                                                      Form)
  94            816‐20 E Marquette Road                                      Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $            505,000.00   Investor‐Lender     $       65,000.00   94‐101
  100        11117‐11119 S Longwood Drive                                    Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $            505,000.00   Investor‐Lender     $       75,000.00   100‐101
  118             400 S Kilbourn Avenue                                      Former Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $            505,000.00   Investor‐Lender     $       50,000.00   118‐101
   1            1700‐08 Juneway Terrace                                      Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $             26,260.28   Investor‐Lender     $       24,000.00   1‐1274
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $             26,260.28   Investor‐Lender     $       26,000.00   4‐1274
  88           7546‐48 S Saginaw Avenue                                      Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $             26,260.28   Investor‐Lender     $       50,000.00   88‐1274
  51               1401 W 109th Place                                        Estate Property   Hiu Tung Carol                                                $             62,000.00   Investor‐Lender     $      115,487.00   51‐1101
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Hoang Small Trust c/o Dalano Hoang                            $            300,000.00   Investor‐Lender                         6‐161
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Hoang Small Trust c/o Dalano Hoang                            $            300,000.00   Investor‐Lender                         9‐161
  93           7953‐59 S Marquette Road            2708‐10 E 80th Street     Estate Property   Hoang Small Trust c/o Dalano Hoang                            $            300,000.00   Investor‐Lender     $       50,000.00   93‐161
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Hoang Small Trust c/o Dalano Hoang                            $            300,000.00   Investor‐Lender                         96‐161
  80              2736‐44 W 64th Street                                      Estate Property   Hongjun Li and Sheyu Zhou                                     $             95,370.00   Investor‐Lender     $       93,000.00   80‐432
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Hopson & Associates LLC                                       $             75,000.00   Investor‐Lender     $       75,000.00   82‐204
  937                Mezzazine Fund                                          Fund              Hopson & Associates LLC                                       $             75,000.00   Investor‐Lender                         937‐204
   3             5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Horst Siegrfied Filtzer Jr.                                   $             90,983.33   Investor‐Lender     $      100,000.00   3‐1085
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Howard and Doris Bybee                                        $             65,000.00   Investor‐Lender     $       15,000.00   4‐1039
   93          7953‐59 S Marquette Road           2708‐10 E 80th Street      Estate Property   Howard and Doris Bybee                                        $             65,000.00   Investor‐Lender     $       50,000.00   93‐1039
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Huiyi Yang                                                    $             37,000.00   Investor‐Lender     $       37,000.00   82‐253
   87              7508 S Essex Avenue            2453‐59 E 75th Street      Estate Property   Huiyi Yang                                                    $             21,935.00   Investor‐Lender     $       21,935.00   87‐255
  50               7760 S Coles Avenue                                       Estate Property   Huiyi Yang and Hui Wang                                       $             43,150.22   Investor‐Lender     $       20,166.67   50‐122
  88           7546‐48 S Saginaw Avenue                                      Estate Property   Huiyi Yang and Hui Wang                                       $             43,150.22   Investor‐Lender     $       16,374.00   88‐122
  94            816‐20 E Marquette Road                                      Estate Property   Huiyi Yang and Hui Wang                                       $             43,150.22   Investor‐Lender     $       13,847.00   94‐122
  62              7834‐44 S Ellis Avenue                                     Estate Property   Hutchings, Matt                                               $            362,766.68   Investor‐Lender     $      150,000.00   62‐2030
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Hutchings, Matt                                               $            362,766.68   Investor‐Lender     $       50,000.00   68‐2030
  95             8201 S Kingston Avenue                                      Estate Property   Hutchings, Matt                                               $            362,766.68   Investor‐Lender     $      150,000.00   95‐2030

   55             8107‐09 S Ellis Avenue                                     Estate Property   Hyman J. Small                                                $            75,000.00    Investor‐Lender                         55‐573
   56              8209 S Ellis Avenue                                       Estate Property   Hyman J. Small                                                $            75,000.00    Investor‐Lender                         56‐573
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   IG Investment Trust                                           $            27,213.71    Investor‐Lender     $       25,000.00   4‐1061
  904                     SSDF4                                              Fund              Indranie Jodha/Chetram Jodha                                  $            32,000.00     Equity Investor    $       32,000.00   904‐116
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Influx Investments LLC                                        $           100,000.00    Investor‐Lender     $       25,000.00   4‐744
   61           7237‐43 S Bennett Avenue                                     Estate Property   Influx Investments LLC                                        $           100,000.00    Investor‐Lender     $       50,000.00   61‐744
10 to 12                  CCF1                                               Fund              Influx Investments LLC                                        $           100,000.00     Equity Investor    $       25,000.00   10‐744
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Ingrid Beyer and Joel Beyer                                   $            10,346.02    Investor‐Lender     $       10,000.00   79‐985
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Initium LLC/Harry Saint‐Preux                                 $           150,000.00    Investor‐Lender     $       50,000.00   78‐968

  126         5201‐5207 W Washington Blvd                                    Former Property   Initium LLC/Harry Saint‐Preux                                 $           150,000.00    Investor‐Lender     $       10,000.00   126‐968
13 to 15                  CCF2                                               Fund              IP Holdings, LLC                                              $            50,000.00    Investor‐Lender     $       50,000.00   13‐1132
   93           7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property   iPlan Group Agent for Custodian FBO Daniel O'Hare IRA         $            50,000.00    Investor‐Lender     $       50,000.00   93‐838
  902                     SSDF2                                              Fund              IPlan Group Agent for Custodian FBO David Stratton IRA        $            55,700.00     Equity Investor    $       44,000.00   902‐607
  904                     SSDF4                                              Fund              IPlan Group Agent for Custodian FBO David Stratton IRA        $            55,700.00     Equity Investor    $       11,700.00   904‐607
  906                     SSDF6                                              Fund              iPlan Group Agent for Custodian FBO James B Ploeger IRA       $            72,000.00    Investor‐Lender     $       55,000.00   906‐520
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   iPlan Group Agent for Custodian FBO James B Ploeger IRA       $            72,000.00    Investor‐Lender     $       17,000.00   96‐520




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Property            Property Address                 Alternative Address               Type                                   Claimant Name                             Claimed Amount (Total      Claim Category as    Amount Claimed to    Claim Number
Number                                                                                                                                                                    Claimed Amount in       Identified on Claim     be Invested in
                                                                                                                                                                           Claim Category as             Form               Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
   64          4611‐17 S Drexel Boulevard                                      Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma                     $             50,000.00  Investor‐Lender        $       25,000.00   63‐341
   74            3074 Cheltenham Place               7836 S Shore Drive        Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA                 $             50,000.00  Investor‐Lender        $       25,000.00   74‐341
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057       $             10,000.00  Investor‐Lender        $       10,000.00   96‐1441
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                  $             34,819.65  Investor‐Lender        $       18,497.00   89‐1334
  135           4930 W Cornelia Avenue                                         Former Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                  $             34,819.65  Investor‐Lender        $       16,322.65   135‐1334
    5          7749‐59 S Yates Boulevard                                       Estate Property   iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA                $             33,000.00  Investor‐Lender        $       33,000.00   5‐799
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA           $             43,705.00  Investor‐Lender        $       43,705.00   89‐559
    5          7749‐59 S Yates Boulevard                                       Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3320844              $            184,941.00  Investor‐Lender        $       13,096.00   5‐1096
    5          7749‐59 S Yates Boulevard                                       Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3421004              $            184,941.00  Investor‐Lender        $       16,152.00   5‐1096
   72           7024‐32 S Paxton Avenue                                        Estate Property   iPlan Group FBO Randall Pong IRA                                       $             60,568.03Investor‐Lender and                          72‐728
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street      Estate Property   iPlan Group FBO Randall Pong IRA                                       $             60,568.03Investor‐Lender and                          77‐728
   85         7201‐07 S Dorchester Avenue            1401 E 72nd Street        Estate Property   iPlan Group FBO Randall Pong IRA                                       $             60,568.03Investor‐Lender and                          85‐728
   87             7508 S Essex Avenue               2453‐59 E 75th Street      Estate Property   iPlan Group FBO Randall Pong IRA                                       $             60,568.03Investor‐Lender and                          87‐728
13 to 15                  CCF2                                                 Fund              iPlan Group FBO Randall Pong IRA                                       $             60,568.03Investor‐Lender and      $        7,000.00   13‐728
                                                                                                                                                                                                  Equity Investor
   1            1700‐08 Juneway Terrace                                        Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018   $            46,000.00   Investor‐Lender        $       20,000.00   1‐203
   5            7749‐59 S Yates Boulevard                                      Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018   $            46,000.00   Investor‐Lender        $        6,000.00   5‐203


   79      6160‐6212 S Martin Luther King Drive                                Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018   $            46,000.00   Investor‐Lender        $       20,000.00   79‐203
    4           5450‐52 S Indiana Avenue              118‐132 E Garfield       Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23   Investor‐Lender        $       15,000.00   4‐331
    5           7749‐59 S Yates Boulevard                                      Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23   Investor‐Lender        $       50,000.00   5‐331
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23   Investor‐Lender        $       10,633.00   77‐331
   90           7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23 Investor‐Lender and      $       50,000.00   90‐331
  116      1102 Bingham St, Houston TX 77007                                   Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23 Investor‐Lender and      $       52,474.56   116‐331
  906                     SSDF6                                                Fund              iPlanGroup Agent for Custodian FBO Charles Michael Anglin              $           238,889.23   Investor‐Lender        $       52,474.56   906‐331
   1             1700‐08 Juneway Terrace                                       Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            1‐413
   2            4533‐47 S Calumet Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            2‐413
   4            5450‐52 S Indiana Avenue              118‐132 E Garfield       Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            4‐413
   9               8100 S Essex Avenue             2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            9‐413
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            59‐413
   62             7834‐44 S Ellis Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00   Investor‐Lender                            62‐413

  79       6160‐6212 S Martin Luther King Drive                                Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00     Investor‐Lender                          79‐413
  88           7546‐48 S Saginaw Avenue                                        Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00     Investor‐Lender                          88‐413
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $           260,000.00     Investor‐Lender                          96‐413

   2            4533‐47 S Calumet Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account #      $            67,000.00     Investor‐Lender      $       67,000.00   2‐1137
   2            4533‐47 S Calumet Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account # 3300975   $            57,000.00     Investor‐Lender      $       57,000.00   2‐1176
   2            4533‐47 S Calumet Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA           $            71,321.00     Investor‐Lender      $          971.00   2‐448

   9              8100 S Essex Avenue              2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA           $            71,321.00     Investor‐Lender      $          714.00   9‐448
  68          6217‐27 S Dorchester Avenue                                      Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA           $            71,321.00     Investor‐Lender      $        7,800.00   68‐448




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Property            Property Address                 Alternative Address               Type                                  Claimant Name                         Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                               Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                      Claim Category as           Form               Property
                                                                                                                                                                     Identified on Claim
                                                                                                                                                                            Form)
  76            7635‐43 S East End Avenue                                      Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $             71,321.00   Investor‐Lender     $       10,000.00   76‐448

  83            6356 S California Avenue             2804 W 64th Street        Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $            71,321.00    Investor‐Lender     $        9,321.00   83‐448
  85          7201‐07 S Dorchester Avenue            1401 E 72nd Street        Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $            71,321.00    Investor‐Lender     $        7,800.00   85‐448

  89           7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $            71,321.00    Investor‐Lender     $        3,715.00   89‐448
  120            7823‐27 S Essex Avenue                                        Former Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $            71,321.00    Investor‐Lender     $       31,000.00   120‐448
  68          6217‐27 S Dorchester Avenue                                      Estate Property   iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA              $           100,000.00    Investor‐Lender     $      100,000.00   68‐366
   2           4533‐47 S Calumet Avenue                                        Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $       50,000.00   2‐1446
  69              6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $       55,000.00   69‐1446
  74             3074 Cheltenham Place                7836 S Shore Drive       Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $      100,000.00   74‐1446
  85          7201‐07 S Dorchester Avenue             1401 E 72nd Street       Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $       20,000.00   85‐1446
  94            816‐20 E Marquette Road                                        Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $       50,000.00   94‐1446
  95             8201 S Kingston Avenue                                        Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00    Investor‐Lender     $       60,000.00   95‐1446

10 to 12                  CCF1                                                 Fund              IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00   Investor‐Lender      $       50,000.00   10‐1446
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $           380,000.00   Investor‐Lender      $       45,000.00   96‐1446
   86          7442‐48 S Calumet Avenue                                        Estate Property   iPlanGroup Agent for Custodian FBO Mary Lohrman IRA               $            51,783.33   Investor‐Lender      $       50,000.00   86‐935
   60           7026‐42 S Cornell Avenue                                       Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $          817.00   60‐445
   68         6217‐27 S Dorchester Avenue                                      Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $        7,200.00   68‐445
   83           6356 S California Avenue             2804 W 64th Street        Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $        7,152.00   83‐445
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $       14,264.00   89‐445
  141               431 E 42nd Place                                           Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $       22,944.44   141‐445
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $            44,433.00   Investor‐Lender      $        5,000.00   96‐445
   68         6217‐27 S Dorchester Avenue                                      Estate Property   iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097   $            56,636.17   Investor‐Lender      $       50,000.00   68‐884
    4          5450‐52 S Indiana Avenue              118‐132 E Garfield        Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $           110,000.00   Investor‐Lender      $       10,000.00   4‐829
    9             8100 S Essex Avenue              2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $           110,000.00   Investor‐Lender      $       50,000.00   9‐829
   85         7201‐07 S Dorchester Avenue            1401 E 72nd Street        Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $           110,000.00   Investor‐Lender      $       50,000.00   85‐829
   86          7442‐48 S Calumet Avenue                                        Estate Property   Iplangroup agent for custodian FBO Richard Lohrman IRA            $           129,701.60   Investor‐Lender      $       35,000.00   86‐1363
   88          7546‐48 S Saginaw Avenue                                        Estate Property   Iplangroup agent for custodian FBO Richard Lohrman IRA            $           129,701.60   Investor‐Lender      $      185,000.00   88‐1363
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   iPlanGroup Agent for Custodian FBO Swetha Voddi IRA               $            14,000.00   Investor‐Lender      $       14,000.00   96‐1013
   80            2736‐44 W 64th Street                                         Estate Property   iPlanGroup Agent for Custodian Leah Kalish IRA                    $           119,000.00   Investor‐Lender      $       70,000.00   80‐265
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   iPlanGroup Agent for Custodian Leah Kalish IRA                    $           119,000.00   Investor‐Lender      $       49,000.00   90‐265
   74            3074 Cheltenham Place               7836 S Shore Drive        Estate Property   Ira J. Fields Living Trust, Glynis Sheppard, Trustee              $            65,750.00 Investor‐Lender and    $       50,000.00   74‐1240
  904                    SSDF4                                                 Fund              IRA Resources, Inc., FBO Edward Joseph Day, Account # 35‐36374    $            55,555.73    Equity Investor     $       48,553.00   904‐1486

   1            1700‐08 Juneway Terrace                                        Estate Property   IRA Services Trust Company CFBO Melbourne Kimsey II               $           150,000.00     Equity Investor    $       50,000.00   1‐661
  100        11117‐11119 S Longwood Drive                                      Estate Property   IRA Services Trust Company CFBO Melbourne Kimsey II               $           150,000.00     Equity Investor    $       50,000.00   100‐661
  901                    SSDF1                                                 Fund              IRA Services Trust Company CFBO Melbourne Kimsey II               $           150,000.00     Equity Investor    $       50,000.00   901‐661
  901                    SSDF1                                                 Fund              IRA Services Trust Company IRA220656 for Jean‐Marc Cabrol         $           381,650.00     Equity Investor    $      381,650.00   901‐120
   4            5450‐52 S Indiana Avenue              118‐132 E Garfield       Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein             $           114,666.74    Investor‐Lender     $       50,000.00   4‐301
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein             $           114,666.74    Investor‐Lender     $       50,000.00   96‐301
  79       6160‐6212 S Martin Luther King Drive                                Estate Property   Irene Gacad                                                       $            26,103.82    Investor‐Lender     $       25,000.00   79‐647




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                                                                                                        Master Claims List


Property            Property Address               Alternative Address               Type                                    Claimant Name                                  Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                        Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                               Claim Category as            Form              Property
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
  60            7026‐42 S Cornell Avenue                                     Estate Property   Ivan A. Campbell                                                             $             52,000.00   Investor‐Lender                         60‐466
  88           7546‐48 S Saginaw Avenue                                      Estate Property   Ivan A. Campbell                                                             $             52,000.00   Investor‐Lender                         88‐466
  9               8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   James & Suzanne Mandeville                                                   $            113,918.75    Equity Investor    $      110,000.00   9‐785
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   James Anthony Ande                                                           $             75,000.00   Investor‐Lender     $       25,000.00   4‐591
  63           4520‐26 S Drexel Boulevard                                    Estate Property   James Anthony Ande                                                           $             75,000.00    Equity Investor    $       75,000.00   63‐591
  64           4611‐17 S Drexel Boulevard                                    Estate Property   James Anthony Ande                                                           $             75,000.00   Investor‐Lender     $       50,000.00   64‐591
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   James Clements                                                               $            185,910.00   Investor‐Lender     $       50,000.00   9‐1402
  59          6001‐05 S Sacramento Avenue          2945‐51 W 60th Street     Estate Property   James Clements                                                               $            185,910.00   Investor‐Lender     $       70,000.00   59‐1402
  76           7635‐43 S East End Avenue                                     Estate Property   James Clements                                                               $            185,910.00   Investor‐Lender     $       20,000.00   76‐1402

   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   James Clements                                                               $           185,910.00   Investor‐Lender      $       50,000.00   92‐1402
  124            6801 S East End Avenue                                      Former Property   James Clements                                                               $           185,910.00   Investor‐Lender                          124‐1402
  904                    SSDF4                                               Fund              James Henderson                                                              $            49,200.00 Investor‐Lender and    $       49,200.00   904‐931
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   James Hoven                                                                  $            50,000.00   Investor‐Lender      $       50,000.00   74‐2029
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   James M McKnight and Silma L McKnight                                        $             5,546.87   Investor‐Lender      $        6,000.00   9‐779
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   James M McKnight and Silma L McKnight                                        $           140,325.13   Investor‐Lender      $       85,000.00   9‐582
   67             1131‐41 E 79th Place                                       Estate Property   James M McKnight and Silma L McKnight                                        $           140,325.13   Investor‐Lender      $       11,000.00   67‐582

   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   James M McKnight and Silma L McKnight                                        $           140,325.13    Investor‐Lender     $       11,000.00   87‐582
  904                     SSDF4                                              Fund              James M McKnight and Silma L McKnight                                        $             5,546.87     Equity Investor    $        6,000.00   904‐779
  904                     SSDF4                                              Fund              James M McKnight and Silma L McKnight                                        $           140,325.13    Investor‐Lender     $       48,000.00   904‐582
   61           7237‐43 S Bennett Avenue                                     Estate Property   James Patrick Sullivan                                                       $            20,000.00    Investor‐Lender     $       20,000.00   61‐627
   61           7237‐43 S Bennett Avenue                                     Estate Property   James Patrick Sullivan                                                       $            80,750.00    Investor‐Lender     $       30,000.00   61‐125
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   James Patrick Sullivan                                                       $            80,750.00    Investor‐Lender     $       50,000.00   71‐125
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   James Taber                                                                  $           125,000.00    Investor‐Lender     $       50,000.00   87‐780
  115             109 N Laramie Avenue                                       Former Property   James Taber                                                                  $           125,000.00    Investor‐Lender     $       50,000.00   115‐780
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   James Tutsock                                                                $           900,000.00    Investor‐Lender     $       47,286.00   9‐2057
   57          8214‐16 S Ingleside Avenue                                    Estate Property   James Tutsock                                                                $           900,000.00    Investor‐Lender                         57‐2057
   63          4520‐26 S Drexel Boulevard                                    Estate Property   James Tutsock                                                                $           169,483.00     Equity Investor    $      319,483.00   63‐2057
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   James Tutsock                                                                $           900,000.00    Investor‐Lender                         78‐2057
  100        11117‐11119 S Longwood Drive                                    Estate Property   James Tutsock                                                                $           169,483.00     Equity Investor    $      250,000.00   100‐2057
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   James Tutsock                                                                $           900,000.00    Investor‐Lender     $      180,517.00   112‐2057
 13‐15            2909‐19 E 78th Street                                      Fund              James Tutsock                                                                $           169,483.00     Equity Investor    $      100,000.00   13‐2057
   64          4611‐17 S Drexel Boulevard                                    Estate Property   James Walsh                                                                  $           200,000.00    Investor‐Lender     $       50,000.00   64‐2058
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   James Walsh                                                                  $           200,000.00    Investor‐Lender     $       50,000.00   79‐2058
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street      Estate Property   James Walsh                                                                  $           200,000.00    Investor‐Lender     $      100,000.00   92‐2058
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Jane Shafrin                                                                 $           110,000.00    Investor‐Lender     $       50,000.00   82‐188
13 to 15                   CCF2                                              Fund              Jane Shafrin                                                                 $           110,000.00    Investor‐Lender     $       60,000.00   13‐188
    1           1700‐08 Juneway Terrace                                      Estate Property   Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )   $           160,543.38    Investor‐Lender     $       87,000.00   1‐689

   5           7749‐59 S Yates Boulevard                                     Estate Property   Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )   $           160,543.38    Investor‐Lender     $       50,000.00   5‐689
  145          4755 S St Lawrence Avenue                                     Former Property   Jannapureddy Brothers                                                        $            19,251.27     Equity Investor    $      140,000.00   145‐1491
   62            7834‐44 S Ellis Avenue                                      Estate Property   Jason Park                                                                   $            38,000.00    Investor‐Lender     $       25,000.00   62‐814




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                                                                                                       Master Claims List


Property            Property Address               Alternative Address               Type                                   Claimant Name   Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                        Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                               Claim Category as            Form              Property
                                                                                                                                              Identified on Claim
                                                                                                                                                     Form)
  69             6250 S Mozart Avenue             2832‐36 W 63rd Street      Estate Property   Jason Park                                   $             38,000.00   Investor‐Lender     $       10,000.00   69‐814
   1            1700‐08 Juneway Terrace                                      Estate Property   Jason Ragan ‐ TSA                            $            128,050.00    Equity Investor    $       10,000.00   1‐1133

   1            1700‐08 Juneway Terrace                                      Estate Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $       20,000.00   1‐796
   5            7749‐59 S Yates Boulevard                                    Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $        3,451.00   5‐797
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $        1,547.00   9‐797
  60            7026‐42 S Cornell Avenue                                     Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $        1,241.00   60‐797
  61            7237‐43 S Bennett Avenue                                     Estate Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $       25,500.00   61‐796
  77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $        2,022.00   77‐797
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $        4,747.00   78‐797
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $      110,000.00   79‐797

   87             7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $       16,100.00   87‐796
   87             7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                            $           128,050.00    Equity Investor     $       20,600.00   87‐1133
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $       29,562.00   89‐796
  109           4750‐52 S Indiana Avenue                                     Estate Property   Jason Ragan ‐ TSA                            $           128,050.00    Equity Investor     $       80,000.00   109‐1133


  130            4511 N Merimac Avenue                                       Former Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $       21,522.04   130‐796
  135            4930 W Cornelia Avenue                                      Former Property   Jason Ragan ‐ TSA                            $           473,079.71    Equity Investor     $        5,525.25   135‐796
  904                    SSDF4                                               Fund              Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $       50,000.00   904‐797
  906                    SSDF6                                               Fund              Jason Ragan ‐ TSA                            $           327,324.29    Equity Investor     $       60,000.00   906‐797

  908                    SSDF8                                               Fund              Jason Ragan ‐ TSA                            $           128,050.00     Equity Investor    $       17,450.00   908‐1133
  908                    SSDF8                                               Fund              Jason Ragan ‐ TSA                            $           327,324.29     Equity Investor    $       54,289.29   908‐797
  911              Hybrid Capital Fund                                       Fund              Jason Ragan ‐ TSA                            $           473,079.71     Equity Investor    $       24,300.00   911‐796
13 to 15                  CCF2                                               Fund              Jason Ragan ‐ TSA                            $           327,324.29     Equity Investor    $      100,000.00   13‐797
 13‐15            2909‐19 E 78th Street                                      Fund              Jason Ragan ‐ TSA                            $           473,079.71     Equity Investor    $       54,500.00   13‐796
 96‐99           8326‐50 S Ellis Avenue                                      Estate Property   Jason Ragan ‐ TSA                            $           473,079.71     Equity Investor    $      276,489.58   96‐796
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Jay Sutherland                               $            51,749.99    Investor‐Lender     $       50,000.00   82‐619

  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   JBMacy Solo 401K Trust                       $            61,950.00    Investor‐Lender     $       60,000.00   92‐1193
  61            7237‐43 S Bennett Avenue                                     Estate Property   JDSKPS LLC, Jeffrey Steybe Mgr               $           156,000.00    Investor‐Lender     $      150,000.00   61‐826

   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Jeffery B McMeans                            $            53,333.35    Investor‐Lender     $       50,000.00   79‐279
13 to 15                  CCF2                                               Fund              Jeffery B McMeans                            $            53,203.10     Equity Investor    $       50,000.00   13‐279
   40           7953 S Woodlawn Avenue                                       Estate Property   Jeffrey Lee Blankenship                      $            89,822.12    Investor‐Lender     $       30,629.18   40‐1241
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Jeffrey Lee Blankenship                      $           103,698.00     Equity Investor                        63‐1241
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Jeffrey Lee Blankenship                      $           103,698.00     Equity Investor                        64‐1241
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Jeffrey Lee Blankenship                      $            89,822.12    Investor‐Lender     $       75,855.00   68‐1241
   71             701‐13 S 5th Avenue                   414 Walnut           Estate Property   Jeffrey Lee Blankenship                      $            89,822.12    Investor‐Lender     $       93,698.00   71‐1241
  131           4108 N Monticello Avenue                                     Former Property   Jeffrey Lee Blankenship                      $            89,822.12    Investor‐Lender     $       48,890.12   131‐1241
   76          7635‐43 S East End Avenue                                     Estate Property   Jeffry M. Edwards                            $            50,000.00    Investor‐Lender     $       50,000.00   76‐666
  901                    SSDF1                                               Fund              Jeremy Hemphill                              $            54,000.00     Equity Investor    $       50,000.00   901‐290




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Property            Property Address               Alternative Address               Type                                    Claimant Name   Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                         Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                Claim Category as             Form              Property
                                                                                                                                               Identified on Claim
                                                                                                                                                      Form)
  901                    SSDF1                                               Fund              Jeremy Hemphill for REAP, LLC                 $            108,000.00     Equity Investor    $      100,000.00   63‐1371
   62            7834‐44 S Ellis Avenue                                      Estate Property   Jerome B. Shaffer                             $            250,000.00    Investor‐Lender     $       14,736.00   62‐992
   71             701‐13 S 5th Avenue                   414 Walnut           Estate Property   Jerome B. Shaffer                             $            250,000.00    Investor‐Lender     $       85,264.00   71‐992
   86          7442‐48 S Calumet Avenue                                      Estate Property   Jerome B. Shaffer                             $            250,000.00    Investor‐Lender     $      150,000.00   86‐992
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Jerome B. Shaffer and Sharon Shaffer          $            150,000.00    Investor‐Lender     $      150,000.00   9‐993
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Jerome B. Shaffer, Trustee                    $            100,000.00    Investor‐Lender     $      100,000.00   68‐538
   84            7051 S Bennett Avenue                                       Estate Property   Jerry Adamsky                                 $             84,000.00    Investor‐Lender     $       50,000.00   84‐888
13 to 15                  CCF2                                               Fund              Jerry Adamsky                                 $             84,000.00    Investor‐Lender     $       50,000.00   13‐888
  N/A                     N/A                                                Other             Jessica Baier                                  $              1,982.05     Independent                           933
    1           1700‐08 Juneway Terrace                                      Estate Property   Jill Meekcoms (Halverson)                     $            113,999.92    Investor‐Lender     $       50,000.00   1‐548
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Jill Meekcoms (Halverson)                     $            113,999.92    Investor‐Lender     $       50,000.00   74‐548
   76          7635‐43 S East End Avenue                                     Estate Property   JK Electron, Inc., Jan Kobylarczyk            $             13,250.00     Trade Creditor     $       13,250.00   76‐1297
   56              8209 S Ellis Avenue                                       Estate Property   JKG Investments, LLC                          $             25,000.00    Investor‐Lender     $       25,000.00   56‐1181
  109          4750‐52 S Indiana Avenue                                      Estate Property   JLE Investments, LLC c/o James Eng             $              8,330.19   Investor‐Lender     $       13,204.91   109‐501
    1           1700‐08 Juneway Terrace                                      Estate Property   JLO Enterprises LLC                           $             54,714.37    Investor‐Lender     $       37,000.00   1‐726
   71             701‐13 S 5th Avenue                   414 Walnut           Estate Property   JLO Enterprises LLC                           $             54,714.37    Investor‐Lender     $       15,750.00   71‐726
  904                    SSDF4                                               Fund              JLO Enterprises LLC                           $            315,002.49     Equity Investor    $       20,000.00   904‐726
10 to 12       7301‐09 S Stewart Avenue                                      Fund              JLO Enterprises LLC                           $            315,002.49     Equity Investor    $      250,000.00   10‐726
 13‐15            2909‐19 E 78th Street                                      Fund              JLO Enterprises LLC                           $            315,002.49     Equity Investor    $       33,000.00   13‐726
    1           1700‐08 Juneway Terrace                                      Estate Property   JML Roth LLC                                   $              4,140.01   Investor‐Lender     $        4,000.00   1‐725
10 to 12       7301‐09 S Stewart Avenue                                      Fund              JML Roth LLC                                  $             31,200.00     Equity Investor    $       30,000.00   10‐725
   68         6217‐27 S Dorchester Avenue                                    Estate Property   JN Investment Trust, Trustee Janice Nelson    $            160,000.00    Investor‐Lender     $       50,000.00   68‐556
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   JN Investment Trust, Trustee Janice Nelson    $            160,000.00    Investor‐Lender     $       60,000.00   85‐556

  124            6801 S East End Avenue                                      Former Property   JN Investment Trust, Trustee Janice Nelson    $           160,000.00   Investor‐Lender       $       50,000.00   124‐556
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Joe F Siracusa                                $            60,000.00   Investor‐Lender       $       60,000.00   68‐177
   62             7834‐44 S Ellis Avenue                                     Estate Property   Joel Feingold JFKN Investment Trust           $            95,000.00   Investor‐Lender       $       30,000.00   62‐527
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Joel Feingold JFKN Investment Trust           $            95,000.00   Investor‐Lender       $       40,000.00   87‐527
  100        11117‐11119 S Longwood Drive                                    Estate Property   Joel Feingold JFKN Investment Trust           $            95,000.00   Investor‐Lender       $       25,000.00   100‐527
   1            1700‐08 Juneway Terrace                                      Estate Property   John A Martino                                $           100,000.00   Investor‐Lender       $      100,000.00   1‐1494
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   John A Martino & Carole J Wysocki             $            12,171.78   Investor‐Lender       $       50,000.00   79‐1493
  100        11117‐11119 S Longwood Drive                                    Estate Property   John and Cynthia Braden                       $            43,888.41   Investor‐Lender       $       50,000.00   100‐1047
  904                     SSDF4                                              Fund              John and Cynthia Love                         $            84,506.24 Investor‐Lender and     $       75,000.00   904‐699
 13‐15                     CCF2                                              Fund              John Asciutto                                 $            50,000.00    Equity Investor      $       50,000.00   13‐1209

   6           6437‐41 S Kenwood Avenue                                      Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         6‐2004
                                                                                                                                                                       Equity Investor
  54             8000‐02 S Justine Street           1541 E 80th Street       Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         54‐2004
                                                                                                                                                                       Equity Investor
  55              8107‐09 S Ellis Avenue                                     Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         55‐2004
                                                                                                                                                                       Equity Investor
  60            7026‐42 S Cornell Avenue                                     Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         60‐2004
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         79‐2004
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   John B. Allred & Glenda K. Allred             $         1,421,646.52 Investor‐Lender and                         89‐2004



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Property            Property Address                 Alternative Address               Type                                    Claimant Name   Claimed Amount (Total      Claim Category as    Amount Claimed to    Claim Number
Number                                                                                                                                           Claimed Amount in       Identified on Claim     be Invested in
                                                                                                                                                  Claim Category as             Form               Property
                                                                                                                                                 Identified on Claim
                                                                                                                                                        Form)
  100        11117‐11119 S Longwood Drive                                      Estate Property   John B. Allred & Glenda K. Allred              $         1,421,646.52   Investor‐Lender and                       100‐2004
  115            109 N Laramie Avenue                                          Former Property   John B. Allred & Glenda K. Allred              $         1,421,646.52   Investor‐Lender and                       115‐2004
  118            400 S Kilbourn Avenue                                         Former Property   John B. Allred & Glenda K. Allred              $         1,421,646.52   Investor‐Lender and                       118‐2004
                                                                                                                                                                            Equity Investor
  123           7107‐29 S Bennett Avenue                                       Former Property   John B. Allred & Glenda K. Allred             $         1,421,646.52    Investor‐Lender and                       123‐2004
  135            4930 W Cornelia Avenue                                        Former Property   John B. Allred & Glenda K. Allred             $         1,421,646.52    Investor‐Lender and                       135‐2004
  904                     SSDF4                                                Fund              John B. Allred & Glenda K. Allred             $         1,421,646.52    Investor‐Lender and   $      443,010.24   904‐2004
 13‐15                    CCF2                                                 Fund              John B. Allred & Glenda K. Allred             $         1,421,646.52    Investor‐Lender and   $       50,000.00   13‐2004
   5            7749‐59 S Yates Boulevard                                      Estate Property   John Bloxham                                  $            36,374.24      Investor‐Lender     $       35,000.00   5‐1015
   6           6437‐41 S Kenwood Avenue                                        Estate Property   John Bloxham                                  $            52,000.01      Investor‐Lender     $       50,000.00   6‐1018
   61           7237‐43 S Bennett Avenue                                       Estate Property   John Bloxham                                  $           103,375.00      Investor‐Lender     $      100,000.00   61‐1014
   62             7834‐44 S Ellis Avenue                                       Estate Property   John Bloxham                                  $            51,762.92      Investor‐Lender     $       50,396.00   62‐1016
   64          4611‐17 S Drexel Boulevard                                      Estate Property   John Bloxham                                  $            51,762.92      Investor‐Lender     $       50,000.00   64‐1016
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   John Bloxham                                  $           110,000.00      Investor‐Lender     $        7,009.00   69‐1196
   70             638‐40 N Avers Avenue                                        Estate Property   John Bloxham                                  $            63,999.92      Investor‐Lender     $       50,000.00   70‐1017
   76          7635‐43 S East End Avenue                                       Estate Property   John Bloxham                                  $            51,500.00      Investor‐Lender     $       50,000.00   76‐1012
   88          7546‐48 S Saginaw Avenue                                        Estate Property   John Bloxham                                  $            25,123.83      Investor‐Lender     $       24,333.00   88‐1019

   88          7546‐48 S Saginaw Avenue                                        Estate Property   John Bloxham                                  $           110,000.00      Investor‐Lender     $       52,991.00   88‐1196
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   John Bloxham                                  $            36,826.17      Investor‐Lender     $       35,667.00   89‐1211
   93          7953‐59 S Marquette Road             2708‐10 E 80th Street      Estate Property   John Bloxham                                  $           110,000.00      Investor‐Lender     $      110,000.00   93‐1196
  904                     SSDF4                                                Fund              John Bloxham                                  $            51,500.00       Equity Investor    $       50,000.00   904‐1012
  908                     SSDF8                                                Fund              John Bloxham                                  $            25,123.83       Equity Investor    $       24,333.00   908‐1019
  908                     SSDF8                                                Fund              John Bloxham                                  $            35,667.00       Equity Investor    $       35,667.00   908‐1211
  908                     SSDF8                                                Fund              John Bloxham                                  $           102,991.00       Equity Investor    $      162,991.00   908‐1196
  92             7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property   John Bloxham for JBMacy Solo 401K Trust       $            61,950.00      Investor‐Lender     $       60,000.00   92‐1011
   61          7237‐43 S Bennett Avenue                                        Estate Property   John Braden and Cynthia Braden                $            42,000.64      Investor‐Lender     $       50,000.00   61‐1051
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   John Braden and Cynthia Braden                $             6,716.67      Investor‐Lender     $       10,000.00   69‐1050
   82           6355‐59 S Talman Avenue             2616‐22 W 64th Street      Estate Property   John Braden and Cynthia Braden                $            37,691.67      Investor‐Lender     $       50,000.00   82‐1049
  902                     SSDF2                                                Fund              John Braden and Cynthia Braden                $            50,000.00      Investor‐Lender     $       50,000.00   902‐1054

  904                     SSDF4                                                Fund              John Braden and Cynthia Braden                $            46,508.23      Investor‐Lender     $       50,000.00   904‐1055

   79      6160‐6212 S Martin Luther King Drive                                Estate Property   John E Mize                                   $            50,000.00      Investor‐Lender     $       50,000.00   79‐649
   77         7750‐58 S Muskegon Avenue             2818‐36 E 78th Street      Estate Property   John E. Wysocki                               $           117,000.00       Equity Investor                        77‐740
   83           6356 S California Avenue             2804 W 64th Street        Estate Property   John E. Wysocki                               $           117,000.00       Equity Investor                        83‐740
   88          7546‐48 S Saginaw Avenue                                        Estate Property   John E. Wysocki                               $           117,000.00       Equity Investor                        88‐740
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   John E. Wysocki                               $           117,000.00       Equity Investor                        90‐740
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   John E. Wysocki                               $           117,000.00       Equity Investor                        96‐740
  907                    SSDF7                                                 Fund              John Gorske                                   $            53,087.30       Equity Investor    $       53,087.00   907‐1208
 13‐15            2909‐19 E 78th Street                                        Fund              John Hutchison                                $            50,000.00      Investor‐Lender     $       50,000.00   13‐1376
  67              1131‐41 E 79th Place                                         Estate Property   John Love                                     $           207,500.00       Equity Investor    $      200,000.00   67‐698
  71              701‐13 S 5th Avenue                    414 Walnut            Estate Property   John Love                                     $            31,275.00      Investor‐Lender     $       30,000.00   71‐719
  904                    SSDF4                                                 Fund              John Love                                     $            46,350.00       Equity Investor    $       45,000.00   904‐719



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Property         Property Address            Alternative Address               Type                                 Claimant Name   Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                       Claim Category as            Form              Property
                                                                                                                                      Identified on Claim
                                                                                                                                             Form)
   58        5955 S Sacramento Avenue       2948‐56 W 60th Street      Estate Property   John McDevitt                              $            220,000.00    Equity Investor    $       20,000.00   58‐2090
   67            1131‐41 E 79th Place                                  Estate Property   John McDevitt                              $            220,000.00    Equity Investor    $       50,000.00   67‐2090
  100      11117‐11119 S Longwood Drive                                Estate Property   John McDevitt                              $            220,000.00    Equity Investor    $      100,000.00   100‐2090
  904             Legacy Fund SSDF 4                                   Fund              John McDevitt                              $            220,000.00    Equity Investor    $       50,000.00   904‐2090
   78         7201 S Constance Avenue       1825‐31 E 72nd Street      Estate Property   John P. Sullivan                           $            107,000.00   Investor‐Lender     $       50,000.00   78‐660
   80           2736‐44 W 64th Street                                  Estate Property   John P. Sullivan                           $            107,000.00   Investor‐Lender     $       57,000.00   80‐660
   94         816‐20 E Marquette Road                                  Estate Property   John R Taxeras                             $            105,686.72   Investor‐Lender     $       50,000.00   94‐994
   68       6217‐27 S Dorchester Avenue                                Estate Property   John Taxeras                               $            105,686.72   Investor‐Lender     $        1,830.00   68‐994
   74          3074 Cheltenham Place         7836 S Shore Drive        Estate Property   John Taxeras                               $            105,686.72   Investor‐Lender     $       18,552.85   74‐994
   77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street      Estate Property   John Taxeras                               $            105,686.72    Equity Investor    $       21,400.00   77‐994
  130         4511 N Merimac Avenue                                    Former Property   John Taxeras                               $            105,686.72   Investor‐Lender     $       25,000.00   130‐994
   5         7749‐59 S Yates Boulevard                                 Estate Property   John Witzigreuter                          $            200,000.00   Investor‐Lender     $       50,000.00   5‐729
   64        4611‐17 S Drexel Boulevard                                Estate Property   John Witzigreuter                          $            200,000.00   Investor‐Lender     $       50,000.00   64‐729
   73          7255‐57 S Euclid Avenue      1940‐44 E 73rd Street      Estate Property   John Witzigreuter                          $            200,000.00   Investor‐Lender     $       50,000.00   73‐729
   92          7748‐52 S Essex Avenue       2450‐52 E 78th Street      Estate Property   John Witzigreuter                          $            200,000.00   Investor‐Lender     $       50,000.00   92‐729
  901                   SSDF1                                          Fund              John Witzigreuter                          $            250,000.00    Equity Investor    $      200,000.00   901‐729

   73         7255‐57 S Euclid Avenue       1940‐44 E 73rd Street      Estate Property   Johnny Colson                              $            35,952.85    Investor‐Lender     $       50,000.00   73‐108
  903                   SSDF3                                          Fund              Johnstun, Chad                             $           190,729.17     Equity Investor    $      190,729.17   903‐2071
  57         8214‐16 S Ingleside Avenue                                Estate Property   Joral Schmalle                             $         1,735,782.00    Investor‐Lender     $      759,000.00   57‐730
  123        7107‐29 S Bennett Avenue                                  Former Property   Joral Schmalle                             $         1,735,782.00    Investor‐Lender     $      630,000.00   123‐730
  90         7656‐58 S Kingston Avenue    2514‐2520 East 77th Street   Estate Property   Jose Galarza                               $            20,107.00    Investor‐Lender     $       35,107.00   90‐1405
  60          7026‐42 S Cornell Avenue                                 Estate Property   Joseph E. Kennedy                          $            60,412.54    Investor‐Lender     $       45,141.00   60‐435
  60          7026‐42 S Cornell Avenue                                 Estate Property   Joseph E. Kennedy                          $           298,138.29    Investor‐Lender     $       40,979.00   60‐106
  100      11117‐11119 S Longwood Drive                                Estate Property   Joseph E. Kennedy                          $           298,138.29    Investor‐Lender     $       50,000.00   100‐106
  115           109 N Laramie Avenue                                   Former Property   Joseph E. Kennedy                          $           298,138.29    Investor‐Lender     $      181,311.00   115‐106
   5         7749‐59 S Yates Boulevard                                 Estate Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       10,000.00   5‐1367
   62           7834‐44 S Ellis Avenue                                 Estate Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       27,884.00   62‐1367
  63         4520‐26 S Drexel Boulevard                                Estate Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       45,000.00   63‐1367
  73          7255‐57 S Euclid Avenue       1940‐44 E 73rd Street      Estate Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       40,000.00   73‐1367
  124          6801 S East End Avenue                                  Former Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       25,000.00   124‐1367
  901                   SSDF1                                          Fund              Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       45,000.00   901‐1367

  904                 SSDF4                                            Fund              Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       90,000.00   904‐1367
13 to 15               CCF2                                            Fund              Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       50,000.00   13‐1367
 96‐99        8326‐58 S Ellis Avenue                                   Estate Property   Joseph P. McCarthy                         $           277,847.33    Investor‐Lender     $       15,000.00   96‐1367
   63       4520‐26 S Drexel Boulevard                                 Estate Property   Joshua Lapin                               $            25,000.00     Equity Investor    $       25,000.00   63‐1243

  74          3074 Cheltenham Place          7836 S Shore Drive        Estate Property   Joshua Morrow                              $            51,749.99    Investor‐Lender     $       50,000.00   74‐734
   2         4533‐47 S Calumet Avenue                                  Estate Property   Joshua Paul Mora                           $            57,000.00    Investor‐Lender                         2‐1113
 13‐15         2909‐19 E 78th Street                                   Fund              Jossie Romero                              $            53,541.66     Equity Investor    $       50,000.00   13‐86
  67           1131‐41 E 79th Place                                    Estate Property   Julia Pong                                 $            18,418.05     Equity Investor    $       18,382.00   67‐1022
  74          3074 Cheltenham Place          7836 S Shore Drive        Estate Property   Julia Pong                                 $            34,947.00    Investor‐Lender     $       34,572.00   74‐1022




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Property            Property Address              Alternative Address             Type                                   Claimant Name                           Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                             Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                    Claim Category as           Form               Property
                                                                                                                                                                   Identified on Claim
                                                                                                                                                                          Form)
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Julie Elaine Fogle                                                   $             50,000.00   Investor‐Lender     $       50,000.00   92‐235
   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Julie Patel                                                          $             97,038.00   Investor‐Lender     $       10,000.00   4‐409
   5            7749‐59 S Yates Boulevard                                 Estate Property   Julie Patel                                                          $             97,038.00   Investor‐Lender     $       35,291.00   5‐409

  6            6437‐41 S Kenwood Avenue                                   Estate Property   Julie Patel                                                          $            97,038.00    Investor‐Lender     $       40,000.00   6‐409
  84             7051 S Bennett Avenue                                    Estate Property   Julie Patel                                                          $            97,038.00    Investor‐Lender     $        1,409.00   84‐409
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Julie Patel                                                          $            97,038.00    Investor‐Lender     $       10,338.00   89‐409
   1            1700‐08 Juneway Terrace                                   Estate Property   Juliette Farr‐Barksdale & Thomas Farr                                $           323,900.00     Equity Investor    $      300,000.00   1‐2074
  72            7024‐32 S Paxton Avenue                                   Estate Property   Juliette Farr‐Barksdale & Thomas Farr                                $           323,900.00     Equity Investor    $       23,900.00   72‐2074

  67              1131‐41 E 79th Place                                    Estate Property   Justin Tubbs                                                         $            15,000.00    Investor‐Lender     $       15,000.00   67‐242
   1            1700‐08 Juneway Terrace                                   Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $           220,000.00    Investor‐Lender     $      100,000.00   1‐121
  60            7026‐42 S Cornell Avenue                                  Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $           220,000.00    Investor‐Lender     $       40,000.00   60‐121
  63           4520‐26 S Drexel Boulevard                                 Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $           185,000.00     Equity Investor    $      125,000.00   63‐121
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $           220,000.00    Investor‐Lender     $       80,000.00   89‐121
  904                    SSDF4                                            Fund              KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $           185,000.00     Equity Investor    $       60,000.00   904‐121
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Karen Droste                                                         $            74,000.00    Investor‐Lender     $       74,000.00   89‐605
   5           7749‐59 S Yates Boulevard                                  Estate Property   Karen L Hendrickson                                                  $            10,597.66    Investor‐Lender     $       10,000.00   5‐948

   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90    Investor‐Lender     $      150,000.00   4‐1179

   64          4611‐17 S Drexel Boulevard                                 Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90   Investor‐Lender      $      300,000.00   64‐1179
  68          6217‐27 S Dorchester Avenue                                 Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90   Investor‐Lender      $      150,000.00   68‐1179
  71              701‐13 S 5th Avenue                 414 Walnut          Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90   Investor‐Lender      $      300,000.00   71‐1179
  72            7024‐32 S Paxton Avenue                                   Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90   Investor‐Lender      $      150,000.00   72‐1179
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Karl R. DeKlotz                                                      $         1,586,165.90   Investor‐Lender      $      100,000.00   79‐1179
 13‐15            2909‐19 E 78th Street                                   Fund              Karl R. DeKlotz                                                      $         1,586,165.90 Investor‐Lender and    $      200,000.00   13‐1179
  33               3723 W 68th Place                                      Estate Property   Kathleen Martin                                                      $           304,605.24    Equity Investor     $      172,423.00   33‐246
  83            6356 S California Avenue           2804 W 64th Street     Estate Property   Kathleen Martin                                                      $           304,605.24    Equity Investor     $       50,095.00   83‐246
  109           4750‐52 S Indiana Avenue                                  Estate Property   Kathleen Martin                                                      $           304,605.24    Equity Investor     $       50,000.00   109‐246

  129            4494 West Roscoe Street                                  Former Property   Kathleen Martin                                                      $           304,605.24    Equity Investor     $       35,367.00   129‐246
  73             7255‐57 S Euclid Avenue                                  Estate Property   Katie Whitlock                                                       $            61,651.00    Equity Investor                         73‐942
  88            7546‐48 S Saginaw Avenue                                  Estate Property   Katie Whitlock                                                       $            61,651.00    Equity Investor                         88‐942

  129           4494 West Roscoe Street                                   Former Property   Katie Whitlock                                                       $            61,651.00     Equity Investor                        129‐942
  904             SSDF4 Legacy Fund                                       Fund              Keith Cooper ‐ Concorde Management, LLC                              $           335,000.00    Investor‐Lender     $      335,000.00   904‐1183
   5           7749‐59 S Yates Boulevard                                  Estate Property   Keith P Rowland and Jane E Rowland                                   $            52,583.32    Investor‐Lender     $       50,000.00   5‐89
   5           7749‐59 S Yates Boulevard                                  Estate Property   Keith Randall                                                        $           250,000.00    Investor‐Lender     $       70,000.00   5‐1086
   63          4520‐26 S Drexel Boulevard                                 Estate Property   Keith Randall                                                        $           370,000.00     Equity Investor    $      100,000.00   63‐1086

  124            6801 S East End Avenue                                   Former Property   Keith Randall                                                        $           250,000.00    Investor‐Lender     $       80,000.00   124‐1086
  901                    SSDF1                                            Fund              Keith Randall                                                        $           370,000.00     Equity Investor    $      170,000.00   901‐1086
  904                    SSDF4                                            Fund              Keith Randall                                                        $           370,000.00     Equity Investor    $      200,700.00   904‐1086




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Property           Property Address              Alternative Address            Type                                   Claimant Name                                  Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                         Claim Category as           Form               Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
 96‐99           8326‐58 S Ellis Avenue                                 Estate Property   Keith Randall                                                               $            250,000.00   Investor‐Lender     $      100,000.00   96‐1086

   73            7255‐57 S Euclid Avenue        1940‐44 E 73rd Street   Estate Property   Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)   $            83,813.00    Investor‐Lender     $        8,400.00   73‐310
   82           6355‐59 S Talman Avenue         2616‐22 W 64th Street   Estate Property   Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)   $            83,813.00    Investor‐Lender     $        3,000.00   82‐310
   55             8107‐09 S Ellis Avenue                                Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $            83,813.00    Investor‐Lender     $       26,200.00   55‐310
   78           7201 S Constance Avenue         1825‐31 E 72nd Street   Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $            83,813.00    Investor‐Lender     $       31,233.00   78‐310
   89          7600‐10 S Kingston Avenue        2527‐29 E 76th Street   Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $            83,813.00    Investor‐Lender     $        8,000.00   89‐310
  115             109 N Laramie Avenue                                  Former Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $            83,813.00    Investor‐Lender     $       31,213.00   115‐310
  N/A                      SSDF                                         Fund              Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $            83,813.00     Equity Investor                        310
   62             7834‐44 S Ellis Avenue                                Estate Property   Kelly E Welton, and Mary M Andrews, deceased                                $            83,813.00    Investor‐Lender     $        7,000.00   62‐310
10 to 12                   CCF1                                         Fund              Kelvin Kon                                                                  $            95,000.00     Equity Investor    $       50,000.00   10‐492
13 to 15                   CCF2                                         Fund              Kelvin Kon                                                                  $            95,000.00     Equity Investor    $       45,000.00   13‐492
  108              2800‐06 E 81st Street                                Estate Property   Kendall Chenier                                                             $           667,084.15         Other                              108‐1144
  113            7840‐42 S Yates Avenue                                 Estate Property   Kendall Chenier                                                             $           667,084.15         Other                              113‐1144
  145          4755 S St Lawrence Avenue                                Former Property   Kendall Chenier                                                             $             9,858.12    Investor‐Lender     $        9,858.12   145‐1144
   55             8107‐09 S Ellis Avenue                                Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $       31,000.00   55‐194
   62             7834‐44 S Ellis Avenue                                Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $        4,246.00   62‐194
   64          4611‐17 S Drexel Boulevard                               Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $      150,000.00   64‐194
   70            638‐40 N Avers Avenue                                  Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $      146,902.00   70‐194
   73            7255‐57 S Euclid Avenue        1940‐44 E 73rd Street   Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $       51,544.00   73‐194
   74            3074 Cheltenham Place           7836 S Shore Drive     Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $       42,000.00   74‐194
   92            7748‐52 S Essex Avenue         2450‐52 E 78th Street   Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $      121,506.00   92‐194
  130           4511 N Merimac Avenue                                   Former Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $       60,000.00   130‐194
  N/A                      N/A                                          UPN               Kenneth (Ken) and Maria (Tina) Jorgensen                                    $           453,233.25    Investor‐Lender     $       37,956.48   194
10 to 12                   CCF1                                         Fund              Kennett, Victor S ‐ Kennett Family Trust                                    $           200,000.00     Equity Investor    $      200,000.00   10‐2033
   71              701‐13 S 5th Avenue               414 Walnut         Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $           152,911.82    Investor‐Lender     $       68,000.00   71‐944
   74            3074 Cheltenham Place            7836 S Shore Drive    Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $           152,911.82    Investor‐Lender     $       50,000.00   74‐944
   82           6355‐59 S Talman Avenue         2616‐22 W 64th Street   Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $           152,911.82    Investor‐Lender     $       30,000.00   82‐944
    5          7749‐59 S Yates Boulevard                                Estate Property   Kevin & Laura Allred                                                        $            61,000.00    Investor‐Lender     $       50,000.00   5‐452
   67              1131‐41 E 79th Place                                 Estate Property   Kevin & Laura Allred                                                        $            61,000.00    Investor‐Lender     $       11,000.00   67‐452
   50              7760 S Coles Avenue                                  Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $           102,367.34    Investor‐Lender     $       76,000.00   50‐497
   62             7834‐44 S Ellis Avenue                                Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $           102,367.34    Investor‐Lender     $       48,000.00   62‐497
  110      5618‐20 S Martin Luther King Drive                           Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $           102,367.34    Investor‐Lender     $      200,000.00   110‐497
  112              7450 S Luella Avenue         2220 East 75th Street   Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $           102,367.34    Investor‐Lender     $       50,000.00   112‐497
   62             7834‐44 S Ellis Avenue                                Estate Property   Kevin Chang                                                                 $            65,000.00    Investor‐Lender     $       65,000.00   62‐305
   69             6250 S Mozart Avenue          2832‐36 W 63rd Street   Estate Property   Kevin Lyons                                                                 $            98,899.84     Equity Investor    $       25,000.00   69‐610
  111             6558 S Vernon Avenue           416‐24 E 66th Street   Estate Property   Kevin Lyons                                                                 $            98,899.84     Equity Investor    $       25,000.00   111‐610
  126        5201‐5207 W Washington Blvd                                Former Property   Kevin Lyons                                                                 $            98,899.84     Equity Investor    $       50,000.00   126‐610
   68         6217‐27 S Dorchester Avenue                               Estate Property   Kevin Randall                                                               $           200,000.00    Investor‐Lender     $       70,000.00   68‐811
   74            3074 Cheltenham Place           7836 S Shore Drive     Estate Property   Kevin Randall                                                               $           200,000.00    Investor‐Lender     $       50,000.00   74‐811
  904                     SSDF4                                         Fund              Kevin Randall                                                               $           200,000.00     Equity Investor    $      200,000.00   904‐811
 96‐99            8326‐58 S Ellis Avenue                                Estate Property   Kevin Randall                                                               $           200,000.00    Investor‐Lender     $       70,000.00   96‐811




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Property            Property Address                 Alternative Address               Type                                   Claimant Name                               Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                      Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                             Claim Category as            Form              Property
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
   84             7051 S Bennett Avenue                                        Estate Property   Kimberly W Robinson                                                      $             98,000.00   Investor‐Lender     $       50,000.00   84‐1245
  123           7107‐29 S Bennett Avenue                                       Former Property   Kimberly W Robinson                                                      $             98,000.00   Investor‐Lender     $       30,000.00   123‐1245
  123           7107‐29 S Bennett Avenue                                       Former Property   Kingdom Trust Company custodian, FBO Louis Duane Velez SEP IRA Acc.      $             43,046.58   Investor‐Lender     $       50,000.00   123‐1221
   90           7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA Acc.     $            100,000.00   Investor‐Lender     $      100,000.00   90‐1476
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA acct #   $            100,000.00   Investor‐Lender     $      100,000.00   77‐1475
    4            5450‐52 S Indiana Avenue            118‐132 E Garfield        Estate Property   Kirk Road Investments, LLC                                               $            434,195.69   Investor‐Lender     $      121,855.00   4‐755
   52                310 E 50th Street                                         Estate Property   Kirk Road Investments, LLC                                               $            434,195.69   Investor‐Lender     $      193,750.00   52‐755
   64           4611‐17 S Drexel Boulevard                                     Estate Property   Kirk Road Investments, LLC                                               $            434,195.69   Investor‐Lender     $      121,855.00   64‐755
   78            7201 S Constance Avenue            1825‐31 E 72nd Street      Estate Property   Kirk Road Investments, LLC                                               $            434,195.69   Investor‐Lender     $       63,000.00   78‐755
  151              8107 S Coles Avenue                                         Former Property   Kirk Road Investments, LLC                                               $            434,195.69   Investor‐Lender     $       87,500.00   151‐755
13 to 15                   CCF2                                                Fund              Kirk Road Investments, LLC                                               $            318,867.20    Equity Investor    $      235,000.00   13‐755

  5             7749‐59 S Yates Boulevard                                      Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        3,000.00   5‐336
   6           6437‐41 S Kenwood Avenue                                        Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        2,000.00   6‐336
   9               8100 S Essex Avenue             2449‐57 East 81st Street    Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        5,000.00   9‐336
  68          6217‐27 S Dorchester Avenue                                      Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        2,627.40   68‐336
  69              6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        3,500.00   69‐336
  72            7024‐32 S Paxton Avenue                                        Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        3,900.00   72‐336
  74             3074 Cheltenham Place               7836 S Shore Drive        Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        1,600.00   74‐336

   75           7625‐33 S East End Avenue                                      Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $       75,000.00   75‐336
10 to 12                   CCF1                                                Fund              KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        2,000.00   10‐336
 96‐99            8326‐58 S Ellis Avenue                                       Estate Property   KKW Investments, LLC                                                     $           100,033.40    Investor‐Lender     $        7,306.00   96‐336
   75           7625‐33 S East End Avenue                                      Estate Property   Knickerbocker LLC                                                        $           102,505.16    Investor‐Lender     $       39,664.00   75‐2035
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Knickerbocker LLC                                                        $           102,505.16    Investor‐Lender     $       50,000.00   79‐2035
  116       1102 Bingham St, Houston TX 77007                                  Estate Property   Knickerbocker LLC                                                        $           102,505.16    Investor‐Lender     $       50,000.00   116‐2035
  131           4108 N Monticello Avenue                                       Former Property   Knickerbocker LLC                                                        $           102,505.16    Investor‐Lender     $       50,000.00   131‐2035
  908                     SSDF8                                                Fund              Knickerbocker LLC                                                        $           105,387.00     Equity Investor    $       50,000.00   908‐2035
10 to 12                   CCF1                                                Fund              Knickerbocker LLC                                                        $           105,387.00     Equity Investor    $       55,387.00   10‐2035
    2           4533‐47 S Calumet Avenue                                       Estate Property   Koates LLC                                                               $            85,000.00     Equity Investor    $       12,000.00   2‐228
    5           7749‐59 S Yates Boulevard                                      Estate Property   Koates LLC                                                               $            85,000.00     Equity Investor    $        3,200.00   5‐228
    7           7109‐19 S Calumet Avenue                                       Estate Property   Koates LLC                                                               $            85,000.00     Equity Investor    $       12,000.00   7‐228

   61          7237‐43 S Bennett Avenue                                        Estate Property   Koates LLC                                                               $            85,000.00    Equity Investor     $       19,800.00   61‐228
  100        11117‐11119 S Longwood Drive                                      Estate Property   Koates LLC                                                               $            85,000.00    Equity Investor     $       50,000.00   100‐228

  100        11117‐11119 S Longwood Drive                                      Estate Property   Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO    $            22,434.28    Investor‐Lender     $       25,000.00   100‐840
13 to 15                  CCF2                                                 Fund              Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO    $            23,661.80     Equity Investor    $       25,000.00   13‐844
   88          7546‐48 S Saginaw Avenue                                        Estate Property   Krushna Dundigalla                                                       $            60,000.00    Investor‐Lender     $       60,000.00   88‐656
13 to 15                  CCF2                                                 Fund              Krushna M Dundigalla Revocable Living Trust                              $           100,000.00     Equity Investor    $      100,000.00   13‐657
   68         6217‐27 S Dorchester Avenue                                      Estate Property   Kuldeep Jain                                                             $           156,000.00    Investor‐Lender     $      100,000.00   68‐652
   69             6250 S Mozart Avenue              2832‐36 W 63rd Street      Estate Property   Kuldeep Jain                                                             $           156,000.00    Investor‐Lender     $       50,000.00   69‐652
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Kyle Jacobs                                                              $            95,000.00    Investor‐Lender     $       30,000.00   79‐1345
   92            7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property   Kyle Jacobs                                                              $            95,000.00    Investor‐Lender     $       95,000.00   92‐1345



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Property            Property Address                 Alternative Address               Type                                    Claimant Name            Claimed Amount (Total      Claim Category as      Amount Claimed to    Claim Number
Number                                                                                                                                                    Claimed Amount in       Identified on Claim       be Invested in
                                                                                                                                                           Claim Category as             Form                 Property
                                                                                                                                                          Identified on Claim
                                                                                                                                                                 Form)
   87               7508 S Essex Avenue             2453‐59 E 75th Street      Estate Property   LA DONNA WRIGHT ACKLEN                                 $            268,666.74      Investor‐Lender      $       50,000.00   87‐244
   94            816‐20 E Marquette Road                                       Estate Property   LA DONNA WRIGHT ACKLEN                                 $            268,666.74      Investor‐Lender      $       40,000.00   94‐244
  130             4511 N Merimac Avenue                                        Former Property   LA DONNA WRIGHT ACKLEN                                 $            268,666.74      Investor‐Lender      $      120,000.00   130‐244
   49          7300‐04 St Lawrence Avenue                                      Estate Property   LaDawn K. Westbrook ‐ Miss Property LLC                $             71,546.64      Investor‐Lender                          49‐271
  123           7107‐29 S Bennett Avenue                                       Former Property   LaDawn K. Westbrook ‐ Miss Property LLC                $             71,546.64      Investor‐Lender      $       50,000.00   123‐271
  130             4511 N Merimac Avenue                                        Former Property   LaDawn K. Westbrook ‐ Miss Property LLC                $             71,546.64      Investor‐Lender      $        6,978.00   130‐271
  123           7107‐29 S Bennett Avenue                                       Former Property   Lake Erie LLC (Douglas Lichtinger)                     $             21,683.17      Investor‐Lender      $       26,948.71   123‐629
10 to 12         7301‐09 S Stewart Avenue                                      Fund              LaMore, LLC (George Elmore & Marti LaTour)             $            309,999.94      Investor‐Lender      $      250,000.00   10‐765
   61           7237‐43 S Bennett Avenue                                       Estate Property   Larry James Eggenberger                                $             50,000.00      Investor‐Lender      $       50,000.00   61‐402
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Larry White                                            $             53,900.00      Investor‐Lender      $       52,500.00   79‐794
   92             7748‐52 S Essex Avenue            2450‐52 E 78th Street      Estate Property   Larry White                                            $             50,800.00      Investor‐Lender      $       50,000.00   92‐983
   62              7834‐44 S Ellis Avenue                                      Estate Property   Laura J. Sohm IRA                                      $            104,593.29      Investor‐Lender      $       15,000.00   62‐970
   69              6250 S Mozart Avenue             2832‐36 W 63rd Street      Estate Property   Laura J. Sohm IRA                                      $            104,593.29      Investor‐Lender      $       63,315.00   69‐970
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Laura J. Sohm IRA                                      $            104,593.29      Investor‐Lender      $       63,000.00   79‐970
10 to 12         7301‐09 S Stewart Avenue                                      Fund              Laura J. Sohm IRA                                      $            104,593.29   Investor‐Lender and     $       14,000.00   10‐970
   64           4611‐17 S Drexel Boulevard                                     Estate Property   Law Office of V.L. Heger, A Professional Corporation   $             50,369.00      Investor‐Lender      $       50,000.00   64‐1409
   89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property   Law Office of V.L. Heger, A Professional Corporation   $             50,369.00      Investor‐Lender      $       50,000.00   89‐1409
    2           4533‐47 S Calumet Avenue                                       Estate Property   Layne A. Hermansen                                     $             51,000.00      Investor‐Lender      $       51,000.00   2‐1072
    5           7749‐59 S Yates Boulevard                                      Estate Property   Legacy Trading LLC                                     $            257,000.00      Investor‐Lender      $      237,000.00   5‐508
   90           7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   Legacy Trading LLC                                     $            257,000.00      Investor‐Lender      $       20,000.00   90‐508
   59         6001‐05 S Sacramento Avenue           2945‐51 W 60th Street      Estate Property   Leonard Grosso                                         $            177,499.95      Investor‐Lender      $       50,000.00   59‐2024
   62              7834‐44 S Ellis Avenue                                      Estate Property   Leonard Grosso                                         $            177,499.95      Investor‐Lender      $       50,000.00   62‐2024
 96‐99             8326‐58 S Ellis Avenue                                      Estate Property   Leonard Grosso                                         $            177,499.95      Investor‐Lender      $       50,000.00   96‐2024
   53              6807 S Indiana Avenue                                       Estate Property   Leroy & Martha Johnson                                 $             81,066.85      Investor‐Lender      $      100,000.00   53‐1350
    3             5001 S Drexel Boulevard             909 E 50th Street        Estate Property   LEVENT KESEN                                           $            150,000.00      Investor‐Lender      $       50,000.00   3‐1078
   71               701‐13 S 5th Avenue                 414 Walnut             Estate Property   LEVENT KESEN                                           $            150,000.00      Investor‐Lender      $       50,000.00   71‐1078
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   LEVENT KESEN                                           $            150,000.00      Investor‐Lender      $       50,000.00   79‐1078
   67               1131‐41 E 79th Place                                       Estate Property   Lewis Thomas                                           $             25,000.00      Investor‐Lender      $       25,000.00   67‐321
   80              2736‐44 W 64th Street                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40   Institutional Lender                        80‐898
   81           4317‐19 S Michigan Avenue                                      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40   Institutional Lender                        81‐898
   82            6355‐59 S Talman Avenue            2616‐22 W 64th Street      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       82‐898
   83             6356 S California Avenue           2804 W 64th Street        Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       83‐898
   84              7051 S Bennett Avenue                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       84‐898
   85         7201‐07 S Dorchester Avenue            1401 E 72nd Street        Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       85‐898
   86           7442‐48 S Calumet Avenue                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       86‐898
   87               7508 S Essex Avenue             2453‐59 E 75th Street      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       87‐898
   88           7546‐48 S Saginaw Avenue                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40   Institutional Lender                        88‐898
   89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40   Institutional Lender                        89‐898
   90           7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       90‐898
   91             7701‐03 S Essex Avenue                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       91‐898
   92             7748‐52 S Essex Avenue            2450‐52 E 78th Street      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       92‐898
   93           7953‐59 S Marquette Road            2708‐10 E 80th Street      Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       93‐898
   94            816‐20 E Marquette Road                                       Estate Property   Liberty EBCP, LLC                                      $         10,638,796.40    Institutional Lender                       94‐898



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Property            Property Address               Alternative Address               Type                                   Claimant Name                  Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                       Claimed Amount in     Identified on Claim      be Invested in
                                                                                                                                                              Claim Category as            Form               Property
                                                                                                                                                             Identified on Claim
                                                                                                                                                                    Form)
  95             8201 S Kingston Avenue                                      Estate Property   Liberty EBCP, LLC                                           $         10,638,796.40 Institutional Lender                       95‐898
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Liberty EBCP, LLC                                           $         10,638,796.40 Institutional Lender                       96‐898

  58           5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   Liberty Quest Investment Group LLC                          $           210,000.00     Equity Investor     $      210,000.00   58‐587

   60           7026‐42 S Cornell Avenue                                     Estate Property   Linda Lipschultz                                            $            53,405.00    Investor‐Lender      $       22,477.00   60‐1374
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Linda Lipschultz                                            $            53,405.00    Investor‐Lender      $       18,500.00   68‐1374
  125           6548 N Campbell Avenue                                       Former Property   Linda Lipschultz                                            $            53,405.00    Investor‐Lender      $       27,000.00   125‐1374
  904                     SSDF4                                              Fund              Linda Lipschultz                                            $            53,405.00     Equity Investor     $       53,405.00   904‐1374
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.             $            50,000.00    Investor‐Lender      $       50,000.00   96‐586
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Liwen Zhao                                                  $            98,000.00    Investor‐Lender      $      156,000.00   92‐426
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $      100,000.00   4‐1346
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $      215,127.00   9‐1346
  50               7760 S Coles Avenue                                       Estate Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $      100,000.00   50‐1346

   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $       50,000.00   59‐1346
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street      Estate Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $       45,000.00   92‐1346
  159                7420 S Colfax Ave                                       Former Property   LMJ Sales, Inc.                                             $           559,807.34    Investor‐Lender      $      123,100.00   159‐1346
10 to 12                    CCF1                                             Fund              LMJ Sales, Inc.                                             $           270,066.18     Equity Investor     $      100,000.00   10‐1346
102‐106          7927‐49 S Essex Avenue                                      Estate Property   LMJ Sales, Inc.                                             $           270,066.18     Equity Investor     $      115,937.00   102‐1346
  904               SSDF4 Legacy Fund                                        Fund              Lola S. Cooper                                              $           210,000.00    Investor‐Lender      $      210,000.00   904‐1185
   35                 61 E 92nd Street                                       Estate Property   Lorenzo J Jaquias                                           $            71,635.00    Investor‐Lender      $       86,600.00   35‐184
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Lorenzo Jaquias                                             $            71,635.00    Investor‐Lender      $       21,635.00   64‐184
   75          7625‐33 S East End Avenue                                     Estate Property   Lorenzo Jaquias                                             $            71,635.00    Investor‐Lender      $       50,000.00   75‐184
   76          7635‐43 S East End Avenue                                     Estate Property   Lorenzo Jaquias                                             $            71,635.00    Investor‐Lender      $       50,000.00   76‐184
  140            5428 S Michigan Avenue                                      Former Property   Lorenzo Jaquias                                             $            71,635.00    Investor‐Lender      $       42,100.00   140‐184
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Lori Moreland                                               $            21,574.00    Investor‐Lender      $       10,000.00   64‐805
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Lori Moreland                                               $            52,233.00    Investor‐Lender      $       47,000.00   64‐822
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Lori Moreland                                               $            52,233.00    Investor‐Lender      $       45,000.00   64‐823
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Lori Moreland                                               $            21,574.00    Investor‐Lender      $       10,074.00   78‐805
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Lori Moreland                                               $            52,233.00    Investor‐Lender      $       48,087.00   78‐823
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Lori Moreland                                               $           102,348.00    Investor‐Lender      $       52,348.00   78‐822
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Lori Moreland                                               $           102,348.00    Investor‐Lender      $       50,000.00   87‐822
  124            6801 S East End Avenue                                      Former Property   Lori Moreland                                               $           102,348.00    Investor‐Lender      $       11,500.00   124‐805
  124            6801 S East End Avenue                                      Former Property   Lori Moreland                                               $           102,348.00    Investor‐Lender      $        4,246.00   124‐823
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Lori Waring                                                 $            65,063.99    Investor‐Lender      $       50,000.00   85‐675
    2          4533‐47 S Calumet Avenue                                      Estate Property   Lorraine K Mcclane                                          $            36,896.00    Investor‐Lender                          2‐1190

   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Louis Barrows                                               $            25,000.00     Equity Investor     $       25,000.00   79‐494
   88           7546‐48 S Saginaw Avenue                                     Estate Property   Louis Duane Velez, LLC (Louis Duane Velez as manager)       $            50,000.00    Investor‐Lender      $       50,000.00   88‐901
  91             7701‐03 S Essex Avenue                                      Estate Property   Louis Duane Velez, LLC (Louis Duane Velez as the manager)   $           150,000.00    Investor‐Lender      $      150,000.00   91‐1228
  126         5201‐5207 W Washington Blvd                                    Former Property   Louis Duane Velez, LLV (Louis Duane Velez as manager)       $            46,131.09    Investor‐Lender      $       50,000.00   126‐902
   2            4533‐47 S Calumet Avenue                                     Estate Property   Louis Liu                                                   $            37,908.57     Equity Investor     $       50,000.00   2‐929




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Property            Property Address               Alternative Address               Type                                  Claimant Name                               Claimed Amount (Total Claim Category as Amount Claimed to          Claim Number
Number                                                                                                                                                                   Claimed Amount in      Identified on Claim   be Invested in
                                                                                                                                                                          Claim Category as             Form            Property
                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                Form)
  123          7107‐29 S Bennett Avenue                                      Former Property   Low Altitude, LLC                                                       $            100,000.00    Investor‐Lender   $       100,000.00   123‐273
10 to 12                 CCF1                                                Fund              Low Altitude, LLC                                                       $            100,000.00     Equity Investor  $       100,000.00   10‐273
    4          5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Luna and Jerry Ellis                                                    $             41,066.65    Investor‐Lender   $        40,000.00   4‐2020
13 to 15                 CCF2                                                Fund              Lynn Kupfer                                                             $             99,426.00 Investor‐Lender and $         75,000.00   13‐1321
    5          7749‐59 S Yates Boulevard                                     Estate Property   Lynn Marie Kupfer                                                       $            114,201.00    Investor‐Lender   $       100,000.00   5‐1319
  100        11117‐11119 S Longwood Drive                                    Estate Property   Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                       $            200,000.00    Investor‐Lender   $       100,000.00   100‐2053
10 to 12                 CCF1                                                Fund              Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                       $            200,000.00 Investor‐Lender and $        100,000.00   10‐2053
                                                                                                                                                                                                   Equity Investor
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049              $             50,000.00    Investor‐Lender   $        50,000.00   96‐963
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       6‐163
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       9‐163
   58          5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       58‐163
   61           7237‐43 S Bennett Avenue                                     Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       61‐163
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       74‐163
   75          7625‐33 S East End Avenue                                     Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       75‐163
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor                       88‐163
  904                     SSDF4                                              Fund              Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe     $            623,489.57     Equity Investor  $       610,998.00   904‐163
   62             7834‐44 S Ellis Avenue                                     Estate Property   Madison Trust Company Custodian FBO Brent Jacobs                        $             12,119.00    Investor‐Lender   $        12,119.00   62‐431
    1           1700‐08 Juneway Terrace                                      Estate Property   Madison Trust Company Custodian FBO Brian Shaffer IRA Account#          $            155,625.00    Investor‐Lender                        1‐411
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property   Madison Trust Company Custodian FBO Brian Shaffer IRA Account#          $            155,625.00    Investor‐Lender                        71‐411
10 to 12        7301‐09 S Stewart Avenue                                     Fund              Madison Trust Company Custodian FBO Cynthia B. Jennings IRA #M1710119   $            101,400.00    Investor‐Lender   $       100,000.00   10‐269
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Madison Trust Company Custodian FBO David Harris                        $             53,487.09    Investor‐Lender   $        53,000.00   87‐160
    5           7749‐59 S Yates Boulevard                                    Estate Property   Madison Trust Company custodian FBO Guenter Scheel IRA M1702087         $             25,000.00    Investor‐Lender   $        25,000.00   5‐2073

  904                     SSDF4                                              Fund              Madison Trust Company custodian FBO Guenter Scheel IRA M1702087         $           25,000.00     Equity Investor    $       25,000.00    904‐2073
   67              1131‐41 E 79th Place                                      Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐              $           21,833.00     Equity Investor    $       21,092.00    67‐1417
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐              $           51,749.00    Investor‐Lender     $       50,000.00    85‐1417
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Madison Trust Company Custodian FBO James R Robinson Traditional IRA    $           88,099.00    Investor‐Lender     $       25,000.00    6‐1406
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Madison Trust Company Custodian FBO James R Robinson Traditional IRA    $           88,099.00    Investor‐Lender     $       60,000.00    73‐1406
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Madison Trust Company Custodian FBO James R. Talman IRA                 $           20,000.00    Investor‐Lender     $       20,000.00    89‐702
   64          4611‐17 S Drexel Boulevard                                    Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR                 $          107,946.27    Investor‐Lender     $       30,225.00    64‐2056
   70            638‐40 N Avers Avenue                                       Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR                 $          107,946.27    Investor‐Lender     $       30,775.00    70‐2056
  904               SSDF4 Legacy Fund                                        Fund              MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR                 $          107,946.27    Investor‐Lender     $      130,000.00    904‐2056
  71               701‐13 S 5th Avenue                  414 Walnut           Estate Property   Madison Trust Company Custodian FBO Kathy B. Talman IRA                 $           75,000.00    Investor‐Lender     $       50,000.00    71‐1109
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Madison Trust Company Custodian FBO Kathy B. Talman IRA                 $           75,000.00    Investor‐Lender     $       25,000.00    19‐1109
  100        11117‐11119 S Longwood Drive                                    Estate Property   Madison Trust Company Custodian FBO Patrick Coppinger M1708149,         $           60,000.00    Investor‐Lender     $       60,000.00    100‐1430
  69              6250 S Mozart Avenue             2832‐36 W 63rd Street     Estate Property   Madison Trust Company Custodian FBO Robert W. Jennings Account#         $          309,318.75    Investor‐Lender     $      225,461.00    69‐241
   74            3074 Cheltenham Place               7836 S Shore Drive      Estate Property   Madison Trust Company Custodian FBO Robert W. Jennings Account#         $          309,318.75    Investor‐Lender     $       74,539.00    74‐241
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                      $          255,332.70    Investor‐Lender     $      106,000.00    9‐103
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                      $          255,332.70    Investor‐Lender     $       50,000.00    87‐103
   95            8201 S Kingston Avenue                                      Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                      $          255,332.70    Investor‐Lender     $       50,000.00    95‐103
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                      $          255,332.70    Investor‐Lender     $       35,000.00    102‐103
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Madison Trust Company FBO Judy Newton IRA                               $          102,235.61    Investor‐Lender     $       50,000.00    3‐533




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Property            Property Address               Alternative Address               Type                                   Claimant Name                             Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                         Claim Category as            Form              Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Madison Trust Company FBO Judy Newton IRA                              $            102,235.61   Investor‐Lender     $       50,000.00   96‐533
  901                    SSDF1                                               Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company   $            140,592.00    Equity Investor    $       20,000.00   901‐900
  904                    SSDF4                                               Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company   $            140,592.00    Equity Investor    $      100,592.00   904‐900
  939            Equity Build SECPN‐829                                      Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company   $            140,592.00    Equity Investor    $       20,000.00   939‐900
   67             1131‐41 E 79th Place                                       Estate Property   Madison Trust Company FBO Rick Newton SEP IRA                          $             50,000.00   Investor‐Lender     $       50,000.00   67‐532
10 to 12                  CCF1                                               Fund              Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)             $             30,999.94   Investor‐Lender     $       25,000.00   10‐1087
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Madison Trust Custodian FBO Brent Jacobs                               $             37,881.00   Investor‐Lender     $       37,881.00   79‐854
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Maher, Avery (Christopher Maher CESA)                                  $             11,000.00   Investor‐Lender     $       11,000.00   77‐2080

  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Maher, Christopher                                                     $            30,500.00    Investor‐Lender     $       14,000.00   77‐2036
  93            7953‐59 S Marquette Road           2708‐10 E 80th Street     Estate Property   Maher, Christopher                                                     $            30,500.00    Investor‐Lender     $       16,500.00   93‐2036
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Maher, Gavin (Christopher Maher, CESA)                                 $            15,000.00    Investor‐Lender     $       15,000.00   77‐2081
  77           7750‐58 S Muskegon Avenue           2818‐36 E 78th Street     Estate Property   Maher, Travis (Christopher Maher, CESA)                                $            10,000.00    Investor‐Lender     $       10,000.00   77‐2082

   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Mahesh Koli                                                            $            25,125.00    Investor‐Lender     $       25,125.00   69‐68
   26           8405 S Marquette Avenue                                      Estate Property   Manoj Donthineni                                                       $            71,544.30    Investor‐Lender     $      141,340.00   26‐1357
   76           7635‐43 S East End Avenue                                    Estate Property   Manoj Donthineni                                                       $            71,544.30    Investor‐Lender     $       41,007.00   76‐1357
  129            4494 West Roscoe Street                                     Former Property   Manoj Donthineni                                                       $            71,544.30    Investor‐Lender     $       12,198.90   129‐1357
  901                     SSDF1                                              Fund              Manuel Cadaval                                                         $            25,000.00     Equity Investor    $       25,000.00   901‐1084
  901                     SSDF1                                              Fund              Manuel Cadaval custodian for Jacob Cadaval                             $            25,000.00     Equity Investor    $       25,000.00   901‐1244
   5            7749‐59 S Yates Boulevard                                    Estate Property   Manuel Camacho                                                         $           104,434.59    Investor‐Lender     $       25,000.00   5‐748

    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Manuel Camacho                                                         $           104,434.59    Investor‐Lender     $       25,000.00   9‐748
   69              6250 S Mozart Avenue            2832‐36 W 63rd Street     Estate Property   Manuel Camacho                                                         $           104,434.59    Investor‐Lender     $       33,250.00   69‐748
   68          6217‐27 S Dorchester Avenue                                   Estate Property   Marcus, Ernest                                                         $            50,000.00    Investor‐Lender     $       50,000.00   68‐2037
  126         5201‐5207 W Washington Blvd                                    Former Property   Margaret M Morgan                                                      $            50,000.00    Investor‐Lender     $       50,000.00   126‐197
   72            7024‐32 S Paxton Avenue                                     Estate Property   Maricris M. Lee                                                        $             8,426.68    Investor‐Lender                         72‐320
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Maricris M. Lee                                                        $             8,426.68    Investor‐Lender                         79‐320
   56                8209 S Ellis Avenue                                     Estate Property   Marilyn B. Ackerman                                                    $           165,913.00     Equity Investor    $      200,000.00   56‐395
  133             4109 N Kimball Avenue                                      Former Property   Mario Flores                                                           $            40,697.50    Investor‐Lender     $      133,456.15   133‐198
    9               8100 S Essex Avenue           2449‐57 East 81st Street   Estate Property   Marjorie Jean Sexton                                                   $           200,000.00    Investor‐Lender     $      100,000.00   9‐2065
   50               7760 S Coles Avenue                                      Estate Property   Marjorie Jean Sexton                                                   $           200,000.00    Investor‐Lender     $       50,000.00   50‐2065
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   Marjorie Jean Sexton                                                   $           200,000.00    Investor‐Lender     $       40,564.00   59‐2065
   81           4317‐19 S Michigan Avenue                                    Estate Property   Marjorie Jean Sexton                                                   $           200,000.00    Investor‐Lender     $        9,436.00   81‐2065
   92             7748‐52 S Essex Avenue           2450‐52 E 78th Street     Estate Property   Marjorie Jean Sexton                                                   $           200,000.00    Investor‐Lender     $        3,000.00   92‐2065
    1            1700‐08 Juneway Terrace                                     Estate Property   Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                $           150,000.00    Investor‐Lender     $      100,000.00   1‐2040
10 to 12                    CCF1                                             Fund              Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                $           150,000.00    Investor‐Lender     $       50,000.00   10‐2040
10 to 12                    CCF1                                             Fund              Mark and Julie Akita                                                   $           100,000.00     Equity Investor    $      100,000.00   10‐1364
    4            5450‐52 S Indiana Avenue           118‐132 E Garfield       Estate Property   Mark DeLuca                                                            $           110,000.00    Investor‐Lender     $      110,000.00   4‐485

  4             5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Mark P. Mouty                                                          $           180,702.77    Investor‐Lender     $       20,000.00   4‐165
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Mark P. Mouty                                                          $           180,702.77    Investor‐Lender     $       25,000.00   9‐165
  63           4520‐26 S Drexel Boulevard                                    Estate Property   Mark P. Mouty                                                          $           130,703.00     Equity Investor    $       10,000.00   63‐165
  70             638‐40 N Avers Avenue                                       Estate Property   Mark P. Mouty                                                          $           180,702.77    Investor‐Lender     $       25,000.00   70‐165



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Property            Property Address                 Alternative Address               Type                                  Claimant Name                           Claimed Amount (Total Claim Category as Amount Claimed to          Claim Number
Number                                                                                                                                                                 Claimed Amount in      Identified on Claim   be Invested in
                                                                                                                                                                        Claim Category as             Form            Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   Mark P. Mouty                                                       $            180,702.77    Investor‐Lender   $        50,000.00   77‐165
  119              4019 S Indiana Avenue                                       Former Property   Mark P. Mouty                                                       $            130,703.00     Equity Investor  $       120,703.00   119‐165
  906                      SSDF6                                               Fund              Mark P. Mouty                                                       $            130,703.00     Equity Investor  $       120,703.00   906‐165
10 to 12                    CCF1                                               Fund              Mark P. Mouty                                                       $            180,702.77    Investor‐Lender   $        25,000.00   10‐165
13 to 15                    CCF2                                               Fund              Mark P. Mouty                                                       $            180,702.77    Investor‐Lender   $        25,000.00   13‐165
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street      Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        40,000.00   73‐1154
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $       100,000.00   77‐1154
   80              2736‐44 W 64th Street                                       Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        50,000.00   80‐1154
   90           7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        50,000.00   90‐1154
   92             7748‐52 S Essex Avenue            2450‐52 E 78th Street      Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        30,000.00   92‐1154
   95             8201 S Kingston Avenue                                       Estate Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        50,000.00   95‐1154
  126         5201‐5207 W Washington Blvd                                      Former Property   Mark Young                                                          $            366,131.08    Investor‐Lender   $        50,000.00   126‐1154
13 to 15                    CCF2                                               Fund              MarTech, Inc.                                                       $            600,000.00     Equity Investor  $       600,000.00   13‐1056
   71               701‐13 S 5th Avenue                  414 Walnut            Estate Property   Mary Alexander‐Brum                                                 $             52,124.99    Investor‐Lender   $        50,000.00   71‐227
  124             6801 S East End Avenue                                       Former Property   Mary Ann Hennefer                                                   $             15,160.00    Investor‐Lender   $        15,160.00   124‐1277
   60            7026‐42 S Cornell Avenue                                      Estate Property   MaryAnn Zimmerman                                                   $             50,000.00    Investor‐Lender   $        18,104.00   60‐937
   88           7546‐48 S Saginaw Avenue                                       Estate Property   MaryAnn Zimmerman                                                   $             50,000.00    Investor‐Lender   $        31,716.00   88‐937
   49          7300‐04 St Lawrence Avenue                                      Estate Property   Matthew Boyd                                                        $            405,000.00    Investor‐Lender   $       259,302.00   49‐2060
   50               7760 S Coles Avenue                                        Estate Property   Matthew Boyd                                                        $            405,000.00    Investor‐Lender   $        55,000.00   50‐2060
   58           5955 S Sacramento Avenue            2948‐56 W 60th Street      Estate Property   Matthew Boyd                                                        $            405,000.00    Investor‐Lender   $        40,698.00   58‐2060
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   Matthew Boyd                                                        $            405,000.00    Investor‐Lender   $        50,000.00   77‐2060
102‐106           7927‐49 S Essex Avenue                                       Estate Property   Matthew Boyd                                                        $            405,000.00    Investor‐Lender   $       314,302.00   102‐2060
    1            1700‐08 Juneway Terrace                                       Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $            631,739.82    Investor‐Lender   $       110,000.00   1‐1412
   67               1131‐41 E 79th Place                                       Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $            631,739.82 Investor‐Lender and $         50,000.00   67‐1412
   74             3074 Cheltenham Place              7836 S Shore Drive        Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $            631,739.82    Investor‐Lender   $        86,515.00   74‐1412
                                                                                                 MayREI, LLC)
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $       25,000.00    77‐1412
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $        2,005.00    77‐1412
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $       60,000.00    79‐1412
   95             8201 S Kingston Avenue                                       Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $       25,000.00    95‐1412
  124             6801 S East End Avenue                                       Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82         Other          $       84,500.00    124‐1412
  126         5201‐5207 W Washington Blvd                                      Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $       25,000.00    126‐1412
  145           4755 S St Lawrence Avenue                                      Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $           88,868.41         Other          $       68,360.31    145‐1412
 96‐99             8326‐58 S Ellis Avenue                                      Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under   $          631,739.82    Investor‐Lender     $       50,000.00    96‐1412
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Meadows Enterprises Inc, Kenyon Meadows, president                  $           75,000.00    Investor‐Lender     $       25,000.00    79‐429
13 to 15                    CCF2                                               Fund              Meadows Enterprises Inc, Kenyon Meadows, president                  $           75,000.00    Investor‐Lender     $       50,000.00    13‐429
    1            1700‐08 Juneway Terrace                                       Estate Property   Melanie T. or Gary M. Gonzales                                      $          525,525.01    Investor‐Lender     $      250,000.00    1‐207
   84             7051 S Bennett Avenue                                        Estate Property   Melanie T. or Gary M. Gonzales                                      $          525,525.01    Investor‐Lender     $      155,000.00    84‐207
 96‐99             8326‐58 S Ellis Avenue                                      Estate Property   Melanie T. or Gary M. Gonzales                                      $          525,525.01    Investor‐Lender     $      100,000.00    96‐207
  115              109 N Laramie Avenue                                        Former Property   Melvin Shurtz                                                        $                  ‐    Investor‐Lender     $       25,000.00    115‐362
  904                SSDF4 Legacy Fund                                         Fund              Melvin Shurtz                                                       $           25,000.00     Equity Investor    $       25,000.00    904‐362
   50               7760 S Coles Avenue                                        Estate Property   Metro Rural Real Estate Solutions (Tamara Molenaar‐Angelier)        $           18,253.51    Investor‐Lender     $       70,000.00    50‐743
   51               1401 W 109th Place                                         Estate Property   Michael and Lyanne Terada                                           $           73,336.53    Investor‐Lender     $       33,847.00    51‐551



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Property            Property Address                 Alternative Address               Type                                    Claimant Name                                 Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                         Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                                Claim Category as            Form              Property
                                                                                                                                                                               Identified on Claim
                                                                                                                                                                                      Form)
  940              Colony 4 Investment                                         Fund              Michael and Lyanne Terada                                                   $             66,815.34    Equity Investor    $       60,194.00   54‐551
   64          4611‐17 S Drexel Boulevard                                      Estate Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,      $             80,377.98   Investor‐Lender     $        7,728.00   64‐775
   79      6160‐6212 S Martin Luther King Drive                                Estate Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,      $             80,377.98   Investor‐Lender     $       61,860.75   79‐775
  132            9531 S Fairfield Avenue                                       Former Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,      $             80,377.98   Investor‐Lender     $        5,405.73   132‐775
  156            4351 S Calumet Avenue                                         Former Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,      $             80,377.98   Investor‐Lender     $       20,239.25   156‐775
  47                5437 S Laflin Street                                       Estate Property   Michael Borgia                                                               $         1,253,784.00   Investor‐Lender     $      250,000.00   47‐231
  78            7201 S Constance Avenue             1825‐31 E 72nd Street      Estate Property   Michael Borgia                                                               $         1,253,784.00   Investor‐Lender     $      669,327.00   78‐231
  115             109 N Laramie Avenue                                         Former Property   Michael Borgia                                                               $         1,253,784.00   Investor‐Lender     $      455,673.00   115‐231
   1            1700‐08 Juneway Terrace                                        Estate Property   Michael Borgia IRA                                                          $            975,416.00   Investor‐Lender     $      125,000.00   1‐705
  73             7255‐57 S Euclid Avenue            1940‐44 E 73rd Street      Estate Property   Michael Borgia IRA                                                          $            975,416.00   Investor‐Lender     $      125,000.00   73‐705

  122          7616‐7624 S Phillips Avenue                                     Former Property   Michael Borgia IRA                                                          $           975,416.00    Investor‐Lender     $      325,000.00   122‐705
  126         5201‐5207 W Washington Blvd                                      Former Property   Michael Borgia IRA                                                          $           975,416.00    Investor‐Lender     $      400,416.00   126‐705
 96‐99             8326‐58 S Ellis Avenue                                      Estate Property   Michael Burns                                                               $            50,000.00    Investor‐Lender     $       50,000.00   96‐1219
    2           4533‐47 S Calumet Avenue                                       Estate Property   Michael C. Jacobs                                                           $           178,833.00     Equity Investor    $       50,000.00   2‐2031
   67               1131‐41 E 79th Place                                       Estate Property   Michael C. Jacobs                                                           $           178,833.00     Equity Investor    $       70,000.00   67‐2031
   73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street      Estate Property   Michael C. Jacobs                                                           $           178,833.00     Equity Investor    $       25,000.00   73‐2031
  78            7201 S Constance Avenue             1825‐31 E 72nd Street      Estate Property   Michael C. Jacobs                                                           $           178,833.00     Equity Investor    $       25,000.00   78‐2031
  124             6801 S East End Avenue                                       Former Property   Michael C. Jacobs                                                           $           103,666.68    Investor‐Lender     $      100,000.00   124‐2031
    1            1700‐08 Juneway Terrace                                       Estate Property   Michael C. McClane                                                          $            82,277.75    Investor‐Lender                         1‐941
   90          7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   Michael D More                                                              $           100,000.00    Investor‐Lender     $      100,000.00   90‐682
  901                     SSDF1                                                Fund              Michael D More                                                              $           100,000.00     Equity Investor    $      100,000.00   901‐682
  60            7026‐42 S Cornell Avenue                                       Estate Property   Michael E. Thomas                                                           $            19,000.00    Investor‐Lender     $       50,000.00   60‐2092
   5            7749‐59 S Yates Boulevard                                      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00    Investor‐Lender     $       50,000.00   5‐393
   62              7834‐44 S Ellis Avenue                                      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00    Investor‐Lender     $       50,000.00   62‐393
   72            7024‐32 S Paxton Avenue                                       Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00    Investor‐Lender     $       40,000.00   72‐393
                                                                                                 Revocable Trust dated March 16th 2012)
  74             3074 Cheltenham Place               7836 S Shore Drive        Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00    Investor‐Lender     $       50,000.00   74‐393
  81           4317‐19 S Michigan Avenue                                       Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00    Investor‐Lender     $       50,000.00   81‐393
                                                                                                 Revocable Trust dated March 16th 2012)
   88          7546‐48 S Saginaw Avenue                                        Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00   Investor‐Lender      $      110,000.00   88‐393
   89          7600‐10 S Kingston Avenue            2527‐29 E 76th Street      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00   Investor‐Lender      $       50,000.00   89‐393
   92           7748‐52 S Essex Avenue              2450‐52 E 78th Street      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00   Investor‐Lender      $      270,000.00   92‐393
13 to 15                  CCF2                                                 Fund              Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00 Investor‐Lender and    $       50,000.00   13‐393
 96‐99           8326‐58 S Ellis Avenue                                        Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant   $           695,000.00   Investor‐Lender      $       35,000.00   96‐393
                                                                                                 Revocable Trust dated March 16th 2012)
   5            7749‐59 S Yates Boulevard                                      Estate Property   Michael Grow                                                                $           223,996.00 Investor‐Lender and                        5‐375
                                                                                                                                                                                                       Equity Investor
  67              1131‐41 E 79th Place                                         Estate Property   Michael Grow                                                                $           223,996.00 Investor‐Lender and                        67‐375
  124            6801 S East End Avenue                                        Former Property   Michael Hill                                                                $            85,000.00   Investor‐Lender      $       50,000.00   124‐179

  85          7201‐07 S Dorchester Avenue             1401 E 72nd Street       Estate Property   Michael Hill (Remoni Global Holdings LLC)                                   $            85,000.00    Investor‐Lender     $       35,000.00   85‐179
  54            8000‐02 S Justine Street              1541 E 80th Street       Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of    $           310,000.00    Investor‐Lender     $      110,000.00   54‐516
  69             6250 S Mozart Avenue               2832‐36 W 63rd Street      Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of    $           310,000.00    Investor‐Lender     $       50,000.00   69‐516



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Property            Property Address              Alternative Address             Type                                    Claimant Name                                  Claimed Amount (Total Claim Category as         Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in     Identified on Claim       be Invested in
                                                                                                                                                                            Claim Category as           Form                 Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
  75            7625‐33 S East End Avenue                                 Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of     $            310,000.00   Investor‐Lender       $       92,561.00   75‐516
                                                                                            Survivorship
  76           7635‐43 S East End Avenue                                  Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of     $           310,000.00    Investor‐Lender       $       57,439.00   76‐516
  64           4611‐17 S Drexel Boulevard                                 Estate Property   Michael Kessock                                                              $             3,333.33    Investor‐Lender       $      100,000.00   64‐977
  904                    SSDF4                                            Fund              Michael Kessock                                                              $           103,000.00     Equity Investor      $      100,000.00   904‐977
102‐106         7927‐49 S Essex Avenue                                    Estate Property   Michael Prokop                                                               $               197.01     Equity Investor      $      150,000.00   102‐787

 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Michael Prokop                                                               $               197.01      Equity Investor     $       50,000.00   96‐787
  904                      SSDF4                                          Fund              Michael Schankman                                                            $           112,557.00      Equity Investor     $       50,000.00   904‐2052
    5           7749‐59 S Yates Boulevard                                 Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP           $           203,254.00     Investor‐Lender      $       24,000.00   5‐78
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP           $           203,254.00      Equity Investor     $       90,000.00   79‐78
  116       1102 Bingham St, Houston TX 77007                             Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP           $           203,254.00     Investor‐Lender      $       54,254.00   116‐78
  904                SSDF4 Legacy Fund                                    Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP           $           203,254.00      Equity Investor     $       54,524.00   904‐78
13 to 15                    CCF2                                          Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP           $           203,254.00      Equity Investor     $       35,000.00   13‐78
  122          7616‐7624 S Phillips Avenue                                Former Property   Michigan Shore Apartments, LLC                                               $           435,350.00           Other                              122‐1485
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   MID LLC by Carolyn Mize                                                      $            53,061.25      Equity Investor     $       50,000.00   4‐524
  109            4750‐52 S Indiana Avenue                                 Estate Property   MID LLC by Carolyn Mize                                                      $            53,061.25     Investor‐Lender      $        5,000.00   109‐524
   89           7600‐10 S Kingston Avenue         2527‐29 E 76th Street   Estate Property   Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account #          $            60,000.00     Investor‐Lender      $       60,000.00   89‐1134
   16               1017 W 102nd Street                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       16‐972
   17                 1516 E 85th Place                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       17‐972
   18                2136 W 83rd Street                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       18‐972
   19               417 Oglesby Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       19‐972
   20              7922 S Luella Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       20‐972
   21             7925 S Kingston Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       21‐972
   22             7933 S Kingston Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       22‐972
   23           8030 S Marquette Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       23‐972
   24             8104 S Kingston Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       24‐972
   25             8403 S Aberdeen Street                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       25‐972
   26           8405 S Marquette Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95   Institutional Lender                       26‐972
                                                                                            American Finance 2015‐1, Ltd.
  27              8529 S Rhodes Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95 Institutional Lender                         27‐972
  28                8800 S Ada Street                                     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95 Institutional Lender                         28‐972
  29              9212 S Parnell Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,605,189.95 Institutional Lender                         29‐972
                                                                                            American Finance 2015‐1, Ltd.
  30             10012 S LaSalle Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       30‐1455
  31              11318 S Church Street                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       31‐1455
  32              3213 S Throop Street                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       32‐1455
  33               3723 W 68th Place                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       33‐1455
  34                406 E 87th Place                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       34‐1455
  35                61 E 92nd Street                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14   Institutional Lender                       35‐1455
                                                                                            American Finance 2015‐1, Ltd.
  36              6554 S Rhodes Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14 Institutional Lender                         36‐1455
                                                                                            American Finance 2015‐1, Ltd.
  37              6825 S Indiana Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14 Institutional Lender                         37‐1455



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Property            Property Address               Alternative Address            Type                                    Claimant Name                                  Claimed Amount (Total      Claim Category as     Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in       Identified on Claim      be Invested in
                                                                                                                                                                            Claim Category as             Form                Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
  38             7210 S Vernon Avenue                                     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $         1,924,211.14   Institutional Lender                       38‐1455
  39              7712 S Euclid Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $         1,924,211.14   Institutional Lender                       39‐1455
  40            7953 S Woodlawn Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $         1,924,211.14   Institutional Lender                       40‐1455
                                                                                            American Finance 2015‐1, Ltd.
  41             8107 S Kingston Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14 Institutional Lender                          41‐1455
  42            8346 S Constance Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14 Institutional Lender                          42‐1455
  43              8432 S Essex Avenue                                     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14 Institutional Lender                          43‐1455
                                                                                            American Finance 2015‐1, Ltd.
  44              8517 S Vernon Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony   $         1,924,211.14    Institutional Lender                       44‐1455
  45                2129 W 71st Street                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       45‐1464
  46            9610 S Woodlawn Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       46‐1464
  47                5437 S Laflin Street                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       47‐1464
  48              6759 S Indiana Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       48‐1464
  49           7300‐04 St Lawrence Avenue                                 Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       49‐1464
  50               7760 S Coles Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         1,973,393.52    Institutional Lender                       50‐1464
  51               1401 W 109th Place                                     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41    Institutional Lender                       51‐1466
  52                 310 E 50th Street                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41    Institutional Lender                       52‐1466
  53              6807 S Indiana Avenue                                   Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41    Institutional Lender                       53‐1466
  54             8000‐02 S Justine Street          1541 E 80th Street     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41    Institutional Lender                       54‐1466
  55              8107‐09 S Ellis Avenue                                  Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41    Institutional Lender                       55‐1466
                                                                                            Wilmington Trust, N.A., as Trustee for the Registered Holders of Corevest
  56               8209 S Ellis Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41 Institutional Lender                          56‐1466
  57           8214‐16 S Ingleside Avenue                                 Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for          $         3,003,129.41 Institutional Lender                          57‐1466
  4             5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Mike Dirnberger                                                              $            15,000.00   Investor‐Lender                             4‐443
  88           7546‐48 S Saginaw Avenue                                   Estate Property   Mike Dirnberger                                                              $            15,000.00   Investor‐Lender                             88‐443

  100        11117‐11119 S Longwood Drive                                 Estate Property   Mike M. Cocos                                                                $           150,000.00      Equity Investor      $       50,000.00   100‐82
  911              Hybrid Capital Fund                                    Fund              Mike M. Cocos                                                                $           150,000.00      Equity Investor      $       50,000.00   911‐82
13 to 15                  CCF2                                            Fund              Mike M. Cocos                                                                $           150,000.00      Equity Investor      $       50,000.00   13‐82
   64          4611‐17 S Drexel Boulevard                                 Estate Property   Minchow, Donald                                                              $           225,000.00     Investor‐Lender       $       40,000.00   64‐2041
13 to 15                  CCF2                                            Fund              Minchow, Donald                                                              $           225,000.00     Investor‐Lender       $       75,000.00   13‐2041
   70            638‐40 N Avers Avenue                                    Estate Property   Minchow, Rochelle                                                            $           190,000.00     Investor‐Lender       $       30,000.00   70‐2061
10 to 12                  CCF1                                            Fund              Mitchell Young Trust                                                         $            30,000.00     Investor‐Lender       $       30,000.00   10‐1456
    1           1700‐08 Juneway Terrace                                   Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                            $           190,609.00      Equity Investor      $       50,000.00   1‐123
   61           7237‐43 S Bennett Avenue                                  Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                            $           190,609.00      Equity Investor      $      200,000.00   61‐123
    8             1414 East 62nd Place                                    Estate Property   Moran Blueshtein and Upender Subramanian                                     $           146,857.18     Investor‐Lender       $       30,188.00   8‐95
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Moran Blueshtein and Upender Subramanian                                     $           146,857.18     Investor‐Lender       $       20,000.00   4‐95
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Moran Blueshtein and Upender Subramanian                                     $           146,857.18     Investor‐Lender       $       30,188.00   68‐95
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Moran Blueshtein and Upender Subramanian                                     $           146,857.18     Investor‐Lender       $       46,000.00   79‐95
  904                     SSDF4                                           Fund              Moran Blueshtein and Upender Subramanian                                     $           100,000.00      Equity Investor      $      100,000.00   904‐95
13 to 15                  CCF2                                            Fund              Moran Blueshtein and Upender Subramanian                                     $           146,857.18     Investor‐Lender       $       50,000.00   13‐95
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                   $           159,000.00     Investor‐Lender       $       10,000.00   4‐315
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                   $           159,000.00     Investor‐Lender       $        7,000.00   79‐315
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                   $           159,000.00     Investor‐Lender       $       50,000.00   82‐315



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Property            Property Address               Alternative Address               Type                                    Claimant Name                            Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                         Claim Category as            Form              Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
  100        11117‐11119 S Longwood Drive                                    Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01             $            159,000.00   Investor‐Lender     $       92,000.00   100‐315
  904                   SSDF4                                                Fund              MTASS Realty LLC                                                       $            349,521.00    Equity Investor    $      349,521.00   904‐363

  124            6801 S East End Avenue                                      Former Property   Mudlic Properties LLC                                                  $           207,194.24   Other (property      $      674,377.90   124‐2076
  904                     SSDF4                                              Fund              Nancy A Markwalter                                                     $            25,000.00    Equity Investor     $       25,000.00   904‐1143
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Nancy Cree (Cree Capital Ventures)                                     $           300,000.00    Equity Investor     $      300,000.00   3‐2014
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Nancy Cree (Cree Capital Ventures)                                     $           725,000.00   Investor‐Lender      $      250,000.00   6‐2014
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Nancy Cree (Cree Capital Ventures)                                     $           725,000.00   Investor‐Lender      $      225,000.00   68‐2014
  100        11117‐11119 S Longwood Drive                                    Estate Property   Nancy Cree (Cree Capital Ventures)                                     $           725,000.00   Investor‐Lender      $      250,000.00   100‐2014
   67              1131‐41 E 79th Place                                      Estate Property   Nancy Fillmore                                                         $            90,974.27   Investor‐Lender                          67‐2022
  100        11117‐11119 S Longwood Drive                                    Estate Property   Nancy Fillmore                                                         $            90,974.27   Investor‐Lender                          100‐2022
13 to 15                  CCF2                                               Fund              Nancy Fillmore                                                         $            90,974.27   Investor‐Lender      $       25,000.00   13‐2022
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Nandini S Chennappan                                                   $            10,000.00   Investor‐Lender      $       10,000.00   79‐1270
   67              1131‐41 E 79th Place                                      Estate Property   Narine Nebel                                                           $            62,256.25   Investor‐Lender      $       50,000.00   67‐351
13 to 15                  CCF2                                               Fund              Narine Nebel                                                           $            62,256.25   Investor‐Lender      $       15,000.00   13‐351
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Natalie T. Scheuller                                                   $            85,400.00    Equity Investor     $       85,000.00   63‐358
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Nathan and Brandi Hennefer                                             $            25,000.00   Investor‐Lender      $       25,000.00   68‐742
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Nathan Hennefer                                                        $            44,000.00   Investor‐Lender      $       44,000.00   96‐754
    5           7749‐59 S Yates Boulevard                                    Estate Property   Naveen Kwatra                                                          $            75,000.00   Investor‐Lender      $       25,000.00   5‐356
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   Naveen Kwatra                                                          $            75,000.00   Investor‐Lender      $       50,000.00   71‐356
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00   Investor‐Lender      $       25,000.00   4‐1365
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00   Investor‐Lender      $       50,000.00   71‐1365
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00   Investor‐Lender      $       50,000.00   79‐1365
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00   Investor‐Lender      $       52,907.00   89‐1365
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00   Investor‐Lender      $       25,000.00   92‐1365
13 to 15                  CCF2                                               Fund              Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)        $           252,907.00 Investor‐Lender and    $       50,000.00   13‐1365
                                                                                                                                                                                                Equity Investor
   2           4533‐47 S Calumet Avenue                                      Estate Property   Neil R Martin                                                          $            20,991.00    Equity Investor     $       20,000.00   2‐1253
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Neil R Martin                                                          $            20,991.00    Equity Investor                         9‐1253
  904              SSDF4 Legacy Fund                                         Fund              Nerses Abramyan                                                        $            25,000.00    Equity Investor     $       25,000.00   904‐114
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                     $            25,865.84   Investor‐Lender      $       25,000.00   79‐437
  59          6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                       $           103,990.94   Investor‐Lender      $       16,000.00   59‐969
  70             638‐40 N Avers Avenue                                       Estate Property   New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                       $           103,990.94   Investor‐Lender      $       85,000.00   70‐969
   2           4533‐47 S Calumet Avenue                                      Estate Property   New Move Ventures Inc. (Steven Fecko)                                  $           120,000.00   Investor‐Lender      $       70,000.00   2‐115

   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   New Move Ventures Inc. (Steven Fecko)                                  $           120,000.00    Investor‐Lender     $       50,000.00   74‐115
  60            7026‐42 S Cornell Avenue                                     Estate Property   Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky   $            23,000.00    Investor‐Lender     $       13,000.00   60‐1166
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky   $            23,000.00    Investor‐Lender     $       10,000.00   68‐1166
  60            7026‐42 S Cornell Avenue                                     Estate Property   Next Generation Trust Company FBO Mark Kapsky IRA 2396                 $            42,000.00    Investor‐Lender     $        2,000.00   60‐1157
  68          6217‐27 S Dorchester Avenue                                    Estate Property   Next Generation Trust Company FBO Mark Kapsky IRA 2396                 $            42,000.00    Investor‐Lender                         68‐1157
  60            7026‐42 S Cornell Avenue                                     Estate Property   Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA 2702     $            35,000.00    Investor‐Lender     $       25,000.00   60‐1169
  901                    SSDF1                                               Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                     $           335,000.00     Equity Investor    $      100,000.00   901‐1030
  904              SSDF4 Legacy Fund                                         Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                     $           335,000.00     Equity Investor    $      235,000.00   904‐1030




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Property            Property Address              Alternative Address            Type                                    Claimant Name           Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                             Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                    Claim Category as           Form               Property
                                                                                                                                                   Identified on Claim
                                                                                                                                                          Form)
   70            638‐40 N Avers Avenue                                   Estate Property   Nicolas and Joyce Jenks                               $            155,249.47   Investor‐Lender     $       50,000.00   70‐2032
   83           6356 S California Avenue          2804 W 64th Street     Estate Property   Nicolas and Joyce Jenks                               $            155,249.47   Investor‐Lender     $       25,000.00   83‐2032
   85         7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property   Nicolas and Joyce Jenks                               $            155,249.47   Investor‐Lender     $       50,000.00   85‐2032
 96‐99           8326‐58 S Ellis Avenue                                  Estate Property   Nicolas and Joyce Jenks                               $            155,249.47   Investor‐Lender     $       25,000.00   96‐2032
10 to 12                  CCF1                                           Fund              Nisha Gupta 401(K) Profit Sharing Plan & Trust        $             92,000.00   Investor‐Lender     $       75,000.00   10‐1312
13 to 15                  CCF2                                           Fund              Nisha Gupta 401(K) Profit Sharing Plan & Trust        $             36,604.64   Investor‐Lender     $       29,500.00   13‐1317
10 to 12                  CCF1                                           Fund              Nisha Gupta Defined Benefit Plan and Trust            $            214,666.61   Investor‐Lender     $      175,000.00   10‐1311
13 to 15                  CCF2                                           Fund              Nisha Gupta Defined Benefit Plan and Trust            $             99,887.14   Investor‐Lender     $       80,500.00   13‐1307

  83             6356 S California Avenue         2804 W 64th Street     Estate Property   OAK BARREL ONE, LLC (TED GUILLEN)                     $            20,038.00    Investor‐Lender     $       20,038.00   83‐488
102‐106          7927‐49 S Essex Avenue                                  Estate Property   OE Holdings LLC                                       $            30,000.00    Investor‐Lender     $       30,000.00   102‐852
   2           4533‐47 S Calumet Avenue                                  Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       70,000.00   2‐1023
   4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      170,000.00   4‐1023
   5            7749‐59 S Yates Boulevard                                Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      100,000.00   5‐1023
   6           6437‐41 S Kenwood Avenue                                  Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       30,000.00   6‐1023
   7           7109‐19 S Calumet Avenue                                  Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      200,000.00   7‐1023
  60            7026‐42 S Cornell Avenue                                 Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      165,000.00   60‐1023
  61            7237‐43 S Bennett Avenue                                 Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       65,000.00   61‐1023
  62              7834‐44 S Ellis Avenue                                 Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      250,000.00   62‐1023
  64           4611‐17 S Drexel Boulevard                                Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      105,831.00   64‐1023
  68          6217‐27 S Dorchester Avenue                                Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       20,000.00   68‐1023
  70              638‐40 N Avers Avenue                                  Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $      250,000.00   70‐1023
  74              3074 Cheltenham Place           7836 S Shore Drive     Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       60,000.00   74‐1023
  85          7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       77,500.00   85‐1023
  128             8623‐54 S Ellis Avenue                                 Former Property   Optima Property Solutions, LLC                        $           487,209.71    Investor‐Lender     $       50,000.00   126‐1023

  901                     SSDF1                                          Fund              Optima Property Solutions, LLC                        $           856,284.00     Equity Investor    $      856,284.00   901‐1023
13 to 15                  CCF2                                           Fund              Overhead Solutions Inc (Paul Collins)                 $            50,000.00     Equity Investor    $       50,000.00   13‐133
   68         6217‐27 S Dorchester Avenue                                Estate Property   Pacific Ocean Services Inc                            $           175,000.00    Investor‐Lender     $      150,000.00   68‐1256
102‐106          7927‐49 S Essex Avenue                                  Estate Property   Pacific Ocean Services Inc                            $           175,000.00    Investor‐Lender     $      150,000.00   102‐1256
    7          7109‐19 S Calumet Avenue                                  Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                 $           223,000.00    Investor‐Lender     $       50,000.00   7‐920
   79      6160‐6212 S Martin Luther King Drive                          Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                 $           223,000.00    Investor‐Lender     $       50,000.00   79‐920
  111             6558 S Vernon Avenue            416‐24 E 66th Street   Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                 $           223,000.00    Investor‐Lender     $       50,000.00   111‐920
  123           7107‐29 S Bennett Avenue                                 Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                 $           223,000.00    Investor‐Lender     $       50,000.00   123‐920
  155            Campo‐Mar, Puerto Rico                                  Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                 $           223,000.00    Investor‐Lender     $       50,000.00   155‐920
  124            6801 S East End Avenue                                  Former Property   Paper Street Realty LLC d/b/a Rent Ready Apartments   $           135,847.03   Other (Mechanics                         124‐1206
   52               310 E 50th Street                                    Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments     $           234,139.18     Trade Creditor     $       49,600.68   52‐1206
   56              8209 S Ellis Avenue                                   Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments     $           234,139.18     Trade Creditor     $        2,740.00   56‐1206
   57          8214‐16 S Ingleside Avenue                                Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments     $           234,139.18     Trade Creditor     $       18,986.00   57‐1206
   61           7237‐43 S Bennett Avenue                                 Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments     $           234,139.18     Trade Creditor     $      162,812.50   61‐1206
  124            6801 S East End Avenue                                  Former Property   Pat DeSantis                                          $         2,684,539.00    Investor‐Lender     $      328,561.00   124‐397
    5           7749‐59 S Yates Boulevard                                Estate Property   Pat DeSantis                                          $         2,684,539.00    Investor‐Lender     $      250,000.00   5‐397
   61           7237‐43 S Bennett Avenue                                 Estate Property   Pat DeSantis                                          $         2,684,539.00    Investor‐Lender     $      100,000.00   61‐397




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Property            Property Address               Alternative Address            Type                                  Claimant Name              Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                               Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                      Claim Category as           Form               Property
                                                                                                                                                     Identified on Claim
                                                                                                                                                            Form)
  62             7834‐44 S Ellis Avenue                                   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   62‐397
  64           4611‐17 S Drexel Boulevard                                 Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   64‐397
  68          6217‐27 S Dorchester Avenue                                 Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   68‐397
  69             6250 S Mozart Avenue             2832‐36 W 63rd Street   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      110,000.00   69‐397
  70             638‐40 N Avers Avenue                                    Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   70‐397
  72            7024‐32 S Paxton Avenue                                   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   72‐397
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      110,000.00   74‐397
  78            7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      171,439.00   78‐397
  79       6160‐6212 S Martin Luther King Drive                           Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      250,000.00   79‐397
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      110,000.00   82‐397
  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      110,000.00   85‐397
  94            816‐20 E Marquette Road                                   Estate Property   Pat DeSantis                                            $         2,684,539.00   Investor‐Lender     $      100,000.00   94‐397

13 to 15                  CCF2                                            Fund              Pat DeSantis                                           $         2,684,539.00    Equity Investor     $      500,000.00   13‐397
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Pat DeSantis                                           $         2,684,539.00   Investor‐Lender      $      250,000.00   96‐397
  123           7107‐29 S Bennett Avenue                                  Former Property   Patricia A Brown                                       $            84,631.88   Investor‐Lender      $      100,000.00   123‐1237
  100        11117‐11119 S Longwood Drive                                 Estate Property   Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)     $           405,333.28   Investor‐Lender      $      400,000.00   100‐1400
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Patricia Guillen                                       $            50,000.00 Investor‐Lender and    $       50,000.00   102‐463
   62             7834‐44 S Ellis Avenue                                  Estate Property   Patricia J Theil and Samuel D Theil                    $            26,429.55   Investor‐Lender      $       25,211.00   62‐1045
   62             7834‐44 S Ellis Avenue                                  Estate Property   Patricia J Theil C/F Jacqueline M Theil                $            62,062.58   Investor‐Lender      $       49,165.00   62‐923
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Patricia J Theil C/F Jacqueline M Theil                $            62,062.58   Investor‐Lender      $       11,257.00   79‐923
   67              1131‐41 E 79th Place                                   Estate Property   Patricia M. McCorry, Manager McCorry Real Estate LLC   $            51,250.00    Equity Investor     $       50,000.00   67‐997
 13‐15            2909‐19 E 78th Street                                   Fund              Patricia M. McCorry, Manager McCorry Real Estate LLC   $            25,708.34   Investor‐Lender      $       25,000.00   13‐997
    1           1700‐08 Juneway Terrace                                   Estate Property   Patrick Connely                                        $            50,000.00   Investor‐Lender      $       50,000.00   1‐939
    5           7749‐59 S Yates Boulevard                                 Estate Property   Patrick Connely                                        $            20,000.00   Investor‐Lender      $       20,000.00   5‐964
   64          4611‐17 S Drexel Boulevard                                 Estate Property   Patrick Connely                                        $            30,000.00   Investor‐Lender      $       30,000.00   64‐577
  901                     SSDF1                                           Fund              Patrick Connely                                        $            50,000.00    Equity Investor     $       50,000.00   901‐939
  904                     SSDF4                                           Fund              Patrick Connely                                        $            20,000.00    Equity Investor     $       20,000.00   904‐964
  904                     SSDF4                                           Fund              PATRICK SHEEHAN                                        $            90,125.00    Equity Investor     $       50,000.00   904‐783
  911              Hybrid Capital Fund                                    Fund              PATRICK SHEEHAN                                        $            90,125.00    Equity Investor     $       40,125.00   911‐783
   62             7834‐44 S Ellis Avenue                                  Estate Property   Paul Franklin                                          $            25,000.00   Investor‐Lender      $       24,420.00   62‐1231
  131           4108 N Monticello Avenue                                  Former Property   Paul Franklin                                          $            25,000.00   Investor‐Lender      $       25,000.00   131‐1231
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Paul Harrison                                          $           420,331.59   Investor‐Lender      $       43,098.00   4‐2026
   81          4317‐19 S Michigan Avenue                                  Estate Property   Paul Harrison                                          $           420,331.59   Investor‐Lender      $      152,771.00   81‐2026
   86          7442‐48 S Calumet Avenue                                   Estate Property   Paul Harrison                                          $           420,331.59   Investor‐Lender      $      124,329.00   86‐2026
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Paul Harrison                                          $           420,331.59   Investor‐Lender      $       63,694.00   102‐2026
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Paul Harrison                                          $           420,331.59   Investor‐Lender      $       25,000.00   96‐2026
    1           1700‐08 Juneway Terrace                                   Estate Property   Paul N. Wilmesmeier                                    $           790,185.00   Investor‐Lender      $       25,000.00   1‐300
    2          4533‐47 S Calumet Avenue                                   Estate Property   Paul N. Wilmesmeier                                    $           790,185.00   Investor‐Lender      $       25,000.00   2‐300
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Paul N. Wilmesmeier                                    $           790,185.00   Investor‐Lender      $       25,000.00   4‐300
   49         7300‐04 St Lawrence Avenue                                  Estate Property   Paul N. Wilmesmeier                                    $           790,185.00   Investor‐Lender      $       25,000.00   49‐300
   60           7026‐42 S Cornell Avenue                                  Estate Property   Paul N. Wilmesmeier                                    $           790,185.00   Investor‐Lender      $       25,000.00   60‐300




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Property            Property Address              Alternative Address             Type                                     Claimant Name                      Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                          Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                 Claim Category as           Form               Property
                                                                                                                                                                Identified on Claim
                                                                                                                                                                       Form)
  64           4611‐17 S Drexel Boulevard                                 Estate Property   Paul N. Wilmesmeier                                               $            790,185.00   Investor‐Lender     $       25,000.00   64‐300

  68          6217‐27 S Dorchester Avenue                                 Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   68‐300
  70             638‐40 N Avers Avenue                                    Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   70‐300
  73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street   Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   73‐300
  74            3074 Cheltenham Place              7836 S Shore Drive     Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   74‐300

  76            7635‐43 S East End Avenue                                 Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   76‐300
  77           7750‐58 S Muskegon Avenue          2818‐36 E 78th Street   Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   77‐300

   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   79‐300
   81          4317‐19 S Michigan Avenue                                  Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   81‐300
   85         7201‐07 S Dorchester Avenue          1401 E 72nd Street     Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   85‐300
   88           7546‐48 S Saginaw Avenue                                  Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       75,000.00   88‐300
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   89‐300
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       75,000.00   92‐300
   94           816‐20 E Marquette Road                                   Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,185.00   94‐300
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       15,000.00   100‐300
  111              6558 S Vernon Avenue           416‐24 E 66th Street    Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   111‐300
10 to 12                   CCF1                                           Fund              Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   10‐300
102‐106           7927‐49 S Essex Avenue                                  Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       75,000.00   102‐300
13 to 15                   CCF2                                           Fund              Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       25,000.00   13‐300
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Paul N. Wilmesmeier                                               $           790,185.00    Investor‐Lender     $       50,000.00   96‐300
    1            1700‐08 Juneway Terrace                                  Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan   $           106,000.00    Investor‐Lender     $       45,000.00   1‐2087
   80              2736‐44 W 64th Street                                  Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan   $           106,000.00    Investor‐Lender     $       30,000.00   80‐2087
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan   $           106,000.00    Investor‐Lender     $       20,000.00   92‐2087
  100        11117‐11119 S Longwood Drive                                 Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan   $           106,000.00    Investor‐Lender     $       11,000.00   100‐2087
    5           7749‐59 S Yates Boulevard                                 Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $        5,500.00   5‐1135
    6          6437‐41 S Kenwood Avenue                                   Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $       50,000.00   6‐1135
   61           7237‐43 S Bennett Avenue                                  Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $       50,000.00   61‐1135
   70             638‐40 N Avers Avenue                                   Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $       16,826.00   70‐1135
   77         7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $        6,708.00   77‐1135
   83            6356 S California Avenue          2804 W 64th Street     Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $        7,910.00   83‐1135
   84             7051 S Bennett Avenue                                   Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $       50,000.00   84‐1135
   92             7748‐52 S Essex Avenue          2450‐52 E 78th Street   Estate Property   Paul Scribner                                                     $           200,000.00    Investor‐Lender     $        7,000.00   92‐1135
   64          4611‐17 S Drexel Boulevard                                 Estate Property   Paula Tucker                                                      $            40,000.00    Investor‐Lender     $       40,000.00   64‐1427
  122          7616‐7624 S Phillips Avenue                                Former Property   Paule M Nagy                                                      $            50,000.00    Investor‐Lender     $       50,000.00   122‐757
   76          7635‐43 S East End Avenue                                  Estate Property   Penny W Goree                                                     $            36,000.00     Equity Investor    $       50,000.00   76‐236
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Pensco Trust Company Custodian FBO Kathleen A Robinson            $            15,405.00    Investor‐Lender     $       12,500.00   96‐1435
    5           7749‐59 S Yates Boulevard                                 Estate Property   Peter Jordan                                                      $           153,456.56    Investor‐Lender     $       76,728.28   5‐282
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Peter Jordan                                                      $           153,456.56    Investor‐Lender     $       76,728.28   68‐282
  140            4528 S Michigan Avenue                                   Former Property   Peter (Pierre) Henri Gelinas                                      $            26,499.94    Investor‐Lender     $       25,000.00   140‐1385




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Property            Property Address               Alternative Address               Type                                     Claimant Name                             Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                    Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                           Claim Category as           Form               Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Peter (Pierre) Henri Gelinas                                             $             26,499.94   Investor‐Lender     $       12,847.46   96‐1385

  906                  SSDF6, LLC                                            Fund              Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan IRA176308)   $            50,000.00     Equity Investor    $       50,000.00   906‐1020
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Peter Schonberger                                                        $            30,000.00     Equity Investor    $       30,000.00   102‐703
   72           7024‐32 S Paxton Avenue                                      Estate Property   Peters, David (The Dominquez‐Peters Living Turst)                        $            50,000.00    Investor‐Lender     $       50,000.00   72‐2045
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $       50,000.00   4‐594
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $      100,000.00   68‐594
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $       50,000.00   88‐594
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $       70,000.00   92‐594
   94           816‐20 E Marquette Road                                      Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $       30,000.00   94‐594
  100        11117‐11119 S Longwood Drive                                    Estate Property   Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $      199,000.00   100‐594
13 to 15                  CCF2                                               Fund              Petra Zoeller                                                            $           546,619.00    Investor‐Lender     $       35,000.00   13‐594
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   PFFR TRUST (Garrett Miller)                                              $             5,299.00    Investor‐Lender     $        5,299.00   59‐1284
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Philip J Lombardo and Dianne E Lombardo                                  $            54,666.63    Investor‐Lender     $       50,000.00   79‐561

    5           7749‐59 S Yates Boulevard                                    Estate Property   Phillip G. Vander Kraats                                                 $            80,186.82    Investor‐Lender     $        1,374.00   5‐628
   59        6001‐05 S Sacramento Avenue          2945‐51 W 60th Street      Estate Property   Phillip G. Vander Kraats                                                 $            80,186.82    Investor‐Lender     $          312.00   59‐628
   70            638‐40 N Avers Avenue                                       Estate Property   Phillip G. Vander Kraats                                                 $            80,186.82    Investor‐Lender     $        2,000.00   70‐628
   72           7024‐32 S Paxton Avenue                                      Estate Property   Phillip G. Vander Kraats                                                 $            80,186.82    Investor‐Lender     $       50,000.00   72‐628
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Phillip G. Vander Kraats                                                 $            80,186.82    Investor‐Lender     $       28,314.00   88‐628
  128             8623‐54 S Ellis Avenue                                     Former Property   Phillip Silver Trust dated 12/11/08                                      $            50,000.00    Investor‐Lender     $       50,000.00   128‐94
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Phyllis Harte                                                            $            36,069.53    Investor‐Lender     $        7,330.00   69‐2028
   87              7508 S Essex Avenue            2453‐59 E 75th Street      Estate Property   Phyllis Harte                                                            $            36,069.53    Investor‐Lender     $        9,270.00   87‐2028
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street      Estate Property   Phyllis Harte                                                            $            36,069.53    Investor‐Lender     $       20,000.00   92‐2028
   81          4317‐19 S Michigan Avenue                                     Estate Property   PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT MILLER)                    $            10,000.00    Investor‐Lender     $       10,000.00   81‐1308
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Ping Liu                                                                 $            58,505.33    Investor‐Lender     $       50,000.00   85‐349
    1           1700‐08 Juneway Terrace                                      Estate Property   Pioneer Valley Properties LLC                                            $            50,000.00    Investor‐Lender     $       50,000.00   1‐878
    5           7749‐59 S Yates Boulevard                                    Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       12,000.00   5‐332
    6          6437‐41 S Kenwood Avenue                                      Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       10,000.00   6‐332
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       20,000.00   9‐332
   50              7760 S Coles Avenue                                       Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       25,000.00   50‐332
   62             7834‐44 S Ellis Avenue                                     Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $      125,000.00   62‐332
   68         6217‐27 S Dorchester Avenue                                    Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       50,000.00   68‐332
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       75,000.00   71‐332
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       10,000.00   74‐332
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       50,000.00   78‐332
  100        11117‐11119 S Longwood Drive                                    Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       18,000.00   100‐332
10 to 12                   CCF1                                              Fund              PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       10,000.00   10‐332
102‐106          7927‐49 S Essex Avenue                                      Estate Property   PNW Investments, LLC                                                     $           350,000.00    Investor‐Lender     $       25,000.00   102‐332
13 to 15                   CCF2                                              Fund              Prakash, Sukumar Samson                                                  $           215,875.00                                            13‐2047
   67              1131‐41 E 79th Place                                      Estate Property   Priscilla Wallace                                                        $            25,000.00     Equity Investor    $       25,000.00   67‐1036
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Private Finance Solutions, LLC                                           $           128,406.34    Investor‐Lender     $       23,328.00   89‐1478
  115             109 N Laramie Avenue                                       Former Property   Private Finance Solutions, LLC                                           $           128,406.34    Investor‐Lender     $       88,970.00   115‐1478




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Property            Property Address               Alternative Address            Type                                     Claimant Name                                 Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                            Claim Category as            Form              Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
  117            3915 N Kimball Avenue                                    Former Property   Private Finance Solutions, LLC                                               $            128,406.34   Investor‐Lender     $       30,311.00   117‐1478
  142           5209 W Warwick Avenue                                     Former Property   Private Finance Solutions, LLC                                               $            128,406.34   Investor‐Lender     $       88,970.00   142‐1478
  109           4750‐52 S Indiana Avenue                                  Estate Property   Professional Real Estate Solutions, LLC / Edward J. Netzel                   $             13,204.91    Equity Investor    $       50,000.00   109‐489
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   PROFESSIONAL RENTAL LP, GEORGE SAMUEL                                        $             58,000.04   Investor‐Lender     $       50,000.00   79‐482
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Property Solutions LLC, Kevin Bybee (managing member)                        $             60,000.00   Investor‐Lender     $       60,000.00   78‐268
  907                    SSDF7                                            Fund              Property Solutions LLC, Kevin Bybee (managing member)                        $            144,161.89    Equity Investor    $      144,161.89   907‐268
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Provident Trust Group F.B.O Charles Smith SoloK                              $             50,000.00   Investor‐Lender     $       50,000.00   4‐1198
    2          4533‐47 S Calumet Avenue                                   Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                              $             71,815.00   Investor‐Lender                         2‐172
   64          4611‐17 S Drexel Boulevard                                 Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                              $             71,815.00   Investor‐Lender     $       71,815.00   64‐172
   78           7201 S Constance Avenue           1825‐31 E 72nd Street   Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                              $             71,815.00   Investor‐Lender     $       35,345.00   78‐172
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                              $             71,815.00   Investor‐Lender     $       36,470.00   79‐172
  906                    SSDF6                                            Fund              Provident Trust Group, LLC FBO Stephan Tang IRA                              $             71,815.00    Equity Investor    $       71,815.00   906‐172
10 to 12                  CCF1                                            Fund              PSB Investment Trust ‐ Stephen Boynton                                       $             46,398.10    Equity Investor    $       50,000.00   10‐280

  76            7635‐43 S East End Avenue                                 Estate Property   QCH Investment Trust                                                         $            50,000.00    Investor‐Lender     $       50,000.00   76‐1436
   5            7749‐59 S Yates Boulevard                                 Estate Property   Quantum Growth Holdings LLC                                                  $            15,321.00    Investor‐Lender     $        5,500.00   5‐354
   40           7953 S Woodlawn Avenue                                    Estate Property   Quantum Growth Holdings LLC                                                                            Investor‐Lender     $        8,053.89   40‐354
   62             7834‐44 S Ellis Avenue                                  Estate Property   Quantum Growth Holdings LLC                                                                            Investor‐Lender     $        6,056.44   62‐354
  123           7107‐29 S Bennett Avenue                                  Former Property   Quantum Growth Holdings LLC                                                  $            15,321.00     Equity Investor    $        1,971.00   123‐354
  131           4108 N Monticello Avenue                                  Former Property   Quantum Growth Holdings LLC                                                                            Investor‐Lender     $        8,434.38   131‐354
  904                     SSDF4                                           Fund              Quantum Growth Holdings LLC                                                  $            15,321.00     Equity Investor    $       15,321.00   904‐354

 13‐15            2909‐19 E 78th Street                                   Fund              Quest IRA Inc FBO Larry J Eggenberger IRA                                    $            50,000.00    Investor‐Lender     $       50,000.00   13‐713
   5           7749‐59 S Yates Boulevard                                  Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐   $            89,482.53    Investor‐Lender     $       12,100.00   5‐1352
  74             3074 Cheltenham Place             7836 S Shore Drive     Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐   $            89,482.53    Investor‐Lender     $       56,000.00   74‐1352
  88           7546‐48 S Saginaw Avenue                                   Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐   $            89,482.53    Investor‐Lender     $        5,000.00   88‐1352
  92             7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐   $            89,482.53    Investor‐Lender     $       10,000.00   92‐1352
   1            1700‐08 Juneway Terrace                                   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $       10,500.00   1‐804
  64           4611‐17 S Drexel Boulevard                                 Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $       50,000.00   64‐804
  68          6217‐27 S Dorchester Avenue                                 Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $       19,500.00   68‐804
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $       45,000.00   82‐804
  88           7546‐48 S Saginaw Avenue                                   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $        9,000.00   88‐804
  89           7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and         $           184,785.31    Investor‐Lender     $       39,953.00   89‐804
  135            4930 W Cornelia Avenue                                   Former Property   QUEST IRA INC. FBO REBECA E. SAVORY‐ROMERO IRA ACCOUNT #15528‐11             $           184,785.31    Investor‐Lender     $       35,256.92   135‐804
   91            7701‐03 S Essex Avenue                                   Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                      $            55,500.00    Investor‐Lender     $       50,000.00   91‐1269

  92            7748‐52 S Essex Avenue            2450‐52 E 78th Street   Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                      $            55,500.00    Investor‐Lender     $        5,500.00   92‐1269
   1           1700‐08 Juneway Terrace                                    Estate Property   Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                    $            13,500.00    Investor‐Lender     $        6,500.00   1‐2088
  100        11117‐11119 S Longwood Drive                                 Estate Property   Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                    $            13,500.00    Investor‐Lender     $        7,000.00   100‐2088
   1           1700‐08 Juneway Terrace                                    Estate Property   Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                   $            13,500.00    Investor‐Lender     $        6,500.00   1‐2089
  100        11117‐11119 S Longwood Drive                                 Estate Property   Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                   $            13,500.00    Investor‐Lender     $        7,000.00   100‐2089
   61          7237‐43 S Bennett Avenue                                   Estate Property   QuestIRAFBOFrancisDWebb1437711                                               $           185,819.00    Investor‐Lender     $       12,064.00   61‐218
   74           3074 Cheltenham Place              7836 S Shore Drive     Estate Property   QuestIRAFBOFrancisDWebb1437711                                               $           185,819.00    Investor‐Lender     $       22,035.00   74‐218




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Property           Property Address            Alternative Address             Type                                   Claimant Name                                  Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                        Claim Category as           Form               Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
   77         7750‐58 S Muskegon Avenue        2818‐36 E 78th Street   Estate Property   QuestIRAFBOFrancisDWebb1437711                                              $            185,819.00   Investor‐Lender     $       50,000.00   77‐218
  126        5201‐5207 W Washington Blvd                               Former Property   QuestIRAFBOFrancisDWebb1437711                                              $            185,819.00   Investor‐Lender     $       50,000.00   126‐218
10 to 12                  CCF1                                         Fund              QuestIRAFBOFrancisDWebb1437711                                              $            185,819.00   Investor‐Lender     $       36,222.00   10‐218
    1           1700‐08 Juneway Terrace                                Estate Property   R D Meredith General Contractors LLC                                        $            100,000.00   Investor‐Lender     $      100,000.00   1‐1138
    1           1700‐08 Juneway Terrace                                Estate Property   R.D.Meredith General Contractors LLC 401K                                   $            373,617.16   Investor‐Lender     $       40,000.00   1‐528
   55            8107‐09 S Ellis Avenue                                Estate Property   R.D.Meredith General Contractors LLC 401K                                   $            373,617.16   Investor‐Lender     $       91,672.00   55‐528
   68         6217‐27 S Dorchester Avenue                              Estate Property   R.D.Meredith General Contractors LLC 401K                                   $            373,617.16   Investor‐Lender     $      150,750.00   68‐528
  118            400 S Kilbourn Avenue                                 Former Property   R.D.Meredith General Contractors LLC 401K                                   $            373,617.16   Investor‐Lender     $        5,875.00   118‐528
  123          7107‐29 S Bennett Avenue                                Former Property   R.D.Meredith General Contractors LLC 401K                                   $            373,617.16   Investor‐Lender     $      103,000.00   123‐528
    4          5450‐52 S Indiana Avenue         118‐132 E Garfield     Estate Property   R2V2 Investments LLC                                                        $             88,590.47   Investor‐Lender     $       20,000.00   4‐842
   68         6217‐27 S Dorchester Avenue                              Estate Property   R2V2 Investments LLC                                                        $             88,590.47   Investor‐Lender     $       30,188.00   68‐842
  123          7107‐29 S Bennett Avenue                                Former Property   R2V2 Investments LLC                                                        $             88,590.47   Investor‐Lender     $       47,004.00   123‐842

  904                    SSDF4                                         Fund              Race Mouty                                                                  $            20,000.00     Equity Investor    $       20,000.00   904‐326
   3            5001 S Drexel Boulevard          909 E 50th Street     Estate Property   Rachael B Curcio                                                            $           121,092.00    Investor‐Lender     $       50,000.00   3‐292

   67              1131‐41 E 79th Place                                Estate Property   Rachael B Curcio                                                            $           121,092.00    Investor‐Lender     $       71,092.00   67‐292
   85         7201‐07 S Dorchester Avenue       1401 E 72nd Street     Estate Property   Rachel Beck                                                                 $            64,480.66    Investor‐Lender     $       50,000.00   85‐813
  157             1655 N Humboldt Blvd                                 Former Property   Raghu Pulluru, FBO 1634276 Midland IRA                                      $           246,000.00    Investor‐Lender     $      153,000.00   157‐1214
  100        11117‐11119 S Longwood Drive                              Estate Property   Rajesh Gupta Roth IRA                                                       $           318,674.45    Investor‐Lender     $      265,562.00   100‐1280
13 to 15                  CCF2                                         Fund              Rajesh Gupta Roth IRA                                                       $            35,984.11    Investor‐Lender     $       29,000.00   13‐1282
    2          4533‐47 S Calumet Avenue                                Estate Property   Rajitha Dundigalla                                                          $            50,000.00    Investor‐Lender     $       50,000.00   2‐651
  100        11117‐11119 S Longwood Drive                              Estate Property   Rajitha Dundigalla                                                          $            50,000.00    Investor‐Lender     $       50,000.00   100‐655
10 to 12                  CCF1                                         Fund              Rajitha Dundigalla                                                          $            50,000.00     Equity Investor    $       50,000.00   10‐653
13 to 15                  CCF2                                         Fund              Rajitha Dundigalla                                                          $            50,000.00     Equity Investor    $       50,000.00   13‐654
  116      1102 Bingham St, Houston TX 77007                           Estate Property   RAMANAN RAMADOSS                                                            $               204.96     Equity Investor    $       15,000.00   116‐71
    6          6437‐41 S Kenwood Avenue                                Estate Property   Ramsey Stephan                                                              $            50,000.00    Investor‐Lender     $        9,481.00   6‐162
   71              701‐13 S 5th Avenue             414 Walnut          Estate Property   Ramsey Stephan                                                              $            50,000.00    Investor‐Lender     $       20,519.00   71‐162
   81          4317‐19 S Michigan Avenue                               Estate Property   Ramsey Stephan                                                              $            50,000.00    Investor‐Lender     $       20,000.00   81‐162
  912                SSPH Portfolio 1                                  Fund              Ran Barth                                                                   $           326,358.35     Equity Investor    $      331,000.00   912‐65
    2          4533‐47 S Calumet Avenue                                Estate Property   Randall Sotka                                                               $           255,000.00    Investor‐Lender     $      100,000.00   2‐1207
   60           7026‐42 S Cornell Avenue                               Estate Property   Randall Sotka                                                               $           255,000.00    Investor‐Lender     $        4,225.00   60‐1207
   70            638‐40 N Avers Avenue                                 Estate Property   Randall Sotka                                                               $           255,000.00    Investor‐Lender     $       11,949.00   70‐1207
   72           7024‐32 S Paxton Avenue                                Estate Property   Randall Sotka                                                               $           255,000.00    Investor‐Lender     $       55,000.00   72‐1207
   75          7625‐33 S East End Avenue                               Estate Property   Randall Sotka                                                               $           255,000.00    Investor‐Lender     $       38,826.00   75‐1207
10 to 12                  CCF1                                         Fund              Randall Sotka                                                               $           255,000.00    Investor‐Lender     $      100,000.00   10‐1207
  904               SSDF4 Legacy Fund                                  Fund              Randeep S Kapoor                                                            $            50,000.00     Equity Investor    $       50,000.00   904‐597
   92            7748‐52 S Essex Avenue        2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                               $            50,000.00    Investor‐Lender     $       50,000.00   92‐454
   92            7748‐52 S Essex Avenue        2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                               $            50,000.00    Investor‐Lender     $       50,000.00   92‐514
102‐106          7927‐49 S Essex Avenue                                Estate Property   Ranell Durgan                                                               $           200,000.00    Investor‐Lender     $      200,000.00   102‐515
102‐106          7927‐49 S Essex Avenue                                Estate Property   Ranell Durgan (Polycomp Trust Company_CFBO)                                 $           200,000.00    Investor‐Lender     $      200,000.00   102‐762
   71              701‐13 S 5th Avenue             414 Walnut          Estate Property   Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust, account #   $            57,800.00     Equity Investor    $       50,000.00   71‐1342
    5           7749‐59 S Yates Boulevard                              Estate Property   Raymond Thompson Investment Trust LLC                                       $            80,000.00    Investor‐Lender     $       30,000.00   5‐251




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Property            Property Address               Alternative Address               Type                                    Claimant Name                              Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                    Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                           Claim Category as            Form              Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Raymond Thompson Investment Trust LLC                                    $             80,000.00   Investor‐Lender     $       50,000.00   96‐251
  118             400 S Kilbourn Avenue                                      Former Property   RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E. Doerr, an   $             50,000.00   Investor‐Lender     $       50,000.00   118‐245
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Real Envisions LLC                                                       $             53,000.00   Investor‐Lender     $       50,000.00   79‐1021
  62              7834‐44 S Ellis Avenue                                     Estate Property   REBECCA D BLUST                                                          $             10,000.00    Equity Investor    $       10,000.00   62‐1189
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)       $            150,000.00   Investor‐Lender     $       50,000.00   79‐302
  87               7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)       $            150,000.00   Investor‐Lender     $       50,000.00   87‐302
  124            6801 S East End Avenue                                      Former Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)       $            150,000.00   Investor‐Lender     $       50,000.00   124‐302
  108              2800‐06 E 81st Street                                     Estate Property   Rende, Nicolas                                                           $            830,000.00   Investor‐Lender     $      430,000.00   108‐2048
  113            7840‐42 S Yates Avenue                                      Estate Property   Rende, Nicolas                                                           $            830,000.00   Investor‐Lender     $      400,000.00   113‐2048

  54             8000‐02 S Justine Street           1541 E 80th Street       Estate Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $      729,000.00   54‐768
  64           4611‐17 S Drexel Boulevard                                    Estate Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $      300,000.00   64‐768
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $      439,517.00   78‐768

  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $      100,000.00   79‐768
  92             7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $      180,000.00   92‐768
  126         5201‐5207 W Washington Blvd                                    Former Property   Rene Hribal                                                              $         1,525,473.04    Investor‐Lender     $       95,000.00   126‐768

  N/A                      N/A                                               Other             Return Path                                                              $            22,750.00     Trade Creditor                         1471
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Reymone Randall                                                          $            64,076.00    Investor‐Lender     $       50,500.00   68‐1258
   78           7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Reynald Lalonde & Chantal Lemaire                                        $            51,000.00    Investor‐Lender     $       50,000.00   78‐327
    1           1700‐08 Juneway Terrace                                      Estate Property   Ricardo Acevedo Lopez                                                    $            15,000.00    Investor‐Lender     $       15,000.00   1‐746
   94           816‐20 E Marquette Road                                      Estate Property   Ricardo Acevedo Lopez                                                    $            35,000.00    Investor‐Lender     $       35,000.00   94‐1267
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Richard L. Braddock                                                      $             9,526.99    Investor‐Lender     $        9,250.00   9‐512
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Richard L. Braddock                                                      $            92,375.45    Investor‐Lender     $       40,000.00   9‐396
   62             7834‐44 S Ellis Avenue                                     Estate Property   Richard L. Braddock                                                      $           104,161.08    Investor‐Lender     $       50,000.00   62‐509
   70             638‐40 N Avers Avenue                                      Estate Property   Richard L. Braddock                                                      $           104,161.08    Investor‐Lender     $       50,000.00   70‐509
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Richard L. Braddock                                                      $            92,375.45    Investor‐Lender     $       50,000.00   92‐396
  100        11117‐11119 S Longwood Drive                                    Estate Property   Rinku Uberoi                                                             $           250,000.00    Investor‐Lender     $      250,000.00   100‐1373
    1           1700‐08 Juneway Terrace                                      Estate Property   Rise Up Real Estate Group, LLC                                           $           352,258.39    Investor‐Lender     $      144,046.00   1‐1484
  100        11117‐11119 S Longwood Drive                                    Estate Property   Rise Up Real Estate Group, LLC                                           $           352,258.39    Investor‐Lender     $      125,000.00   100‐1484
   60           7026‐42 S Cornell Avenue                                     Estate Property   Rita Aken                                                                $            75,000.00    Investor‐Lender                         60‐770
   61           7237‐43 S Bennett Avenue                                     Estate Property   Rita Aken                                                                $            75,000.00    Investor‐Lender                         61‐770
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Rita Aken                                                                $            75,000.00    Investor‐Lender                         89‐770
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Rita Deierlein                                                           $            32,000.00     Equity Investor    $       32,000.00   73‐260
    1           1700‐08 Juneway Terrace                                      Estate Property   RLD Denouement Holding Company, LLC                                      $            20,000.00    Investor‐Lender     $       20,000.00   1‐483
  904                     SSDF4                                              Fund              RLD Denouement Holding Company, LLC                                      $           150,000.00     Equity Investor    $       50,000.00   904‐483
10 to 12        7301‐09 S Stewart Avenue                                     Fund              RLD Denouement Holding Company, LLC                                      $           150,000.00     Equity Investor    $      100,000.00   10‐483
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Robert A Demick DDS PA 401K                                              $           177,678.65    Investor‐Lender     $       50,000.00   6‐680
   58          5955 S Sacramento Avenue           2948‐56 W 60th Street      Estate Property   Robert A Demick DDS PA 401K                                              $           177,678.65    Investor‐Lender     $       29,000.00   58‐680
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   Robert A Demick DDS PA 401K                                              $           177,678.65    Investor‐Lender     $       50,000.00   71‐680
   72           7024‐32 S Paxton Avenue                                      Estate Property   Robert A Demick DDS PA 401K                                              $           177,678.65    Investor‐Lender     $       50,000.00   72‐680
  115             109 N Laramie Avenue                                       Former Property   Robert A Demick DDS PA 401K                                              $           177,678.65    Investor‐Lender     $       30,000.00   115‐680




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Property            Property Address               Alternative Address               Type                                    Claimant Name                            Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in      Identified on Claim     be Invested in
                                                                                                                                                                         Claim Category as             Form              Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
  904                     SSDF4                                              Fund              Robert A Demick DDS PA 401K                                            $             50,422.00     Equity Investor    $       50,422.00   904‐680
102‐106          7927‐49 S Essex Avenue                                      Estate Property   ROBERT A LAPORTE                                                       $            100,000.00    Investor‐Lender     $       50,000.00   102‐1038
 13‐15            2909‐19 E 78th Street                                      Fund              ROBERT A LAPORTE                                                       $            100,000.00    Investor‐Lender     $       50,000.00   13‐1038
    2           4533‐47 S Calumet Avenue                                     Estate Property   Robert Conley III                                                       $              3,187.50   Investor‐Lender     $       75,000.00   2‐789
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Robert Conley III                                                                                 Investor‐Lender     $      325,000.00   9‐277
  904                     SSDF4                                              Fund              Robert Conley III                                                       $              9,750.00    Equity Investor    $      325,000.00   904‐277
  126         5201‐5207 W Washington Blvd                                    Former Property   Robert Demick                                                          $             46,131.88    Investor‐Lender     $       49,000.00   126‐782
10 to 12                   CCF1                                              Fund              Robert E. Jeter                                                        $            300,000.00    Investor‐Lender                         10‐1230
13 to 15                   CCF2                                              Fund              Robert E. Jeter                                                        $            300,000.00    Investor‐Lender                         13‐1230
   76           7635‐43 S East End Avenue                                    Estate Property   Robert Guiney                                                          $            112,260.00    Investor‐Lender     $       18,250.00   76‐798
   80             2736‐44 W 64th Street                                      Estate Property   Robert Guiney                                                          $            112,260.00    Investor‐Lender     $       50,000.00   80‐798
   86           7442‐48 S Calumet Avenue                                     Estate Property   Robert Guiney                                                          $            112,260.00    Investor‐Lender     $       25,000.00   86‐798
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property   Robert Guiney                                                          $            112,260.00    Investor‐Lender     $       14,058.22   111‐798

  117            3915 N Kimball Avenue                                       Former Property   Robert Guiney                                                          $           112,260.00    Investor‐Lender      $       11,097.00   117‐798
   73           7255‐57 S Euclid Avenue            1940‐44 E 73rd Street     Estate Property   Robert Houston                                                         $            51,749.99    Investor‐Lender      $       50,000.00   73‐213
  116      1102 Bingham St, Houston TX 77007                                 Estate Property   Robert Karlsson for MiLLCreek Holdings LLC                             $           255,035.70    Investor‐Lender      $      200,000.00   116‐166

  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Robert Maione                                                          $           110,000.00    Investor‐Lender      $      110,000.00   89‐254

  69              6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Robert Mennella (Madison Trust Company Custodian FBO Robert Mennella   $            18,150.00    Investor‐Lender      $       18,150.00   69‐1302
   1            1700‐08 Juneway Terrace                                      Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       79,274.00   1‐1389
   2           4533‐47 S Calumet Avenue                                      Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $        6,634.00   2‐1389
   5            7749‐59 S Yates Boulevard                                    Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       15,000.00   5‐1389
   6           6437‐41 S Kenwood Avenue                                      Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       47,786.00   6‐1389
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       11,412.00   9‐1389
  60            7026‐42 S Cornell Avenue                                     Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       12,549.00   60‐1389
  75           7625‐33 S East End Avenue                                     Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $          786.00   75‐1389
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $        2,796.00   78‐1389
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       23,000.00   79‐1389
  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $        4,858.00   82‐1389
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       11,868.00   85‐1389
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       15,500.00   88‐1389
  93           7953‐59 S Marquette Road            2708‐10 E 80th Street     Estate Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       34,716.00   93‐1389
  124            6801 S East End Avenue                                      Former Property   Robert Potter                                                          $           282,999.00    Investor‐Lender      $       13,454.00   124‐1389
  904               SSDF4 Legacy Fund                                        Fund              Robert Potter                                                          $            15,000.00     Equity Investor     $       15,000.00   904‐1389
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Robert R. Cook   Principle Assets LLC                                  $             9,000.00    Investor‐Lender      $        9,000.00   73‐659

  87              7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Robert R. Cook   Principle Assets LLC                                  $             9,000.00    Investor‐Lender                          87‐659
  125           6548 N Campbell Avenue                                       Former Property   Robert Thaete                                                          $            75,358.42    Investor‐Lender      $       74,067.00   125‐1232
  155           Campo‐Mar, Puerto Rico                                       Former Property   Robert Thaete                                                          $            75,358.42    Investor‐Lender      $       26,000.00   155‐1232
   4           5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Robert W. Jennings                                                     $           308,632.47    Investor‐Lender      $      150,000.00   4‐447
  100        11117‐11119 S Longwood Drive                                    Estate Property   Robert W. Jennings                                                     $           308,632.47    Investor‐Lender      $      150,000.00   100‐447
  119            4019 S Indiana Avenue                                       Former Property   Robert Weech                                                           $               503.31    Investor‐Lender      $        6,912.56   119‐802



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Property            Property Address               Alternative Address               Type                                    Claimant Name                               Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                     Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                            Claim Category as            Form              Property
                                                                                                                                                                           Identified on Claim
                                                                                                                                                                                  Form)
13 to 15                  CCF2                                               Fund              Roberta Doucet, Cumen LLC                                                 $             25,000.00    Equity Investor    $       25,000.00   13‐645
   83           6356 S California Avenue            2804 W 64th Street       Estate Property   Rochelle Minchow                                                          $            190,000.00   Investor‐Lender     $      110,000.00   83‐2061
   87             7508 S Essex Avenue              2453‐59 E 75th Street     Estate Property   Rochelle Minchow                                                          $            190,000.00   Investor‐Lender     $       50,000.00   87‐2061

   81          4317‐19 S Michigan Avenue                                     Estate Property   Ronald Mark Beal                                                          $            90,000.00    Investor‐Lender     $       90,000.00   81‐187
  123           7107‐29 S Bennett Avenue                                     Former Property   Ronald Tucker                                                             $            51,583.00    Investor‐Lender     $       51,583.00   123‐1398
10 to 12                   CCF1                                              Fund              Ronald Tucker and Paula Tucker                                            $            51,583.00    Investor‐Lender     $       51,583.00   10‐1398
  100        11117‐11119 S Longwood Drive                                    Estate Property   Roswitha M. and John S. Ennema                                            $            58,179.21    Investor‐Lender     $        5,000.00   100‐564
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Roswitha M. and John S. Ennema                                            $            58,179.21    Investor‐Lender     $       45,000.00   102‐564
13 to 15                   CCF2                                              Fund              Roswitha M. and John S. Ennema                                            $            59,208.29     Equity Investor    $       50,000.00   13‐564
    6          6437‐41 S Kenwood Avenue                                      Estate Property   RSS TRIAD INVESTMENTS, LLC                                                $            31,400.00    Investor‐Lender     $       30,000.00   6‐1344
    2          4533‐47 S Calumet Avenue                                      Estate Property   Russ Moreland                                                             $             3,000.00    Investor‐Lender     $       50,000.00   2‐286
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Russ Moreland                                                             $             3,000.00    Investor‐Lender     $       50,000.00   87‐286
  115             109 N Laramie Avenue                                       Former Property   Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA    $                   ‐    Investor‐Lender     $       25,000.00   115‐924
  904                     SSDF4                                              Fund              Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA   $            25,000.00     Equity Investor    $       25,000.00   904‐924
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Russell Waite                                                             $           155,176.75    Investor‐Lender     $       85,425.00   68‐1120
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property   Russell Waite                                                             $           155,176.75    Investor‐Lender     $      220,119.00   111‐1120
  116      1102 Bingham St, Houston TX 77007                                 Estate Property   Russell Waite                                                             $           155,176.75    Investor‐Lender     $       50,000.00   116‐1120
  143              5434 S Wood Street                                        Former Property   Ryan Lam                                                                  $           150,000.00    Investor‐Lender     $       67,325.82   143‐832
  144              6525 S Evans Avenue                                       Former Property   Ryan Lam                                                                  $           150,000.00    Investor‐Lender     $      106,000.00   144‐832

   67              1131‐41 E 79th Place                                      Estate Property   S and P Investment Properties EPSP401k, Pat Thomasson, Trustee            $            22,705.83    Investor‐Lender     $       22,000.00   67‐293
    5           7749‐59 S Yates Boulevard                                    Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                          $           139,985.85    Investor‐Lender     $       12,000.00   5‐562
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                          $           139,985.85    Investor‐Lender     $       42,000.00   9‐562
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                          $           139,985.85    Investor‐Lender     $       80,000.00   74‐562
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Sam Harrison                                                              $            50,000.00    Investor‐Lender     $       25,000.00   4‐2027
  908                     SSDF 8                                             Fund              Sam Harrison                                                              $            50,000.00    Investor‐Lender     $       25,000.00   908‐2027
   88          7546‐48 S Saginaw Avenue                                      Estate Property   Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah and     $            24,500.00    Investor‐Lender     $       50,000.00   88‐915
   69             6250 S Mozart Avenue            2832‐36 W 63rd Street      Estate Property   Samir Totah                                                               $           178,437.50    Investor‐Lender     $      150,000.00   69‐862
   62             7834‐44 S Ellis Avenue                                     Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                 $           235,519.28    Investor‐Lender     $       50,000.00   62‐347
   71              701‐13 S 5th Avenue                 414 Walnut            Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                 $           235,519.28    Investor‐Lender     $      107,869.00   71‐347
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                 $           235,519.28    Investor‐Lender     $       41,131.00   74‐347
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Sandeep Kattar                                                            $            50,000.00    Investor‐Lender     $       50,000.00   4‐1396
10 to 12                   CCF1                                              Fund              Sandy Kikerpill, Fresh Advantage                                          $           233,000.00    Investor‐Lender     $      100,000.00   10‐875
13 to 15                   CCF2                                              Fund              Sandy Kikerpill, Fresh Advantage                                          $           233,000.00    Investor‐Lender     $      100,000.00   13‐875
    5           7749‐59 S Yates Boulevard                                    Estate Property   Sarah Geldart                                                             $            57,200.00    Investor‐Lender     $       37,500.00   5‐1285
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Sarah Geldart                                                             $            57,200.00    Investor‐Lender     $       20,000.00   79‐1285

  109           4750‐52 S Indiana Avenue                                     Estate Property   Sarah Qiuhong Yang                                                        $           100,000.00     Equity Investor    $      100,000.00   109‐1272
  119             4019 S Indiana Avenue                                      Former Property   Sarah Qiuhong Yang                                                        $            60,543.00    Investor‐Lender     $       53,420.00   119‐1272
    3            5001 S Drexel Boulevard             909 E 50th Street       Estate Property   Schankman, Michael                                                        $            57,402.06    Investor‐Lender     $       50,000.00   3‐2052
  119             4019 S Indiana Avenue                                      Former Property   Schankman, Michael                                                        $            57,402.06    Investor‐Lender     $       26,000.00   119‐2052
10 to 12                   CCF1                                              Fund              Schankman, Michael                                                        $           112,557.00     Equity Investor    $       50,000.00   10‐2052




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Property         Property Address           Alternative Address               Type                                    Claimant Name                                    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                   Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                          Claim Category as           Form               Property
                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                Form)
  50            7760 S Coles Avenue                                   Estate Property   Scott E Pammer                                                                 $            243,954.00   Investor‐Lender     $       12,070.00   50‐827
  74           3074 Cheltenham Place         7836 S Shore Drive       Estate Property   Scott E Pammer                                                                 $            243,954.00   Investor‐Lender     $       70,000.00   74‐827
  77        7750‐58 S Muskegon Avenue       2818‐36 E 78th Street     Estate Property   Scott E Pammer                                                                 $            243,954.00   Investor‐Lender     $       70,000.00   77‐827
  83          6356 S California Avenue       2804 W 64th Street       Estate Property   Scott E Pammer                                                                 $            243,954.00   Investor‐Lender     $       50,000.00   83‐827

  126      5201‐5207 W Washington Blvd                                Former Property   Scott E Pammer                                                                 $           243,954.00    Investor‐Lender     $       50,000.00   126‐827

    1         1700‐08 Juneway Terrace                                 Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $       25,000.00   1‐1470
    3          5001 S Drexel Boulevard        909 E 50th Street       Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $      100,000.00   3‐1470
   61         7237‐43 S Bennett Avenue                                Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $       50,000.00   61‐1470
   68       6217‐27 S Dorchester Avenue                               Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $       25,000.00   68‐1470
  100      11117‐11119 S Longwood Drive                               Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $       50,000.00   100‐1470
  904                   SSDF4                                         Fund              Scott Eaton                                                                    $            49,200.00     Equity Investor    $       50,000.00   904‐1470
13 to 15                CCF2                                          Fund              Scott Eaton                                                                    $            49,200.00     Equity Investor    $       20,000.00   13‐1470
 96‐99          8326‐58 S Ellis Avenue                                Estate Property   Scott Eaton                                                                    $           549,101.33    Investor‐Lender     $       60,000.00   96‐1470
  122        7616‐7624 S Phillips Avenue                              Former Property   Scott Naftulin dba N North End, LLC                                            $            71,946.23    Investor‐Lender     $       50,000.00   122‐216
  123         7107‐29 S Bennett Avenue                                Former Property   Scott Naftulin dba N North End, LLC                                            $            71,946.23    Investor‐Lender     $       25,000.00   123‐216
  125          6548 N Campbell Avenue                                 Former Property   Scott Naftulin dba N North End, LLC                                            $            71,946.23    Investor‐Lender     $       25,000.00   125‐216
   61         7237‐43 S Bennett Avenue                                Estate Property   Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit Sharing   $            20,000.00    Investor‐Lender     $       20,000.00   61‐1468
                                                                                        Plan
    4        5450‐52 S Indiana Avenue        118‐132 E Garfield       Estate Property   SeaDog Properties LLC / Darrell Odum                                           $           134,000.00    Investor‐Lender     $       24,000.00   4‐381
   67           1131‐41 E 79th Place                                  Estate Property   SeaDog Properties LLC / Darrell Odum                                           $           134,000.00    Investor‐Lender     $       50,000.00   67‐381
   95          8201 S Kingston Avenue                                 Estate Property   SeaDog Properties LLC / Darrell Odum                                           $           134,000.00    Investor‐Lender     $       60,000.00   95‐381
   77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street     Estate Property   Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA                   $            57,290.32    Investor‐Lender     $       50,000.00   77‐544
   1          1700‐08 Juneway Terrace                                 Estate Property   Serva Fidem, LLC                                                               $            78,510.69    Investor‐Lender     $       34,930.00   1‐1425
  100      11117‐11119 S Longwood Drive                               Estate Property   Serva Fidem, LLC                                                               $            78,510.69    Investor‐Lender     $       25,000.00   100‐1425
   91          7701‐03 S Essex Avenue                                 Estate Property   Shane E Veltri                                                                 $           465,000.00     Equity Investor    $      465,000.00   91‐733
   7         7109‐19 S Calumet Avenue                                 Estate Property   SHANKAR THIRUPPATHI                                                            $           100,000.00    Investor‐Lender     $      100,000.00   7‐718
  68        6217‐27 S Dorchester Avenue                               Estate Property   SHANKAR THIRUPPATHI                                                            $           100,000.00    Investor‐Lender     $       84,190.00   68‐718

  69           6250 S Mozart Avenue        2832‐36 W 63rd Street      Estate Property   SHANKAR THIRUPPATHI                                                            $           100,000.00   Investor‐Lender      $       16,310.00   69‐718
   4        5450‐52 S Indiana Avenue         118‐132 E Garfield       Estate Property   Shatar Capital Inc et al                                                       $         2,341,486.08 Institutional Lender                       4‐1483
   5        7749‐59 S Yates Boulevard                                 Estate Property   Shatar Capital Inc et al                                                       $         2,341,486.08 Institutional Lender                       5‐1483
  95          8201 S Kingston Avenue                                  Estate Property   Shelton Gandy                                                                  $            82,360.00    Equity Investor     $       50,000.00   95‐630
   2        4533‐47 S Calumet Avenue                                  Estate Property   Shengjie Li and Yuye Xu                                                        $           165,441.12   Investor‐Lender      $       50,000.00   2‐1340
  9             8100 S Essex Avenue        2449‐57 East 81st Street   Estate Property   Shengjie Li and Yuye Xu                                                        $           165,441.12   Investor‐Lender      $      100,000.00   9‐1340
  68       6217‐27 S Dorchester Avenue                                Estate Property   Shengjie Li and Yuye Xu                                                        $           165,441.12   Investor‐Lender      $       35,000.00   68‐1340
  94         816‐20 E Marquette Road                                  Estate Property   Shengjie Li and Yuye Xu                                                        $           165,441.12   Investor‐Lender      $       25,000.00   94‐1340
  60         7026‐42 S Cornell Avenue                                 Estate Property   Sherri Agnifili                                                                $            30,962.50   Investor‐Lender      $       30,000.00   60‐348
  69           6250 S Mozart Avenue        2832‐36 W 63rd Street      Estate Property   Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl F.              $            18,150.00   Investor‐Lender      $       18,150.00   69‐731
                                                                                        Mennella Roth IRA M1604088)
   5         7749‐59 S Yates Boulevard                                Estate Property   Shlomo Zussman                                                                 $            25,000.00    Investor‐Lender     $       25,000.00   5‐579
 13‐15         2909‐19 E 78th Street                                  Fund              Shreeja LLC                                                                    $            55,814.04    Investor‐Lender     $       50,000.00   13‐1444
  82         6355‐59 S Talman Avenue       2616‐22 W 64th Street      Estate Property   Sidney Cohn                                                                    $            87,049.30    Investor‐Lender     $       60,000.00   82‐720



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Property           Property Address             Alternative Address               Type                                    Claimant Name                               Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                  Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                         Claim Category as           Form               Property
                                                                                                                                                                        Identified on Claim
                                                                                                                                                                               Form)
  73            7255‐57 S Euclid Avenue         1940‐44 E 73rd Street     Estate Property   Sidney Glenn Willeford II                                                 $             75,000.00   Investor‐Lender     $       75,000.00   73‐1083
  74             3074 Cheltenham Place           7836 S Shore Drive       Estate Property   Sidney Haggins                                                            $             85,000.00   Investor‐Lender     $       30,000.00   74‐1434
  78           7201 S Constance Avenue          1825‐31 E 72nd Street     Estate Property   Sidney Haggins                                                            $             70,000.00   Investor‐Lender     $       50,000.00   78‐1431
  88           7546‐48 S Saginaw Avenue                                   Estate Property   Sidney Haggins                                                            $             70,000.00   Investor‐Lender     $       20,000.00   88‐1431
102‐106          7927‐49 S Essex Avenue                                   Estate Property   Sidney Haggins                                                            $             85,000.00   Investor‐Lender     $       35,000.00   102‐1434
 96‐99            8326‐58 S Ellis Avenue                                  Estate Property   Sidney Haggins                                                            $             85,000.00   Investor‐Lender     $       20,000.00   96‐1434
   1            1700‐08 Juneway Terrace                                   Estate Property   Simon Usuga                                                               $             95,000.00   Investor‐Lender     $       45,000.00   1‐681

 96‐99          8326‐58 S Ellis Avenue                                    Estate Property   Simon Usuga                                                               $            95,000.00    Investor‐Lender     $       50,000.00   96‐681
   55           8107‐09 S Ellis Avenue                                    Estate Property   SLB Ventures, LLC                                                         $           215,215.48    Investor‐Lender     $       95,000.00   55‐565
   56             8209 S Ellis Avenue                                     Estate Property   SLB Ventures, LLC                                                         $           215,215.48    Investor‐Lender     $       24,960.00   56‐565
  109          4750‐52 S Indiana Avenue                                   Estate Property   SLB Ventures, LLC                                                         $           215,215.48    Investor‐Lender     $       80,040.00   109‐565
   5          7749‐59 S Yates Boulevard                                   Estate Property   Smart Technologies PSP, Nizarali Jetha ‐ Manager                          $           106,458.35    Investor‐Lender     $      100,000.00   5‐1458
   81         4317‐19 S Michigan Avenue                                   Estate Property   Sohm Strategic Investments, LLC                                           $            77,250.00    Investor‐Lender     $       25,000.00   81‐865
  88          7546‐48 S Saginaw Avenue                                    Estate Property   Sohm Strategic Investments, LLC                                           $            77,250.00    Investor‐Lender     $       50,000.00   88‐865

  904                    SSDF4                                            Fund              Sohm Strategic Investments, LLC                                           $            77,250.00 Investor‐Lender and    $       75,000.00   904‐865
13 to 15                  CCF2                                            Fund              Sonoca Corporation                                                        $            47,630.56    Equity Investor     $       50,000.00   13‐422
  126        5201‐5207 W Washington Blvd                                  Former Property   Soujanya Simhadri                                                         $            25,000.00   Investor‐Lender      $       25,000.00   126‐766
    9             8100 S Essex Avenue          2449‐57 East 81st Street   Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $           148,278.93   Investor‐Lender      $       50,000.00   9‐1439
   61          7237‐43 S Bennett Avenue                                   Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $           148,278.93   Investor‐Lender      $       35,000.00   61‐1439
   73           7255‐57 S Euclid Avenue         1940‐44 E 73rd Street     Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $           148,278.93   Investor‐Lender      $       60,000.00   73‐1439
    1          1700‐08 Juneway Terrace                                    Estate Property   Source One Funding, LLC                                                   $            51,534.99   Investor‐Lender      $       50,000.00   1‐691
    1          1700‐08 Juneway Terrace                                    Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00   Investor‐Lender      $      110,000.00   1‐1220

   77         7750‐58 S Muskegon Avenue         2818‐36 E 78th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00   Investor‐Lender      $       82,255.00   77‐1220
   89          7600‐10 S Kingston Avenue        2527‐29 E 76th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00 Investor‐Lender and    $      126,126.00   89‐1220
  115            109 N Laramie Avenue                                     Former Property   Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00   Investor‐Lender      $      105,772.00   115‐1220

  116      1102 Bingham St, Houston TX 77007                              Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00    Investor‐Lender     $      139,971.00   116‐1220
  904                   SSDF4                                             Fund              Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00     Equity Investor    $      260,907.00   904‐1200
  912        South Shore Property Holdings                                Fund              Spectra Investments LLC/ Deborah L. Mullica                               $           579,288.00     Equity Investor    $      110,000.00   912‐1220

   67             1131‐41 E 79th Place                                    Estate Property   Sri Navalpakkam (AniPri Enterprises LLC)                                  $           259,775.00   Investor‐Lender      $      159,775.00   67‐484
13 to 15                  CCF2                                            Fund              Sri Navalpakkam (AniPri Enterprises LLC)                                  $           259,775.00    Equity Investor     $      100,000.00   13‐484
  904                    SSDF4                                            Fund              Stanley J Kessock (Madison Trust Company FBO Stanley J. Kessock)          $            82,400.00 Investor‐Lender and    $       80,000.00   904‐866
13 to 15                  CCF2                                            Fund              STANLEY SCOTT                                                             $            56,845.00   Investor‐Lender      $       60,000.00   13‐146
   75          7625‐33 S East End Avenue                                  Estate Property   Stephan Tang                                                              $           123,256.97   Investor‐Lender      $       25,185.00   75‐1111
   88          7546‐48 S Saginaw Avenue                                   Estate Property   Stephan Tang                                                              $            50,000.00    Equity Investor     $       50,000.00   88‐1111
  100        11117‐11119 S Longwood Drive                                 Estate Property   Stephan Tang                                                              $            50,000.00    Equity Investor     $       50,000.00   100‐1111
  115            109 N Laramie Avenue                                     Former Property   Stephan Tang                                                              $           123,256.97   Investor‐Lender      $       50,000.00   115‐1111
    2          4533‐47 S Calumet Avenue                                   Estate Property   Stephen V Mancuso, Laura L Mancuso, SLM Property Investments, IRA Trust   $            50,000.00   Investor‐Lender      $       50,000.00   2‐769
    5          7749‐59 S Yates Boulevard                                  Estate Property   Steve Weera Tonasut and Esther Kon Tonasut                                $            50,000.00    Equity Investor     $       50,000.00   5‐154
   84            7051 S Bennett Avenue                                    Estate Property   Steve Weera Tonasut and Esther Kon Tonasut                                $            50,000.00   Investor‐Lender      $       50,000.00   84‐312



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Property         Property Address            Alternative Address            Type                                  Claimant Name    Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                               Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                      Claim Category as            Form              Property
                                                                                                                                     Identified on Claim
                                                                                                                                            Form)
  908                  SSDF8                                        Fund              Steve Weera Tonasut and Esther Kon Tonasut   $             16,033.00    Equity Investor    $       16,033.00   908‐975
  937             Mezzazine Fund                                    Fund              Steve Weera Tonasut and Esther Kon Tonasut   $             33,967.00    Equity Investor    $       33,967.00   937‐390
10 to 12               CCF1                                         Fund              Steve Weera Tonasut and Esther Kon Tonasut   $            100,000.00    Equity Investor    $      100,000.00   10‐303
 13‐15         2909‐19 E 78th Street                                Fund              Steve Weera Tonasut and Esther Kon Tonasut   $            150,000.00    Equity Investor    $      150,000.00   13‐304
   55          8107‐09 S Ellis Avenue                               Estate Property   Steven and Linda Lipschultz                  $            350,360.00   Investor‐Lender     $       73,360.00   55‐1442
   77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street   Estate Property   Steven and Linda Lipschultz                  $            350,360.00   Investor‐Lender     $      100,000.00   77‐1442
   93        7953‐59 S Marquette Road       2708‐10 E 80th Street   Estate Property   Steven and Linda Lipschultz                  $            350,360.00   Investor‐Lender     $      177,000.00   93‐1442
    2        4533‐47 S Calumet Avenue                               Estate Property   Steven C Noss                                $             69,388.00   Investor‐Lender     $       50,000.00   2‐361

   6        6437‐41 S Kenwood Avenue                                Estate Property   Steven C Noss                                $            69,388.00    Investor‐Lender     $       25,000.00   6‐361
  124         6801 S East End Avenue                                Former Property   Steven C Noss                                $            69,388.00    Investor‐Lender     $       17,560.00   124‐361
   4         5450‐52 S Indiana Avenue        118‐132 E Garfield     Estate Property   Steven G. Mouty                              $            50,000.00    Investor‐Lender     $       50,000.00   4‐566
   5         7749‐59 S Yates Boulevard                              Estate Property   Steven G. Mouty                              $            50,000.00    Investor‐Lender     $       50,000.00   5‐821
  100      11117‐11119 S Longwood Drive                             Estate Property   Steven G. Mouty                              $           465,000.00     Equity Investor    $      150,000.00   100‐821

  904                 SSDF4                                         Fund              Steven G. Mouty                              $           465,000.00    Equity Investor     $      100,000.00   904‐821
           (EB South Chicago 1, 2, 3, &4)
102‐106       7927‐49 S Essex Avenue                                Estate Property   Steven G. Mouty                              $           465,000.00     Equity Investor    $      100,000.00   102‐821
 13‐15         2909‐19 E 78th Street                                Fund              Steven G. Mouty                              $           465,000.00     Equity Investor    $      115,000.00   13‐821
   78        7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property   Steven J. Talyai                             $           175,000.00    Investor‐Lender                         78‐131
  124         6801 S East End Avenue                                Former Property   Steven J. Talyai                             $           175,000.00    Investor‐Lender                         124‐131
13 to 15               CCF2                                         Fund              Steven K Chennappan                          $           100,000.00    Investor‐Lender                         13‐1266
   78        7201 S Constance Avenue        1825‐31 E 72nd Street   Estate Property   Steven K. Chennappan IRA # 17293‐31          $           128,000.00    Investor‐Lender     $       10,000.00   78‐206

  92           7748‐52 S Essex Avenue       2450‐52 E 78th Street   Estate Property   Steven K. Chennappan IRA # 17293‐31          $           128,000.00    Investor‐Lender     $       18,000.00   92‐206
  93         7953‐59 S Marquette Road       2708‐10 E 80th Street   Estate Property   Steven K. Chennappan IRA # 17293‐31          $           128,000.00    Investor‐Lender     $       50,000.00   93‐206
  126      5201‐5207 W Washington Blvd                              Former Property   Steven K. Chennappan IRA # 17293‐31          $           128,000.00    Investor‐Lender     $       50,000.00   126‐206
  904                  SSDF4                                        Fund              Steven K. Chennappan IRA # 17293‐31          $           100,000.00     Equity Investor    $      100,000.00   904‐206
  60          7026‐42 S Cornell Avenue                              Estate Property   Steven Lipschultz                            $            71,126.00     Equity Investor    $       31,635.00   60‐1391
  68        6217‐27 S Dorchester Avenue                             Estate Property   Steven Lipschultz                            $            71,126.00     Equity Investor    $       22,000.00   68‐1391

  68       6217‐27 S Dorchester Avenue                              Estate Property   Steven Lipschultz                            $            85,000.00     Equity Investor    $       85,000.00   68‐1399
  125        6548 N Campbell Avenue                                 Former Property   Steven Lipschultz                            $            71,126.00    Investor‐Lender     $       38,000.00   125‐1391

  126      5201‐5207 W Washington Blvd                              Former Property   Steven Lipschultz                            $            71,126.00    Equity Investor     $       50,000.00   126‐1407

  904                 SSDF4                                         Fund              Steven Lipschultz                            $            71,126.00     Equity Investor    $       71,126.00   904‐1391
   1         1700‐08 Juneway Terrace                                Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $       60,000.00   1‐399
  58        5955 S Sacramento Avenue        2948‐56 W 60th Street   Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $       40,000.00   58‐399
  61        7237‐43 S Bennett Avenue                                Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $       60,000.00   61‐399

  62          7834‐44 S Ellis Avenue                                Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $      181,378.00   62‐399
  64        4611‐17 S Drexel Boulevard                              Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $      180,000.00   64‐399
  69          6250 S Mozart Avenue          2832‐36 W 63rd Street   Estate Property   Steven R. Bald                               $           586,378.00    Investor‐Lender     $       40,000.00   69‐399




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Property            Property Address               Alternative Address               Type                                   Claimant Name                            Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                        Claim Category as           Form               Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  75            7625‐33 S East End Avenue                                    Estate Property   Steven R. Bald                                                        $            586,378.00   Investor‐Lender                         75‐399
  76            7635‐43 S East End Avenue                                    Estate Property   Steven R. Bald                                                        $            586,378.00   Investor‐Lender                         76‐399

   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Steven R. Bald                                                        $           586,378.00    Investor‐Lender     $       30,000.00   79‐399
  100        11117‐11119 S Longwood Drive                                    Estate Property   Steven R. Bald                                                        $            45,000.00     Equity Investor    $       45,000.00   100‐399
  124            6801 S East End Avenue                                      Former Property   Steven R. Bald                                                        $           586,378.00    Investor‐Lender     $       20,000.00   124‐339
  128             8623‐54 S Ellis Avenue                                     Former Property   Steven R. Bald                                                        $           586,378.00    Investor‐Lender     $       60,000.00   128‐339
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $        5,000.00   4‐329

   6           6437‐41 S Kenwood Avenue                                      Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $       42,319.00   6‐329

  68          6217‐27 S Dorchester Avenue                                    Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $       10,000.00   68‐329
  72            7024‐32 S Paxton Avenue                                      Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $        9,500.00   72‐329
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $       50,000.00   79‐329

  82            6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $       10,000.00   82‐329

   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Steven Roche                                                          $           127,821.13    Investor‐Lender     $       20,000.00   85‐329
  100        11117‐11119 S Longwood Drive                                    Estate Property   Steven Trzaska                                                        $           167,000.00    Investor‐Lender     $      100,000.00   100‐141

10 to 12                 CCF1                                                Fund              Steven Trzaska                                                        $           167,000.00    Investor‐Lender     $       67,000.00   10‐141
   67             1131‐41 E 79th Place                                       Estate Property   Stilwell, Heidi                                                       $           125,000.00    Investor‐Lender     $       25,000.00   67‐2055

10 to 12                  CCF1                                               Fund              Stilwell, Heidi                                                       $           125,000.00    Investor‐Lender     $      100,000.00   10‐2055

   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   Strata Trust Company FBO David J Geldart                              $           230,621.00    Investor‐Lender                         9‐1010
  75            7625‐33 S East End Avenue                                    Estate Property   Strata Trust Company FBO David J Geldart                              $           230,621.00    Investor‐Lender                         75‐1010
  115             109 N Laramie Avenue                                       Former Property   Strata Trust Company FBO David J Geldart                              $           230,621.00    Investor‐Lender                         115‐1010

  68          6217‐27 S Dorchester Avenue                                    Estate Property   Strata Trust Company FBO Gary Wayne Williams                          $            50,000.00     Equity Investor    $       50,000.00   68‐193
  83            6356 S California Avenue            2804 W 64th Street       Estate Property   Strata Trust Company FBO Vincent Michael Spreuwenberg IRA 201207909   $            39,976.38    Investor‐Lender     $       35,067.00   83‐1160
  4            5450‐52 S Indiana Avenue             118‐132 E Garfield       Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $            70,866.00    Investor‐Lender     $       35,655.00   4‐595

    5           7749‐59 S Yates Boulevard                                    Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $            70,866.00    Investor‐Lender     $       23,626.00   5‐595
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $            70,866.00    Investor‐Lender     $       11,585.00   96‐595
   67              1131‐41 E 79th Place                                      Estate Property   Stuart Edelman                                                        $           167,250.00    Investor‐Lender     $       90,000.00   67‐1201
   95            8201 S Kingston Avenue                                      Estate Property   Stuart Edelman                                                        $           167,250.00    Investor‐Lender     $       75,000.00   95‐1201
   80             2736‐44 W 64th Street                                      Estate Property   Sunshine Bliss LLC                                                    $            32,800.00    Investor‐Lender     $       32,800.00   80‐1437
  123           7107‐29 S Bennett Avenue                                     Former Property   Sunwest Trust Custodian FBO Jose G. Galarza IRA                       $            44,789.00    Investor‐Lender     $       50,000.00   123‐1394
10 to 12                  CCF1                                               Fund              Sunwest Trust FBO Francis Webb 1510692                                $            27,000.00     Equity Investor    $       27,000.00   10‐288
   63          4520‐26 S Drexel Boulevard                                    Estate Property   Sunwest Trust‐FBO Mark P. Mouty                                       $           100,000.00     Equity Investor    $      100,000.00   63‐334
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Susan Kalisiak‐Tingle                                                 $           469,921.00    Investor‐Lender     $        9,274.00   4‐1438
    5           7749‐59 S Yates Boulevard                                    Estate Property   Susan Kalisiak‐Tingle                                                 $           469,921.00    Investor‐Lender     $       48,226.00   5‐1438
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Susan Kalisiak‐Tingle                                                 $           469,921.00    Investor‐Lender     $       50,000.00   6‐1438
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Susan Kalisiak‐Tingle                                                 $           469,921.00    Investor‐Lender     $       50,000.00   74‐1438



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Property            Property Address               Alternative Address               Type                                       Claimant Name                        Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                        Claim Category as            Form              Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  904              SSDF4 Legacy Fund                                         Fund              Susan Kalisiak‐Tingle                                                 $            106,000.00    Equity Investor    $       50,000.00   904‐1438
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   Susan Kalisiak‐Tingle                                                 $            469,921.00   Investor‐Lender     $       40,000.00   96‐1438
  81           4317‐19 S Michigan Avenue                                     Estate Property   SUSAN MARTINEZ                                                        $             51,000.00   Investor‐Lender     $       50,000.00   81‐701
   5           7749‐59 S Yates Boulevard                                     Estate Property   Teena B Ploeger                                                       $             18,500.00   Investor‐Lender     $       18,500.00   5‐521
   1            1700‐08 Juneway Terrace                                      Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender                         1‐330
   9              8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $       26,513.00   9‐330
  58           5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $       25,000.00   58‐330
  60            7026‐42 S Cornell Avenue                                     Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $       50,000.00   60‐330
  61           7237‐43 S Bennett Avenue                                      Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $       15,000.00   61‐330
  64           4611‐17 S Drexel Boulevard                                    Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender                         64‐330
  70             638‐40 N Avers Avenue                                       Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $        2,000.00   70‐330
  71              701‐13 S 5th Avenue                   414 Walnut           Estate Property   Teresita M. Shelton                                                   $            426,513.00   Investor‐Lender     $       50,000.00   71‐330

  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender                         73‐330

  85          7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender     $       50,000.00   85‐330

   86          7442‐48 S Calumet Avenue                                      Estate Property   Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender     $       30,000.00   86‐330
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender     $       30,000.00   92‐330
  118             400 S Kilbourn Avenue                                      Former Property   Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender     $       50,000.00   118‐330
10 to 12                   CCF1                                              Fund              Teresita M. Shelton                                                   $           426,513.00    Investor‐Lender     $       50,000.00   10‐330
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Terri S. Tracy                                                        $           265,000.00    Investor‐Lender     $       25,000.00   79‐272
   82           6355‐59 S Talman Avenue           2616‐22 W 64th Street      Estate Property   Terri S. Tracy                                                        $           265,000.00    Investor‐Lender     $       70,000.00   82‐272
   87              7508 S Essex Avenue            2453‐59 E 75th Street      Estate Property   Terri S. Tracy                                                        $           265,000.00    Investor‐Lender     $      120,000.00   87‐272
   94           816‐20 E Marquette Road                                      Estate Property   Terri S. Tracy                                                        $           265,000.00    Investor‐Lender     $       50,000.00   94‐272
    6          6437‐41 S Kenwood Avenue                                      Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       50,000.00   6‐602
   60           7026‐42 S Cornell Avenue                                     Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       50,000.00   60‐602
   74            3074 Cheltenham Place              7836 S Shore Drive       Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       50,000.00   74‐602
   77         7750‐58 S Muskegon Avenue            2818‐36 E 78th Street     Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       49,500.00   77‐602
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       50,000.00   79‐602
   91            7701‐03 S Essex Avenue                                      Estate Property   Terry L. Merrill, Sheryl R. Merrill                                   $           299,500.00    Investor‐Lender     $       50,000.00   91‐602

  64           4611‐17 S Drexel Boulevard                                    Estate Property   Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA   $           137,333.33    Investor‐Lender     $       50,000.00   64‐571
  88           7546‐48 S Saginaw Avenue                                      Estate Property   Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA   $           137,333.33    Investor‐Lender     $       87,333.33   88‐571
  901                    SSDF1                                               Fund              Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA   $           137,333.33     Equity Investor    $      137,333.33   901‐571
  73            7255‐57 S Euclid Avenue            1940‐44 E 73rd Street     Estate Property   Terry M McDonald and Rhonda R McDonald                                $            50,000.00    Investor‐Lender     $       50,000.00   73‐124
  61           7237‐43 S Bennett Avenue                                      Estate Property   Teton Equity Group LLC                                                $           208,439.99    Investor‐Lender     $      100,000.00   61‐1205

  71               701‐13 S 5th Avenue                  414 Walnut           Estate Property   Teton Equity Group LLC                                                $           208,439.99    Investor‐Lender     $      100,000.00   71‐1205
  N/A                      N/A                                               Other             Texas Comptroller of Public Accounts                                  $            42,261.72         Other                              613


  68          6217‐27 S Dorchester Avenue                                    Estate Property   TFG Retirement Trust                                                  $           340,886.77    Investor‐Lender     $       50,000.00   68‐665
  145          4755 S St Lawrence Avenue                                     Former Property   TFG Retirement Trust                                                  $           340,886.77    Investor‐Lender     $      261,376.12   145‐665




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Property            Property Address                 Alternative Address               Type                                    Claimant Name                            Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                    Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                           Claim Category as           Form               Property
                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                 Form)
10 to 12                  CCF1                                                 Fund              TFG Retirement Trust                                                   $            340,886.77   Investor‐Lender     $      100,000.00   10‐665


  81           4317‐19 S Michigan Avenue                                       Estate Property   Thaddeus Gala                                                          $           100,000.00    Investor‐Lender                         81‐2070
   9              8100 S Essex Avenue                                          Estate Property   Thaddeus Gala (Grand Mountain)                                         $           100,000.00    Investor‐Lender                         9‐2070
  62             7834‐44 S Ellis Avenue                                        Estate Property   Thaddeus Gala (Grand Mountain)                                         $           100,000.00    Investor‐Lender                         62‐2070


  77           7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola   $            25,000.00    Investor‐Lender     $       25,000.00   77‐949
  80              2736‐44 W 64th Street                                        Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola   $            25,000.00    Investor‐Lender     $       30,000.00   80‐949
  93            7953‐59 S Marquette Road            2708‐10 E 80th Street      Estate Property   The Bonita R. Skurski & Steven E Skurski Trust                         $            98,452.43    Investor‐Lender     $       80,000.00   93‐2093


  115             109 N Laramie Avenue                                         Former Property   The Bonita R. Skurski & Steven E Skurski Trust                         $            98,452.43    Investor‐Lender     $       20,000.00   115‐2093
   77          7750‐58 S Muskegon Avenue            2818‐36 E 78th Street      Estate Property   The Edward Falkowitz Living Trust                                      $           305,584.73    Investor‐Lender                         77‐575


  90           7656‐58 S Kingston Avenue          2514‐2520 East 77th Street   Estate Property   The Edward Falkowitz Living Trust                                      $           305,584.73    Investor‐Lender                         90‐575


  120            7823‐27 S Essex Avenue                                        Former Property   The Edward Falkowitz Living Trust                                      $           305,584.73    Investor‐Lender                         120‐575
   63          4520‐26 S Drexel Boulevard                                      Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                         $           150,000.00    Investor‐Lender     $       50,000.00   63‐790
  71              701‐13 S 5th Avenue                    414 Walnut            Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                         $           150,000.00    Investor‐Lender     $       50,000.00   71‐790
  79       6160‐6212 S Martin Luther King Drive                                Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                         $           150,000.00    Investor‐Lender     $       50,000.00   79‐790


  76           7635‐43 S East End Avenue                                       Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                   $           771,830.76    Investor‐Lender     $       80,000.00   76‐1421
  77          7750‐58 S Muskegon Avenue             2818‐36 E 78th Street      Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                   $           771,830.76    Investor‐Lender     $      150,000.00   77‐1421
  110       5618‐20 S Martin Luther King Drive                                 Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                   $           771,830.76    Investor‐Lender     $      429,650.00   110‐1421


  152              7635 S Coles Avenue                                         Former Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                   $           771,830.76    Investor‐Lender     $      105,000.00   152‐1421


  7             7109‐19 S Calumet Avenue                                       Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender     $        9,000.00   7‐139
  71               701‐13 S 5th Avenue                   414 Walnut            Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender                         71‐139
  82            6355‐59 S Talman Avenue             2616‐22 W 64th Street      Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender                         82‐139
  84             7051 S Bennett Avenue                                         Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender     $       75,000.00   84‐139
  93            7953‐59 S Marquette Road            2708‐10 E 80th Street      Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender                         93‐139


  111             6558 S Vernon Avenue               416‐24 E 66th Street      Estate Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender                         111‐139


  118            400 S Kilbourn Avenue                                         Former Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender     $       80,000.00   118‐139
  122          7616‐7624 S Phillips Avenue                                     Former Property   The Jacqueline C Rowe Living Trust                                     $           372,417.74    Investor‐Lender     $       25,000.00   122‐139



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Property        Property Address            Alternative Address               Type                                    Claimant Name                               Claimed Amount (Total Claim Category as       Amount Claimed to     Claim Number
Number                                                                                                                                                              Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                     Claim Category as           Form               Property
                                                                                                                                                                    Identified on Claim
                                                                                                                                                                           Form)
  904                SSDF4                                            Fund              The Jacqueline C Rowe Living Trust                                        $            372,417.74   Equity Investor                          904‐139

  N/A                 N/A                                             Other             The Kraus Law Firm                                                        $            12,010.00     Trade Creditor                          425


  N/A                   N/A                                           Other             The Law Office of Richard K. Hellerman, PC                                $            10,032.67      Independent                            142
  77       7750‐58 S Muskegon Avenue       2818‐36 E 78th Street      Estate Property   The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella Managing   $            50,000.00    Investor‐Lender     $       50,000.00    77‐1032
  69          6250 S Mozart Avenue         2832‐36 W 63rd Street      Estate Property   The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella Managing      $            14,200.00    Investor‐Lender     $       14,200.00    69‐905
  58        5955 S Sacramento Avenue       2948‐56 W 60th Street      Estate Property   The Moore/Ferrer Family 2004 Trust                                        $           208,341.66    Investor‐Lender     $       50,000.00    58‐107
  82         6355‐59 S Talman Avenue       2616‐22 W 64th Street      Estate Property   The Moore/Ferrer Family 2004 Trust                                        $           208,341.66    Investor‐Lender     $       50,000.00    82‐107
 96‐99        8326‐58 S Ellis Avenue                                  Estate Property   The Moore/Ferrer Family 2004 Trust                                        $           208,341.66    Investor‐Lender     $      100,000.00    96‐107
  71           701‐13 S 5th Avenue              414 Walnut            Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $      100,000.00    71‐2044
  75        7625‐33 S East End Avenue                                 Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $      167,100.00    75‐2044
  76        7635‐43 S East End Avenue                                 Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $       50,000.00    76‐2044
  83         6356 S California Avenue       2804 W 64th Street        Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $      149,212.00    83‐2044
  84          7051 S Bennett Avenue                                   Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $      175,530.00    84‐2044
  86        7442‐48 S Calumet Avenue                                  Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $       11,121.00    86‐2044
  88        7546‐48 S Saginaw Avenue                                  Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $       85,500.00    88‐2044
  90        7656‐58 S Kingston Avenue    2514‐2520 East 77th Street   Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $       27,165.00    90‐2044


  111         6558 S Vernon Avenue          416‐24 E 66th Street      Estate Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $       100,000.00   111‐2044
  118         400 S Kilbourn Avenue                                   Former Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $        95,000.00   118‐2044
  122      7616‐7624 S Phillips Avenue                                Former Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $        82,650.00   122‐2044
  124        6801 S East End Avenue                                   Former Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $        30,000.00   124‐2044
  150           526 W 78th Street                                     Former Property   The Peter Paul Nuspl Living Trust                                         $         1,123,278.00    Investor‐Lender     $        50,000.00   125‐2044
  904                  SSDF4                                          Fund              The Peter Paul Nuspl Living Trust                                         $            91,237.31     Equity Investor    $     1,123,278.00   904‐2044
   9           8100 S Essex Avenue        2449‐57 East 81st Street    Estate Property   Therese Tibbits                                                           $            77,826.66    Investor‐Lender     $        60,000.00   9‐208
   67          1131‐41 E 79th Place                                   Estate Property   Thomas A Connely and Laurie A Connely                                     $            55,000.00     Equity Investor    $        55,000.00   67‐899
    4       5450‐52 S Indiana Avenue         118‐132 E Garfield       Estate Property   Thomas F. Gordon                                                          $           200,000.00     Equity Investor    $       100,000.00   4‐2023
   6       6437‐41 S Kenwood Avenue                                   Estate Property   Thomas F. Gordon                                                          $            85,000.00     Equity Investor    $        85,000.00   6‐2023
   77      7750‐58 S Muskegon Avenue       2818‐36 E 78th Street      Estate Property   Thomas F. Gordon                                                          $           200,000.00     Equity Investor    $       100,000.00   77‐2023


  70         638‐40 N Avers Avenue                                    Estate Property   Thomas Walsh                                                              $            51,749.99   Investor‐Lender      $       50,000.00    70‐738
  1         1700‐08 Juneway Terrace                                   Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                           $         2,698,151.51 Institutional Lender                        1‐1188

  101       6949‐59 S Merrill Avenue                                  Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                           $         1,915,706.50 Institutional Lender                        101‐1188

   1        1700‐08 Juneway Terrace                                   Estate Property   Tiger Chang Investments LLC                                               $            49,000.00    Investor‐Lender     $       10,000.00    1‐164
   3        5001 S Drexel Boulevard          909 E 50th Street        Estate Property   Tiger Chang Investments LLC                                               $             5,000.00     Equity Investor    $        5,000.00    3‐164
   9          8100 S Essex Avenue         2449‐57 East 81st Street    Estate Property   Tiger Chang Investments LLC                                               $            49,000.00    Investor‐Lender     $       10,000.00    9‐164
  76       7635‐43 S East End Avenue                                  Estate Property   Tiger Chang Investments LLC                                               $            49,000.00    Investor‐Lender     $       25,000.00    76‐164
102‐106      7927‐49 S Essex Avenue                                   Estate Property   Tiger Chang Investments LLC                                               $            49,000.00    Investor‐Lender     $        4,000.00    102‐164




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Property            Property Address               Alternative Address               Type                                      Claimant Name                   Claimed Amount (Total    Claim Category as    Amount Claimed to    Claim Number
Number                                                                                                                                                           Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                  Claim Category as           Form               Property
                                                                                                                                                                 Identified on Claim
                                                                                                                                                                        Form)
   9               8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   TIMMY RINK                                                                               Investor‐Lender                          9‐217

  123          7107‐29 S Bennett Avenue                                      Former Property   TIMMY RINKJ                                                     $           78,048.23    Investor‐Lender                          123‐229
    4           5450‐52 S Indiana Avenue             118‐132 E Garfield      Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   4‐76
    9             8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   9‐76
   58          5955 S Sacramento Avenue            2948‐56 W 60th Street     Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   58‐76
   64          4611‐17 S Drexel Boulevard                                    Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   64‐76
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $      100,000.00   68‐76
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   85‐76
   86          7442‐48 S Calumet Avenue                                      Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   86‐76
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   89‐76
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $      100,000.00   92‐76
  100        11117‐11119 S Longwood Drive                                    Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   100‐76
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   102‐76
13 to 15                  CCF2                                               Fund              Timothy S Sharp                                                 $          650,000.00    Investor‐Lender      $       50,000.00   13‐76
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   TMAKINDE, LLC                                                   $          247,000.00    Investor‐Lender      $       25,000.00   4‐372
   59        6001‐05 S Sacramento Avenue          2945‐51 W 60th Street      Estate Property   TMAKINDE, LLC                                                   $          247,000.00    Investor‐Lender      $      108,000.00   59‐372

   70            638‐40 N Avers Avenue                                       Estate Property   TMAKINDE, LLC                                                   $          247,000.00    Investor‐Lender      $      114,000.00   70‐372
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   Todd Colucy                                                     $           54,000.02    Investor‐Lender      $       50,000.00   79‐70
  901                     SSDF1                                              Fund              Todd Colucy                                                     $           50,000.00     Equity Investor     $       50,000.00   901‐322
    5           7749‐59 S Yates Boulevard                                    Estate Property   Tolu Makinde                                                    $           90,000.00    Investor‐Lender      $       30,000.00   5‐370
   70            638‐40 N Avers Avenue                                       Estate Property   Tolu Makinde                                                    $           90,000.00    Investor‐Lender      $       15,000.00   70‐370
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Tolu Makinde                                                    $           90,000.00    Investor‐Lender      $       25,000.00   73‐370
  908                     SSDF8                                              Fund              Tolu Makinde                                                    $           90,000.00    Investor‐Lender      $       20,000.00   908‐370
   68         6217‐27 S Dorchester Avenue                                    Estate Property   Top Mark Home Solutions                                         $           30,800.00    Investor‐Lender      $       30,000.00   68‐1416
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property   Toramba Trust (ROTH) Matthew Boyd, Trustee                      $          158,000.00    Investor‐Lender      $       58,000.00   71‐2062
13 to 15                   CCF2                                              Fund              Toramba Trust (ROTH) Matthew Boyd, Trustee                      $          100,000.00     Equity Investor     $      100,000.00   13‐2062
   76          7635‐43 S East End Avenue                                     Estate Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $        1,571,886.00    Investor‐Lender      $      520,000.00   76‐1366
  122          7616‐7624 S Phillips Avenue                                   Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $        1,571,886.00    Investor‐Lender      $      435,350.00   122‐1366
  123           7107‐29 S Bennett Avenue                                     Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $        1,571,886.00    Investor‐Lender      $      400,000.00   123‐1366
  152              7635 S Coles Avenue                                       Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $        1,571,886.00    Investor‐Lender      $      105,000.00   152‐1366
   59         6001‐05 S Sacramento Avenue         2945‐51 W 60th Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $          135,000.00    Investor‐Lender      $       30,000.00   59‐338
   78           7201 S Constance Avenue           1825‐31 E 72nd Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $          135,000.00    Investor‐Lender      $       50,000.00   78‐338
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $          135,000.00    Investor‐Lender      $       30,000.00   85‐338
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $          135,000.00    Investor‐Lender      $       25,000.00   89‐338
   76          7635‐43 S East End Avenue                                     Estate Property   Trey Hopkins                                                    $          100,000.00    Investor‐Lender      $      100,000.00   76‐714
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property   TruStar Real Estate Solutions, LLC                              $          385,000.00    Investor‐Lender      $       75,000.00   71‐337

  74             3074 Cheltenham Place              7836 S Shore Drive       Estate Property   TruStar Real Estate Solutions, LLC                              $          385,000.00    Investor‐Lender      $       75,000.00   74‐337
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   TruStar Real Estate Solutions, LLC                              $          385,000.00    Investor‐Lender      $      210,000.00   89‐337
 96‐99           8326‐58 S Ellis Avenue                                      Estate Property   TruStar Real Estate Solutions, LLC                              $          385,000.00    Investor‐Lender      $       25,000.00   96‐337
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   TSC Trust (Patricia Scully, Trustee)                            $           50,000.00    Investor‐Lender      $       50,000.00   79‐2063




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Property            Property Address                Alternative Address              Type                                       Claimant Name                                  Claimed Amount (Total      Claim Category as     Amount Claimed to    Claim Number
Number                                                                                                                                                                           Claimed Amount in       Identified on Claim      be Invested in
                                                                                                                                                                                  Claim Category as             Form                Property
                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                        Form)
  7            7109‐19 S Calumet Avenue                                      Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.    $         1,691,737.07   Institutional Lender                       7‐1453
  63           4520‐26 S Drexel Boulevard                                    Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.    $         4,830,977.15   Institutional Lender                       63‐1448
  65            6751‐59 S Merrill Avenue          2136‐40 East 68th Street   Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.    $         1,604,962.42   Institutional Lender                       65‐1328
                                                                                               Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage
  66              7110 S Cornell Avenue                                      Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.   $         1,400,491.73    Institutional Lender                       66‐1327
  107            1422‐24 East 68th Street                                    Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       107‐2086
  108              2800‐06 E 81st Street                                     Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       108‐2086
  109           4750‐52 S Indiana Avenue                                     Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       109‐2086
  110       5618‐20 S Martin Luther King Drive                               Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       110‐2086
  111             6558 S Vernon Avenue             416‐24 E 66th Street      Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       111‐2086
  112              7450 S Luella Avenue            2220 East 75th Street     Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       112‐2086
  113            7840‐42 S Yates Avenue                                      Estate Property   UBS AG                                                                          $         4,649,579.63    Institutional Lender                       113‐2086
   76          7635‐43 S East End Avenue                                     Estate Property   Umbrella Investment Partners                                                    $            72,894.00      Investor‐Lender      $       12,833.00   76‐1167
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Umbrella Investment Partners                                                    $            72,894.00      Investor‐Lender      $       40,000.00   87‐1167
   95            8201 S Kingston Avenue                                      Estate Property   Umbrella Investment Partners                                                    $            72,894.00      Investor‐Lender      $        5,000.00   95‐1167
102‐106          7927‐49 S Essex Avenue                                      Estate Property   Umbrella Investment Partners                                                    $            41,500.00       Equity Investor     $       40,000.00   102‐1167
 96‐99            8326‐58 S Ellis Avenue                                     Estate Property   Umbrella Investment Partners                                                    $            72,894.00      Investor‐Lender      $       12,500.00   96‐1167
    5           7749‐59 S Yates Boulevard                                    Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $          979.00   5‐1480
  75           7625‐33 S East End Avenue                                     Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $        2,303.00   75‐1480
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $       30,000.00   79‐1480
  84             7051 S Bennett Avenue                                       Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $       36,730.00   84‐1480
  89           7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $       11,257.00   89‐1480
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   United Capital Properties, LLC                                                  $           144,999.00      Investor‐Lender      $        8,730.00   92‐1480

  904              SSDF4 Legacy Fund                                         Fund              United Capital Properties, LLC                                                  $           144,999.00     Investor‐Lender       $       55,000.00   904‐1480
   3             5001 S Drexel Boulevard             909 E 50th Street       Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       17,000.00   3‐1234
   72           7024‐32 S Paxton Avenue                                      Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       50,000.00   72‐1234
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       25,000.00   73‐1234
  78            7201 S Constance Avenue            1825‐31 E 72nd Street     Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       25,000.00   78‐1234
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       25,000.00   79‐1234
  88           7546‐48 S Saginaw Avenue                                      Estate Property   US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $        7,500.00   88‐1234
  901                     SSDF1                                              Fund              US Freedom Investments, LLC                                                     $           175,500.00      Equity Investor      $      100,000.00   901‐1234

  904                     SSDF4                                              Fund              US Freedom Investments, LLC                                                     $           175,500.00      Equity Investor      $       32,500.00   904‐1234
 13‐15            2909‐19 E 78th Street                                      Fund              US Freedom Investments, LLC                                                     $           175,500.00     Investor‐Lender       $       25,000.00   13‐1234
                 7549‐59 S Essex Avenue
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   Uyen Dinh                                                                       $            15,793.28     Investor‐Lender       $        7,192.81   89‐2075
 13‐15            2909‐19 E 78th Street                                      Fund              Vagmi LLC                                                                       $            27,113.23     Investor‐Lender       $       25,000.00   13‐1467
 13‐15            2909‐19 E 78th Street                                      Fund              Vagmi LLC                                                                       $            54,058.32     Investor‐Lender       $       50,000.00   13‐1465
10 to 12        7301‐09 S Stewart Avenue                                     Fund              Vagmi, LLC                                                                      $            55,484.91     Investor‐Lender       $       50,000.00   10‐1462
               7500‐06 S Eggleston Avenue
  79       6160‐6212 S Martin Luther King Drive                              Estate Property   Valery Lipenko                                                                  $            50,000.00     Investor‐Lender       $       50,000.00   79‐517
   2            4533‐47 S Calumet Avenue                                     Estate Property   Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller Dcd          $            81,024.17     Investor‐Lender       $       55,000.00   2‐1191
   4            5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   Vartan Tarakchyan                                                               $           415,000.00      Equity Investor      $       30,000.00   4‐1118



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Property            Property Address               Alternative Address            Type                                  Claimant Name                                Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                                                        Claim Category as           Form               Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  6            6437‐41 S Kenwood Avenue                                   Estate Property   Vartan Tarakchyan                                                        $            415,000.00   Equity Investor     $       70,000.00   6‐1118
  58           5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property   Vartan Tarakchyan                                                        $            415,000.00   Equity Investor     $       50,000.00   58‐1118
  61            7237‐43 S Bennett Avenue                                  Estate Property   Vartan Tarakchyan                                                        $            415,000.00   Equity Investor     $       20,000.00   61‐1118
  64           4611‐17 S Drexel Boulevard                                 Estate Property   Vartan Tarakchyan                                                        $            415,000.00   Equity Investor     $       50,000.00   64‐1118

   85          7201‐07 S Dorchester Avenue         1401 E 72nd Street     Estate Property   Vartan Tarakchyan                                                        $           415,000.00     Equity Investor    $       65,000.00   85‐1118
  904                      SSDF4                                          Fund              Vartan Tarakchyan                                                        $           415,000.00     Equity Investor    $      130,000.00   904‐1118
    4            5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Verdell Michaux                                                          $            34,000.00     Equity Investor    $        5,000.00   4‐2039
  81            4317‐19 S Michigan Avenue                                 Estate Property   Verdell Michaux                                                          $            34,000.00     Equity Investor    $        4,000.00   81‐2039
  111              6558 S Vernon Avenue            416‐24 E 66th Street   Estate Property   Verdell Michaux                                                          $            34,000.00     Equity Investor    $       25,000.00   111‐2039
   3              5001 S Drexel Boulevard           909 E 50th Street     Estate Property   Victor Esposito T/A 2E‐LLC I am the manager member and the sole member   $            50,000.00    Investor‐Lender     $       50,000.00   3‐308
  902                      SSDF2                                          Fund              Victor Esposito T/A 2E‐LLC I am the manager member and the sole member   $            50,000.00     Equity Investor    $       50,000.00   902‐308
   3              5001 S Drexel Boulevard           909 E 50th Street     Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       50,000.00   3‐1040
  78             7201 S Constance Avenue          1825‐31 E 72nd Street   Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       55,000.00   78‐1040
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       50,000.00   79‐1040
  100        11117‐11119 S Longwood Drive                                 Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       50,000.00   100‐1040
102‐106           7927‐49 S Essex Avenue                                  Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       30,000.00   102‐1040
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Victor Shaw                                                              $           296,025.03    Investor‐Lender     $       50,000.00   96‐1040
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Viren R Patel                                                            $            50,000.00    Investor‐Lender     $       50,000.00   96‐507
   83            6356 S California Avenue          2804 W 64th Street     Estate Property   Virginia Lieblein                                                        $            19,551.16    Investor‐Lender     $       16,698.33   83‐110
  109            4750‐52 S Indiana Avenue                                 Estate Property   Virginia Lieblein                                                        $            19,551.16    Investor‐Lender     $        2,852.83   109‐110
 96‐99             8326‐58 S Ellis Avenue                                 Estate Property   Virginia S Oton                                                          $             9,710.00    Investor‐Lender     $        9,710.00   96‐105
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Vistex Properties LLC                                                    $           107,000.02    Investor‐Lender     $      100,000.00   79‐1318
   4             5450‐52 S Indiana Avenue          118‐132 E Garfield     Estate Property   Vivek Pingili                                                            $           150,213.00    Investor‐Lender     $       30,000.00   4‐522
  126         5201‐5207 W Washington Blvd                                 Former Property   Vivek Pingili                                                            $           150,213.00    Investor‐Lender     $      130,213.00   126‐522
    1            1700‐08 Juneway Terrace                                  Estate Property   Vladimir Matviishin                                                      $           290,200.00    Investor‐Lender     $        7,500.00   1‐1294
   2            4533‐47 S Calumet Avenue                                  Estate Property   Vladimir Matviishin                                                      $           290,200.00    Investor‐Lender     $       51,000.00   2‐1294


   4            5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Vladimir Matviishin                                                      $           290,200.00    Investor‐Lender     $       14,000.00   4‐1294


  62              7834‐44 S Ellis Avenue                                  Estate Property   Vladimir Matviishin                                                      $           199,075.00    Investor‐Lender     $       50,000.00   62‐233


  64           4611‐17 S Drexel Boulevard                 SSDF1           Estate Property   Vladimir Matviishin                                                      $           290,200.00    Investor‐Lender     $        8,000.00   64‐1294


  69              6250 S Mozart Avenue            2832‐36 W 63rd Street   Estate Property   Vladimir Matviishin                                                      $           290,200.00    Investor‐Lender     $      150,000.00   69‐1294


  71               701‐13 S 5th Avenue                 414 Walnut         Estate Property   Vladimir Matviishin                                                      $           199,075.00    Investor‐Lender     $       55,000.00   71‐233




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Property        Property Address        Alternative Address             Type                                    Claimant Name   Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                            Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                   Claim Category as           Form               Property
                                                                                                                                  Identified on Claim
                                                                                                                                         Form)
  73        7255‐57 S Euclid Avenue     1940‐44 E 73rd Street   Estate Property   Vladimir Matviishin                           $            199,075.00   Investor‐Lender     $       50,000.00   73‐233


  74         3074 Cheltenham Place       7836 S Shore Drive     Estate Property   Vladimir Matviishin                           $           199,075.00    Investor‐Lender     $       28,075.00   74‐233
  95         8201 S Kingston Avenue                             Estate Property   Vladimir Matviishin                           $           290,200.00    Investor‐Lender     $       20,000.00   95‐1294

  904                SSDF4                                      Fund              Vladimir Matviishin                           $            50,000.00    Equity Investor     $       50,000.00   904‐1395


  61        7237‐43 S Bennett Avenue                            Estate Property   Vladimir Matviishin, dba Network Expert       $           165,000.00    Investor‐Lender     $       50,000.00   61‐1382


  62         7834‐44 S Ellis Avenue                             Estate Property   Vladimir Matviishin, dba Network Expert       $           165,000.00    Investor‐Lender     $       50,000.00   62‐1382


  64       4611‐17 S Drexel Boulevard                           Estate Property   Vladimir Matviishin, dba Network Expert       $           165,000.00    Investor‐Lender     $       50,000.00   64‐1382


  73        7255‐57 S Euclid Avenue     1940‐44 E 73rd Street   Estate Property   Vladimir Matviishin, dba Network Expert       $           138,075.00    Investor‐Lender     $       50,000.00   73‐1387


  74         3074 Cheltenham Place       7836 S Shore Drive     Estate Property   Vladimir Matviishin, dba Network Expert       $           138,075.00    Investor‐Lender     $       28,075.00   74‐1387


 96‐99       8326‐58 S Ellis Avenue                             Estate Property   Vladimir Matviishin, dba Network Expert       $           138,075.00    Investor‐Lender     $       50,000.00   96‐1387


   1        1700‐08 Juneway Terrace                             Estate Property   VLADIMIR RAUL GARCIA MELIJOV                  $           100,000.00    Investor‐Lender     $      100,000.00   1‐75


  77       7750‐58 S Muskegon Avenue    2818‐36 E 78th Street   Estate Property   Walter Akita                                  $            50,000.00    Investor‐Lender     $       50,000.00   77‐1361


  63       4520‐26 S Drexel Boulevard                           Estate Property   Walter T Akita and Margaret M Akita           $            50,000.00    Equity Investor     $       50,000.00   63‐950


  74         3074 Cheltenham Place       7836 S Shore Drive     Estate Property   Walter T Akita and Margaret M Akita           $           100,000.00    Investor‐Lender     $       50,000.00   74‐950


  88       7546‐48 S Saginaw Avenue                             Estate Property   Walter T Akita and Margaret M Akita           $           100,000.00    Investor‐Lender     $       50,000.00   88‐950


    4       5450‐52 S Indiana Avenue     118‐132 E Garfield     Estate Property   Wanda M. Behling                              $            43,719.00    Investor‐Lender     $       11,219.00   4‐1025
  906                SSDF6                                      Fund              Wanda M. Behling                              $            43,719.00     Equity Investor    $       11,219.00   906‐1025
10 to 12              CCF1                                      Fund              Wanda M. Behling                              $            43,719.00     Equity Investor    $       32,500.00   10‐1025
  124        6801 S East End Avenue                             Former Property   Wayne K Larsen                                $           110,000.00     Equity Investor    $      110,000.00   124‐490
  124        6801 S East End Avenue                             Former Property   Wayne K Larsen Diane Larsen                   $           110,000.00     Equity Investor    $      110,000.00   124‐853



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Property            Property Address               Alternative Address               Type                                     Claimant Name                          Claimed Amount (Total Claim Category as         Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim       be Invested in
                                                                                                                                                                        Claim Category as           Form                 Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  61            7237‐43 S Bennett Avenue                                     Estate Property   Wealth Builders 1, LLC                                                $             50,000.00   Investor‐Lender       $       50,000.00   61‐1275
   5            7749‐59 S Yates Boulevard                                    Estate Property   Wesley Pittman                                                        $            180,048.45   Investor‐Lender       $       32,000.00   5‐469
  56               8209 S Ellis Avenue                                       Estate Property   Wesley Pittman                                                        $            180,048.45   Investor‐Lender       $       70,000.00   56‐469
  123           7107‐29 S Bennett Avenue                                     Former Property   Wesley Pittman                                                        $            180,048.45   Investor‐Lender                           123‐469
  73             7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   Wesley Pittman (Pittman Gold LLC)                                     $            180,048.45   Investor‐Lender                           73‐469

   75          7625‐33 S East End Avenue                                     Estate Property   Wesley Pittman (Pittman Gold LLC)                                     $           180,048.45      Investor‐Lender     $      150,000.00   75‐469
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   Wesley Pittman (Pittman Gold LLC)                                     $           180,048.45      Investor‐Lender                         87‐469
   92            7748‐52 S Essex Avenue            2450‐52 E 78th Street     Estate Property   Wesley Pittman (Pittman Gold LLC)                                     $           180,048.45      Investor‐Lender                         92‐469
    5           7749‐59 S Yates Boulevard                                    Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $           127,152.37      Investor‐Lender     $       50,000.00   5‐537
   60           7026‐42 S Cornell Avenue                                     Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $           127,152.37      Investor‐Lender     $       83,000.00   60‐537
   63           4520‐26 Drexel Boulevard                                     Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $            64,634.86       Equity Investor    $       50,000.00   63‐537
   72           7024‐32 S Paxton Avenue                                      Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $           127,152.37      Investor‐Lender     $       83,000.00   72‐537
   88          7546‐48 S Saginaw Avenue                                      Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $           127,152.37      Investor‐Lender     $       17,000.00   88‐537
10 to 12                   CCF1                                              Fund              White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina   $            64,634.86       Equity Investor    $       30,000.00   10‐537
  N/A                      N/A                                               Other             Whitley Penn LLP                                                      $           161,406.22       Trade Creditor                         536
  128             8623‐54 S Ellis Avenue                                     Former Property   Wiegert Tierie                                                        $           104,000.00      Investor‐Lender     $       10,000.00   128‐74
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   William (Will) J Cook III                                             $           100,000.00      Investor‐Lender                         79‐700
   89          7600‐10 S Kingston Avenue           2527‐29 E 76th Street     Estate Property   William and Janice Halbur                                             $            20,000.00      Investor‐Lender                         89‐2025
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   William B. Dreischmeir                                                                            Investor‐Lender     $       60,000.00   79‐2017
    1           1700‐08 Juneway Terrace                                      Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00       Equity Investor    $       20,000.00   1‐2003
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00       Equity Investor    $       10,000.00   4‐2003
   61           7237‐43 S Bennett Avenue                                     Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00       Equity Investor    $       35,000.00   61‐2003
   73            7255‐57 S Euclid Avenue           1940‐44 E 73rd Street     Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00      Investor‐Lender     $       50,000.00   73‐2003
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00       Equity Investor    $      110,000.00   87‐2003
  100        11117‐11119 S Longwood Drive                                    Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00      Investor‐Lender     $      250,000.00   100‐2003
10 to 12                   CCF1                                              Fund              William H. Akins, Jr.                                                 $         1,100,000.00   Investor‐Lender and    $       25,000.00   10‐2003
   85         7201‐07 S Dorchester Avenue           1401 E 72nd Street       Estate Property   William H. Akins, Jr.                                                 $         1,100,000.00       Equity Investor    $       50,000.00   85‐2003
    1           1700‐08 Juneway Terrace                                      Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $       25,000.00   1‐2003
    4           5450‐52 S Indiana Avenue            118‐132 E Garfield       Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $       20,000.00   4‐2003
    9              8100 S Essex Avenue            2449‐57 East 81st Street   Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00    Investor‐Lender and   $       60,000.00   9‐2003
   61           7237‐43 S Bennett Avenue                                     Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $      100,000.00   61‐2003
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $       35,000.00   79‐2003
   87              7508 S Essex Avenue             2453‐59 E 75th Street     Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $       10,000.00   87‐2003
   94           816‐20 E Marquette Road                                      Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)             $         1,100,000.00      Investor‐Lender     $      250,000.00   94‐2003
    1           1700‐08 Juneway Terrace                                      Estate Property   William Hooper                                                        $            93,000.00       Equity Investor    $       54,800.00   1‐278
  904                     SSDF4                                              Fund              William Hooper                                                        $            93,000.00       Equity Investor    $       93,000.00   904‐278
    2          4533‐47 S Calumet Avenue                                      Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $      169,500.00   2‐80
   61           7237‐43 S Bennett Avenue                                     Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $       35,000.00   61‐80
   62             7834‐44 S Ellis Avenue                                     Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $      200,000.00   62‐80
   71              701‐13 S 5th Avenue                  414 Walnut           Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $       50,000.00   71‐80
   79      6160‐6212 S Martin Luther King Drive                              Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $       25,000.00   79‐80
   94           816‐20 E Marquette Road                                      Estate Property   William Needham                                                       $           355,428.00      Investor‐Lender     $        6,000.00   94‐80



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Property            Property Address               Alternative Address            Type                                  Claimant Name                                Claimed Amount (Total Claim Category as        Amount Claimed to    Claim Number
Number                                                                                                                                                                 Claimed Amount in     Identified on Claim      be Invested in
                                                                                                                                                                        Claim Category as            Form               Property
                                                                                                                                                                       Identified on Claim
                                                                                                                                                                              Form)
  126         5201‐5207 W Washington Blvd                                 Former Property   William S Burk                                                           $             46,131.08   Investor‐Lender      $       50,000.00   126‐925
   3             5001 S Drexel Boulevard            909 E 50th Street     Estate Property   Wilmington Trust, National Association, As Trustee For the Registered     $         2,879,601.67 Institutional Lender                       3‐1329
                                                                                            Holders of Wells Fargo Commercial Mortgage Trust 2014‐LC16, Commercial
  76            7635‐43 S East End Avenue                                 Estate Property   Winnie Quick Blackwell (née Winnie Jannett Quick)                        $            11,000.00    Investor‐Lender      $       11,000.00   76‐102
  130            4511 N Merimac Avenue                                    Former Property   Wisconsin Real Estate Investment Solutions LLC                           $           101,166.49    Investor‐Lender      $       25,000.00   130‐1473
  132             9531 S Fairfield Avenue                                 Former Property   Wisconsin Real Estate Investment Solutions LLC                           $           101,166.49    Investor‐Lender      $       50,000.00   132‐1473

   58          5955 S Sacramento Avenue           2948‐56 W 60th Street   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          58‐168
   61           7237‐43 S Bennett Avenue                                  Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          61‐168
   64          4611‐17 S Drexel Boulevard                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          64‐168
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          68‐168
   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          79‐168
   84            7051 S Bennett Avenue                                    Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          84‐168
   88          7546‐48 S Saginaw Avenue                                   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          88‐168
   92            7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          92‐168
   94           816‐20 E Marquette Road                                   Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          94‐168
  100        11117‐11119 S Longwood Drive                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender      $       50,000.00   100‐168
  904              SSDF4 Legacy Fund                                      Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          904‐168
  937               Mezzazine Fund                                        Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)               $           668,979.00    Investor‐Lender                          937‐168
  100        11117‐11119 S Longwood Drive                                 Estate Property   WT Investment Trust (Wiegert Tierie)                                     $            18,043.99    Investor‐Lender      $       17,350.00   100‐1310
   68         6217‐27 S Dorchester Avenue                                 Estate Property   Xiaoqing Chen                                                            $            11,408.33    Investor‐Lender      $       10,000.00   68‐1238
    1           1700‐08 Juneway Terrace                                   Estate Property   XUWEN LIN                                                                $            58,700.00    Investor‐Lender      $        8,700.00   1‐648
   71             701‐13 S 5th Avenue                  414 Walnut         Estate Property   XUWEN LIN                                                                $            58,700.00    Investor‐Lender      $       16,521.00   71‐648
   84            7051 S Bennett Avenue                                    Estate Property   XUWEN LIN                                                                $            58,700.00    Investor‐Lender      $        8,523.00   84‐648
   89          7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property   XUWEN LIN                                                                $            58,700.00    Investor‐Lender      $       24,956.00   89‐648
  904                     SSDF4                                           Fund              Yanicque Michaux                                                         $            20,000.00     Equity Investor     $       20,000.00   904‐1052
   60           7026‐42 S Cornell Avenue                                  Estate Property   Yaron Fisher                                                             $           130,193.00    Investor‐Lender      $       11,263.00   60‐479
  133            4109 N Kimball Avenue                                    Former Property   Yaron Fisher                                                             $           130,193.00    Investor‐Lender      $        5,203.00   133‐479
13 to 15                  CCF2                                            Fund              Yaron Fisher                                                             $           130,193.00    Investor‐Lender      $      108,617.00   13‐479
    4           5450‐52 S Indiana Avenue           118‐132 E Garfield     Estate Property   Yin Liu, Ping Xu                                                         $           300,000.00    Investor‐Lender      $      200,000.00   4‐1368

   79      6160‐6212 S Martin Luther King Drive                           Estate Property   Yin Liu, Ping Xu                                                         $           300,000.00    Investor‐Lender      $      100,000.00   79‐1368
  100        11117‐11119 S Longwood Drive                                 Estate Property   Yin Liu, Ping Xu                                                         $           150,000.00     Equity Investor     $      100,000.00   100‐1368

   67             1131‐41 E 79th Place                                    Estate Property   Ying Xu (Brainwave Investments)                                          $           126,625.00    Investor‐Lender                          67‐134
10 to 12                  CCF1                                            Fund              Ying Xu (Brainwave Investments)                                          $           126,625.00    Investor‐Lender                          10‐134
   61           7237‐43 S Bennett Avenue                                  Estate Property   Young Family Trust                                                       $           115,000.00    Investor‐Lender      $       30,000.00   61‐1452

  68          6217‐27 S Dorchester Avenue                                 Estate Property   Young Family Trust                                                       $           115,000.00    Investor‐Lender      $       40,000.00   68‐1452
  74            3074 Cheltenham Place              7836 S Shore Drive     Estate Property   Young Family Trust                                                       $           115,000.00    Investor‐Lender      $       45,000.00   74‐1452
  74            3074 Cheltenham Place              7836 S Shore Drive     Estate Property   Yvette Nazaire Camacho (iPlanGroup Agent for Custodian FBO Yvette        $            30,000.00    Investor‐Lender      $       30,000.00   74‐487
                                                                                            Nazaire Camacho IRA)
  61            7237‐43 S Bennett Avenue                                  Estate Property   Yvette Sahai                                                             $            47,048.08    Investor‐Lender                          61‐2049




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Property         Property Address         Alternative Address           Type                                  Claimant Name       Claimed Amount (Total Claim Category as       Amount Claimed to    Claim Number
Number                                                                                                                              Claimed Amount in     Identified on Claim     be Invested in
                                                                                                                                     Claim Category as           Form               Property
                                                                                                                                    Identified on Claim
                                                                                                                                           Form)
  126      5201‐5207 W Washington Blvd                          Former Property   Yvette Sahai                                    $             47,048.08   Investor‐Lender     $       28,780.00   126‐2049
   1         1700‐08 Juneway Terrace                            Estate Property   Zahra (Nina) Mofrad                             $             75,000.00   Investor‐Lender     $       25,000.00   1‐1024
   62          7834‐44 S Ellis Avenue                           Estate Property   Zahra (Nina) Mofrad                             $             75,000.00   Investor‐Lender     $       75,000.00   62‐1024
   84         7051 S Bennett Avenue                             Estate Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI   $            402,500.00   Investor‐Lender     $      350,000.00   84‐234
  123        7107‐29 S Bennett Avenue                           Former Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI   $             83,178.85   Investor‐Lender     $      108,766.67   123‐234
  100      11117‐11119 S Longwood Drive                         Estate Property   Zouhair and Nada Stephan                        $            300,000.00   Investor‐Lender     $      150,000.00   100‐283

102‐106       7927‐49 S Essex Avenue                            Estate Property   Zouhair and Nada Stephan                        $           300,000.00    Investor‐Lender     $      150,000.00   102‐283




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